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        "loss" and debris removal expense may                  pense in this example is $20,500; $9,500 of
        reach but will never exceed the Limit of               the debris removal expense is not covered.
        Insurance on the Covered Property that
        has sustained "loss", plus $10,000.                    c. Fire Department Service Charge

       (5) Examples                                                 When the fire department is called to
                                                                    save or protect Covered Property from a
            The following examples assume that                      Covered Cause of Loss, we will pay up to
            there is no coinsurance penalty.                        $5,000 in any one occurrence for your li-
                                                                    ability, which is determined prior to the di-
    Example #1
                                                                    rect "loss", for fire department service
    Limit of Insurance                   $90,000                    charges:
    Amount of Deductible                    $500                   (1) Assumed by contract or agreement;
    Amount of "Loss"                     $50,000                       or
    Amount of "Loss" Payable             $49,500
   ($50,000 - $500)                                                (2) Required by local ordinance.
    Debris Removal Expense               $10,000
    Debris Removal Expense                                          Such limit is the most we will pay regard-
    Payable                              $10,000                    less of the number of responding fire de-
   ($10,000 is 20% of $50,000)                                      partments or fire units, and regardless of
                                                                    the number or type of services performed.
   The debris removal expense is less than 25%                      This Coverage is in addition to the Limits
   of the sum of the "loss" payable plus the de-                    of Insurance shown in the Declarations.
   ductible. The sum of the 'loss" payable and
   the debris removal expense ($49,500 +                       d. Fire Protection Eauipment Recharae
   $10,000 = $59,500) is less than the Limit of
                                                                   (1) We will pay for the expenses you in-
   Insurance. Therefore, the full amount of debris
                                                                       cur to recharge your automatic fire
   removal expense is payable in accordance
                                                                       suppression system or portable fire
   with the terms of Paragraph (3).
                                                                       extinguishers when the equipment is
    Example #2                                                         discharged:

   Limit of Insurance                                                  (a) To combat a covered fire to
                                         $90,000                           which this insurance applies;
    Amount of Deductible                    $500
    Amount of "Loss"                                                   (b) As a result of another covered
                                         $80,000                           Cause of Loss other than fire; or
    Amount of"Loss" Payable              $79,500
   ($80,000 - $500)                                                    (C) As a result of an accidental dis-
    Debris Removal Expense               $30,000                           charge.
    Debris Removal Expense Payable
              Basic Amount               $10,500                   (2) We will not pay your expenses to re-
              Additional Amount          $10,000                       charge fire protection equipment as a
                                                                       result of a discharge during testing or
   The basic amount payable for debris removal                         installation.
   expense under the terms of Paragraph (3) is
   calculated as follows: $80,Od0 ($79,500 +                       (3) If it is less expensive to do so, we will
   $500) x .25 = $20,000; capped at $10,500.                           pay your costs to replace your auto-
    The cap applies because the sum of the "loss"                      matic fire suppression system or
    payable ($79,500) and the basic amount pay-                        portable fire extinguishers rather than
    able for debris removal expense ($10,500)                          recharge that equipment.
   cannot exceed the Limit of Insurance
                                                                   The most we will pay in any one occur-
   ($90,000).
                                                                   rence under this Additional Coverage is
    The additional amount payable for debris re-                   $25,000. This Coverage is in addition to
    moval expense is provided in accordance with                   the Limits of Insurance shown in the Dec-
   the terrns of Paragraph (4), because the de-                    larations.
    bris removal expense ($30,000) exceeds 25%
   of the "loss" payable plus the deductible                   e. Inventory or Appraisal
   ($30,000 is 37.5% of $80,000), and because                      (1) We will pay the necessary expenses
   the sum of the "loss" payable and debris re-                        you incur to prepare claim infor-
    moval expense ($79,500 + $30,000 =                                 mation as required by this Coverage
   $109,500) would exceed the Limit of Insur-                          Part. Expenses must result from:
   ance ($90,000). The additional amount of
   covered debris removal expense is $10,000,                          (a) Taking inventories;
   the maximum payable under Paragraph (4).
   Thus the total payable for debris removal ex-                       (b) Making appraisals; and

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            (C) Preparing a statement of loss                            (a) Loss of Use of Undamaged
                and other supporting exhibits.                               Parts of Buildings
        (2) We will not pay' for any expenses:                                 The costs you incur to rebuild at
                                                                               the same "premises" any un-
            (a) Incurred to prove that "loss" is                               damaged portion of your building
                covered;                                                       or structure caused by enforce-
            (b) Incurred under SECTION D.                                      ment of or compliance with an
                LOSS CONDITIONS, 2. Ap-                                        ordinance or law requiring
                praisal;                                                       demolition of undamaged parts
                                                                               of the same building or structure.
            (c) Incurred for examinations under                                We will only pay the costs to sat-
                oath;                                                          isfy the minimum requirements
                                                                               of the ordinance or law. Losses
            (d) Billed by and payable to inde-                                 and costs incurred in complying
                pendent or public adjusters; or                                with recommended actions or
            (e) To prepare claims not covered                                  standards that exceed actual re-
                by this Coverage Part.                                         quirements are not covered.

        The most we will pay for any one occur-                          (b) Demolition Costs
        rence under this Additional Coverage is                                The costs you incur to demolish
        $10,000. This Coverage is in addition to                               and dear the site of undamaged
        the shown in the Declarations.                                         parts of the same building or
   f,   Key and Lock Expense                                                   structure as a result of Para-
                                                                               graph g.(1)(a) above.
        (1) If a key or master key is lost, stolen,
            or damaged, we will pay for:                                 (cj Increased Costs of Construc-
                                                                             tion
            (a) The actual expense of the new
                keys; and                                                      1) For buildings or structures
                                                                                  to which SECTION F. OP-
            (b) The adjustment of locks to ac-                                    TIONAL COVERAGES, 3.
                cept new keys; or                                                 Replacement Cost applies,
                                                                                  the increased costs to com-
            (c) If required, new locks, including                                 ply with the minimum
                the expense of their installation;                                standards of an ordinance
             but only for Pocks at buildings or                                   or law to:
             structures covered by this Coverage
                                                                                    a) Repair or reconstruct
             Part.
                                                                                       damaged portions of
        (2) This Coverage does not apply to                                            that building or struc-
            keys that were given to former em-                                         ture; and
            ployees.
                                                                                    b) Reconstruct or remodel
        The most we will pay in any one occur-                                         undamaged portions of
        rence under this Additional Coverage is                                        that building or struc-
        Limit of Insurance $1,000_ This Coverage                                       ture whether or not
        is in addition to the Limit of Insurance                                       demolition is required;
        shown in the Declarations.
                                                                                    However, this increased
   g. Ordinance or Law                                                              cost of construction applies
                                                                                    only if the building or struc-
        (1) If a covered building or structure sus-                                 ture is repaired, recon-
            tains direct "loss" from a Covered                                      structed or remodeled and
            Cause of Loss, resulting in the en-                                     is intended for occupancy
            forcement of or compliance with an                                      similar to the building or
            ordinance or law that is in force at the                                structure it replaces, unless
            time of "loss" and regulates the dem-                                   such occupancy is not per-
            olition, construction or repair of build-                               muted by zoning or land use
            ings or structures, or establishes zon-                                 ordinance or law.
            ing or land use requirements at the
            "premises", then subject to SECTION                                2~   For this Paragrah p g•~1 ~~c~
            D, LOSS CONDITIONS, 4. Loss                                             only, the increased costs to
            Payment, we will pay:                                                   repair or reconstruct the fol-
                                                                                    lowing:


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                    a) The cost of excava-                          migration, release, escape or emission of
                       tions, grading, backfili-                    the "pollutants" is caused by or results
                       ing and filling;                             from a Covered Cause of Loss that oc-
                                                                    curs during the "coverage term". The ex-
                     b) Foundation of the build-                    penses will be paid only if they are re-
                        ing;                                        ported to us in writing within 180 days of
                    c) Pilings;                                     the date on which the Covered Cause of
                                                                    Loss occurs.
                    d) Underground       pipes,
                       flues and drains.                            This Additional Coverage does not apply
                                                                    to costs to test for, monitor or assess the
                    The items listed in Para-                       existence, concentration or effects of "pol-
                    graphs   g2)a) through                          lutants". But we will pay for testing which
                    g.2)d) above are deleted                        is performed in the course of extracting
                    from SECTION A. COVER-                          the "pollutants" from the land or water.
                    AGE, 2. Property Not
                    Covered;                                        The most we will pay under this Additional
                                                                    Coverage for each "premises" is $10,000
      (2) We will not pay for:                                      for the sum of all covered expenses aris-
                                                                    ing out of Covered Causes of Loss during
          (a) Enforcement of or compliance                          each "coverage term". This Coverage is
              with any ordinance or law which                       in addition to the Limit of Insurance
              requires the demolition, repair,                      shown in the Declarations.
              replacement,        reconstruction,
              remodeling or remediation of                          Preservation of Property
              property due to contamination by
              "pollutants" or due to the pres-                      If it is necessary to move Covered Prop-
              ence,     growth,     proliferation,                  erty from the "premises" to preserve it
              spread or any activity of "fungi",                    from imminent "loss" by a Covered Cause
              wet or dry rot or bacteria; or                        of Loss, we will pay for any direct "loss" to
                                                                    that property:
          (b) The costs associated with the
              enforcement of or compliance                          (1) While it is being moved or while tem-
              with any ordinance or law which                           porarily stored at another location;
              requires any insured or others to                         and
              test for, monitor, dean up, re-
                                                                    (2) Only if the "loss" occurs within 60
              move, contain, treat, detoxify or                         days after the property is first moved.
              neutralize, or in any way re-
              spond to, or assess the effects                       This Coverage is induded within Limit of
              of "pollutants", "fungi", wet or dry                  Insurance shown in the Declarations for
              rot or bacteria.                                      such Covered Property.
      (3) We will not pay for "loss" due to any                j.   Rewards
          ordinance or law that:
                                                                    We will pay to provide a reward for infor-
          (a) You were required to comply                           mation that leads to a conviction for ar-
              with before the "lass", even if the                   son, theft, vandalism, or burglary. The
              building or structure was un-                         conviction must involve a covered "loss"
              damaged; and                                          caused by arson, theft, vandalism, or bur-
                                                                    glary.
          (b) With which you failed to comply.
                                                                    The most we will pay for "loss" in any one
      (4) The terms of this Additional Cover-                       occurrence under this Additional Cover-
          age apply separately to each building                     age is $10,000. This Coverage is in addi-
          or structure covered by this Cover-                       tion to the Limit of Insurance shown in the
          age Part.                                                 Declarations.
      The most we will pay under this Additional
                                                          5.   Coverage Extensions
      Coverage is $10,000 per building. This is
      in addition to the Limit of Insurance                    Unless amended within a particular Coverage
      shown in the Declarations for the building               Extension, each Extension applies to property
      suffering "loss".                                        located in or on the building described in the
                                                               Declarations or in the open (or in a vehicle or
   h. Pollutant Clean Up and Removal                           portable storage unit) within 1,000 feet of the
       We will pay your expenses to extract "pol-              "premises".
       lutants" from land or water at the "premis-
       es" if the discharge, dispersal, seepage,
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   The limits applicable to the Coverage Exten-                         (b} Away From Your Premises
   sions are in addition to the Limit of Insurance
   shown in the Properly neclarations. Limits of                             The most we will pay in any one
   Insurance specified in these E~ensions apply                              occurrence is $5,000, regardless
   per location unless stated otherwise.                                     of the number of locations, for
                                                                             "loss" caused by a Covered
   SECTION E. ADDITIOfVAL CONDITIONS, 1.                                     Cause of Loss to Accounts Re-
   Coinsurance, does not apply to these Cover-                               ceivable while they are away
   age Extensions.                                                           from your "premises".
   a. Accounts Receivable                                                     This Away From Premises Limit
                                                                              is in addition to the Limit of In-
       SECTION C. DEDUCTIBLE does not ap-                                     surance applicable to this Cov-
       ply to this Coverage Extension.                                        erage Extension.
      (1) When you sustain direct "loss" to                        (4) SECTION A. CAVERAGE, 3. Cov-
          your accounts receivable records
                                                                       ered Causes of Loss, b. Exclu-
          caused by a Covered Cause of Loss,                           sions does not apply to this Cover-
          we will pay:                                                 age Extension, except as follows:
           (a) All amounts due from your cus-                           (a) Exclusion (1)(c) Govemmentai
               tomers that you are unable to                                Action;
               collect;
                                                                        (b) Exclusion (1)(d) Nuclear Haz-
           (b) Interest charges on any loan re-                             ard;
               quired to offset amounts you are
               unable to collect pending our                            (c) Exclusion (1)(f) War and Mili-
               payment of these amounts;                                    taryAction.
           (C) Collection expenses in excess of                    (5) In addition to Paragraph a.(4) of this
               your normal collection expenses                         Coverage Extension, we will not pay
               that are made necessary by the                          for "loss" resulting from any of the fol-
               "loss';and                                              lowing:
           (d) Other reasonable expenses that                           (a) Dishonest or criminal acts by:
               you incur to re-establish your
               records of accounts receivable.                                1) You, your partners, employ-
                                                                                 ees, directors, trustees or
      (2) Coverage does not apply to:                                            authorized representatives;
           (a) Records of accounts receivable                                 2) A manager or a member if
               in storage away from the "prem-                                   you are a limited liability
               ises"; or                                                         company;
           (b) Contraband, or property in the                                 3) Anyone else with an interest
               course of illegal transportation or                               i n the records of aa;ounts
               trade.                                                            receivable, or their employ-
                                                                                 ees or authorized repre-
      (3) We will extend coverage to indude:                                     sentatives; or
           (a) Removal                                                        4) Anyone else entrusted with
                If you give us written notice with-                              the records of accounts re-
                in 30 days of removal of your                                    ceivable for any purpose.
                records of accounts receivable                                This Paragraph a.(5)(a) applies
                because of imminent danger of                                 whether or not such persons are
                direct "loss" from a Covered                                  acting atone or in collusion with
                Cause of Loss, we will pay for                                other persons or such act occurs
                "loss" while they are:                                        d uring the hours of employment.
                1) At a safe place away from                                  However, this Paragraph a.(5)(a)
                   your "premises"; or                                        does not apply to dishonest acts
                2) Being taken to and returned                                of a carrier for hire or to acts of
                   from that place.                                           destruction by your employees.
                                                                              However, theft by employees is
                This Removal coverage is in-                                  still not covered.
                eluded within the Limit of Insur-
                ance applicable to this Coverage                        (b) Alteration, falsification, conceal-
                Extensior,.                                                 ment or destruction of records of

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               accounts receivable done to                                        able for the month in which
               conceal the wrongful giving, tak-                                  the direct "loss" occurred or
               ing or withholding of "money',                                     for any demonstrated vari-
               "securities" or other property.                                    ante from the average for
                                                                                  that month.
               This exclusion applies only to
               the extent of the wrangful giving,                      (b) The following will be deducted
               taking or withholding.                                      from :he total amount of ac-
                                                                           counts receivable, however that
           (c) Bookkeeping, accounting or bill-                            amount is established:
               ing errors or omissions.
                                                                            '~)   The amount of the accounts
          (d) Electrical or magnetic injury, dis-                                 for which there is no direct
              turbance or erasure of "electron-                                   "loss';and
              is data" that is caused by or re-
              sults from:                                                   2) The amount of the accounts
                                                                               that you are able to re-
               1) Programming      errors or                                   establish or collect; and
                  faulty machine instructions;
                                                                            3) An amount to allow for
               2) Faulty    installation or                                    probable bad debts that you
                  maintenance of data pro-                                     are normally unable to col-
                  cessing equipment or com-                                    lect; and
                  ponent parts;
                                                                            4) All unearned interest and
               3) An occurrence that took                                      service charges.
                  place more than 100 feet
                  from your "premises"; or                         The most we will pay for "loss" in any one
                                                                   occurrence under this Coverage Exten-
               4) Interruption of electrical                       sion is $25,000.
                  power supply, power surge,
                  blackout or brownout if the                 b.   Business Income and Extra Expense
                  cause of such occurrence
                  took place more than 100                         SECTION C. DEDUCTIBLE does not ap-
                  feet from your "premises".                       ply to this Coverage Extension.

               But we will pay for direct "loss"                   (1) Business Income
               caused by lightning.                                    We will pay for the actual loss of
          (e) Voluntary parting with any prop-                         "Business Income" and "Rental Val-
              erty by you or arsyone entrusted                         ue" you sustain due to the necessary
              with the property it induced to do                       "suspension" of your "operations"
              so by any fraudulent scheme,                             during the "period of restoration". The
              trick, device or false pretense.                         "suspension" must be caused by di-
                                                                       rect "loss" to property at a "premises"
          (fib A "loss" that requires any audit                        caused by or resulfing from any Cov-
               of records or any inventory com-                        ered Cause of Loss. With respect to
               putation to prove its factual ex-                       "loss" to personal property in the
               istence.                                                open or personal property in a vehi-
                                                                       cie or portable storage unit, the
       (6) Determination of Receivables:                               "premises" include the area within
          (a) If you cannot accurately estab-                          1,000 feet of the building or 1,000
              lish the amount of accounts re-                          feet of the "premises", whichever is
              ceivable outstanding as of the                           greater.
              time of direct "loss", the following                     With respect to the requirements of
              method will be used:                                     the preceding paragraph, if you are a
               1) Determine the total of the                           tenant and occupy only part of the
                  average monthly amounts                              site at which the "premises" are lo-
                  of accounts receivable for                           Gated, for the purpose of this Cover-
                  the 12 months immediately                            age Extension only, your "premises"
                  preceding the month in                               is the portion of the building that you
                  which the direct "loss" oc-                          rent, lease or occupy, including:
                  curs; and                                            (a) Any area within the building or
               2) Adjust that tatal for any                                on the site at which the "premis-
                  normal fluctuations in the                               es" are located if that area ser-
                  amount of accounts receiv-
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               vices or is used to gain access                            "operations", the amount we will
               to the "premises"; and                                     pay under this Coverage will be
                                                                          reduced by the salvage value of
          (b) Your personal properly in the                               that property.
              open (or in a vehicle or portable
              storage unit) within 1,000 feet of                     (d) Extra Expense does not apply to
              the building or 1,000 feet of the                          "loss" to Covered Property as
              "premises", whichever is greater.                          described in the BUILDING
                                                                         AND PERSONAL PROPERTY
      (2) Extra Expense                                                  COVERAGE FORM.
          (a) We will pay Extra Expense you                     (3) Civil Authority
              sustain during the "period of res-
              toration". Extra Expense means                          When a Covered Cause of Loss
              necessary expenses you sustain                          causes damage to property other
             (as described in Paragraphs                              than Covered Property at a "premis-
             (2)(b), (C) and (d)) during the                          es", we will pay for the actual loss of
              "period of restoration" that you                        "Business Income" and necessary
              would not have sustained if                             Extra Expense you sustain caused
              there had been no direct "loss"                         by action of civil authority that prohib-
              to property caused by or result-                        its access to the "premises", provided
              ing from a Covered Cause of                             that both of the following apply:
              Loss.
                                                                     (a) Access to the area immediately
          (b) If these expenses reduce the                               surrounding the damaged prop-
              otherwise payable "Business In-                            erry is prohibited by civil authori-
              come" "loss", we will pay ex-                              ty as a result of the damage; and
              penses (other than the expense
              to repair or replace property as                       (b) The action of civil authority is
              described in Paragraph (2)(c))                             taken in response to dangerous
              to:                                                        physical conditions resulting
                                                                         from the damage or continuation
               1) Avoid or minimize the "sus-                            of the Covered Cause of Loss
                  pension" of business and to                            that caused the damage, or the
                  continue "operations" either:                          action is taken to enable a civil
                                                                         authority to have unimpeded ac-
                   a) At the "premises"; or                              cess to the damaged property.
                   b) At replacement "prem-                               This Civil Authority coverage for
                      ises" or temporary loca-                            "Business Income" will begin
                      tions, including reloca-                            i mmediately after the time of that
                      tion   expenses and                                 action and will apply for a period
                      costs to equip and op-                              of up to 30 days from the date of
                      erate the replacement                               that action.
                      location or temporary
                      location; or                                         This Civil Authority coverage for
                                                                           Extra Expense will begin imme-
               2) Minimize the "suspension"                                diately after the time of that ac-
                  of business if you cannot                                tionand will end:
                  continue "operations".
                                                                           1) 30 consecutive days after
          (c) We will also pay expenses to:                                   the time of that action; or
               1) Repair or replace property;                              2) When your "Business in-
                  or                                                          come" coverage ends;
               2) Research, replace or re-                                 whichever is later.
                  store the lost information on
                  damaged "valuable papers                      (4) Alterations and New Buildings
                  and records'"
                                                                      We will pay for the actual loss of
                but only to the event this pay-                       "Business Income" you sustain and
                ment recluses the otherwise                           Extra Expense you incur due to direct
                payable "Business Income"                             "loss" at the "premises" caused by or
               "loss". If any property obtained                       resulting from any Covered Cause of
               for temporary use during the                           Loss to:
               "period of restoration" remains
               after the resumption of normal

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          (a) New buildings or structures,                                       a) The date you could re-
              whether complete or under con-                                        store your "operations",
              struction;                                                            with reasonable speed,
                                                                                    to the level which would
           ~ b ~ Alterations or additions to exist-                                 generate the business
                 ing buildings or structures; and
                                                                                    income amount that
          (c) Machinery, equipment, supplies                                        would have existed if
              or building materials located on                                      no direct "loss" had oc-
              orwithin 1,000 feet of the "prem-                                     curred; or
              ises"and:
                                                                                 b) 60 consecutive days af-
                1) Used in the construction, al-                                    ter the date determined
                   terations or additions; or                                       in b.(6)(a)1) above.

               2) Incidental to the occupancy                               However, Extended Business
                  of new buildings.                                         Income does not apply to loss of
                                                                            "Business Income" sustained or
           If such direct "loss" delays the start of                        Extra Expense incurred as a re-
           "operations", the "period of restora-                            suit of unfavorable business
           tion" for "Business Income" Coverage                             conditions caused by the impact
           will begin on the date "operations"                              of the Covered Cause of Loss in
           would have begun if the direct "loss"                            the area where the "premises"
           had not occurred.                                                are located.
      (5) Newly Purchased or Leased Loca-                                    Loss of "Business Income" must
          tions                                                              be caused by direct 'loss" at the
                                                                             "premises" caused by or result-
           We will pay the actual loss of "Busi-                             ing from any Covered Cause of
           Hess Income" you sustain and Extra                                Loss.
           Expense you incur due to direct
           "loss" to Covered Property at any lo-                        (b) For "Rental Value", if the neces-
           cation you purchase or lease caused                              sary "suspension" of your "oper-
           by or resulting from a Covered Cause                             ations" produces a "Rental Val-
           of Loss. This coverage for the Newly                             ue" "loss" payable under this
           Purchased or Leased Locations will                               Coverage Part, we will pay for
           end when any of the following first                              the actual loss of "Rental Value"
           occurs:                                                          you incur during the period that:
          (a) This policy expires;                                           1) Begins on the date property
                                                                                is actually repaired, rebuilt
          (b) You report values to us;                                          or replaced and tenantability
          (c) 90 days pass from the date you                                    is restored; and
              acquire or begin tU construct the                              2) Ends on the earlier of:
              Covered Property.
                                                                                 a} The date you could re-
       ~6~ Extended Business Income                                                 store tenant occupan-
           (a) For "Business Income" Other                                          cy, with reasonable
               Than "Rental Value", if the nec-                                     speed, to the level
               essary "suspension" of your                                          which would generate
               "operations" produces a "Busi-                                       the "Rental Value" that
               Hess Income" or Extra Expense                                        would have existed if
               "loss" payable under this Cover-                                     no direct "loss" had oc-
               age Part, we will pay for the ac-                                    curred; or
               tual loss of "Business Income"
                                                                                 b) 60 consecutive days af-
               you sustain and Extra Expense
                                                                                    ter the date determined
               you incur during the period that:
                                                                                    in b.(6)(b)1) above.
                1) Begins on the date property                                       However,       Extended
                   (except "finished stock") is                                      Business Income does
                   actually repaired, rebuilt or                                     not apply to loss of
                    replaced and "operations"                                        "Rental Value" incurred
                   are resumed; and                                                  as a result of unfavora-
               2) Ends on the earlier of:                                            ble business conditions
                                                                                     caused by the impact of
                                                                                     the Covered Cause of

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                        Loss in the area where                     The most we will pay for "loss" in any one
                        the "premises" are lo-                     occurrence under this "Business Income"
                        Gated.                                     and Extra Expense Coverage Extension
                                                                   is $25,000.
                    Loss of "Rental Value" must
                    be caused by direct "loss" at             c.   Collapse
                    the "premises" caused by or
                    resulting from any Covered                     The coverage provided under this Cover-
                    Cause of Loss.                                 age Extension applies only to an abrupt
                                                                   collapse as described and limited in Par-
       (7) Interruption of Computer Opera-                         agraphs c.(1) through c.(7) below.
           tions
                                                                   (1) For the purpose of this Coverage Ex-
           (a} Subject to all provisions of this                       tension only, abrupt collapse means
               Coverage Extension, you may                             an abrupt falling down or caving in of
               extend the insurance that ap-                           a building or structure or any part of a
               plies to "3usiness Income" and                          building or structure with the result
               Extra Expense to apply to a                             that the building or structure or part
               "suspension" of "operations"                            of the building or structure cannot be
               caused by an interruption in                            occupied for its intended purpose.
               computer operations due to de-
               struction or corruption of "elec-                   (2) We will pay for direct "loss" to Cov-
               tronic data" as described in                            ered Property, caused by abrupt col-
               SECTION A. COVERAGE, 5.                                 lapse of a building or structure or any
               Coverage Extensions, d. Elec-                           part of a building or structure insured
               troniC Data.                                            under this Coverage Part, or that
                                                                       contains Covered property insured
          (b) Paragraph b.(7)(a) does not ap-                          under this Coverage Part, if such col-
              ply to "loss" sustained or ex-                           lapse is caused by one or more of
              pense incxarred after the end of                         the following:
              the "period of restoration", even
              if the amount of insurance stated                        (a) Building or structure decay that
              in Paragraph b.(7)(c) has not                                is hidden from view, unless the
              been exhausted.                                              presence of such decay is
                                                                           known or should reasonably
          (c) The most we will pay under Par-                              have been known to an insured
              agraph b.(7) of this Coverage                                prior to collapse;
              Extension is $2,500 for all "loss"
              sustained and expense incurred                           (b) Insect or vermin damage that is
              in the "coverage term", regard-                              hidden from view, unless the
              less of the number of interrup-                              presence of such damage is
              tions or the number of "premis-                              known or should reasonably
              es" or computer systems in-                                  have been known to an insured
              volved. If loss payment relating                             prior to collapse;
              to the first interruption does not                        (~) Use of defective material or
              exhaust this amount, then the                                 methods in construction, remod-
              balance is available for subse-                               eling, or renovation if the abrupt
              quent interruptions in that "Gov-                             collapse occurs during the
              erage term". A balance remain-                                course of the construction, re-
              ing at the end of a "coverage                                 modeling, or renovation.
              term" does not carry over to the
              next "coverage term". With re-                           (d) Use of defective materials or
              spect to are interruption that be-                           methods in construction, remod-
              gins in a "coverage term" and                                eling, or renovation if the abrupt
              continues cr results in additional                           collapse occurs after construc-
              "loss" or expense in a subse-                                tion, remodeling, or renovation is
              quent "coverage term", all "loss"                            complete but only if the collapse
              and expense is deemed to be                                  is caused in part by:
              sustained in the "coverage term"
              in which the interruption began.                               1) A cause of loss listed in
                                                                                Paragraph     c.(2)(a) or
               This $2,500 coverage for Inter-                                  c.(2)(b) of this Coverage
               ruption of Computer Operations                                   Extension;
               does not increase the Limit of
               Insurance provided in this Cov-                               2) One or more of the "speci-
               erage Extension.                                                 fied causes of loss';

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                3) Breakage of building glass;                        is not the result of abrupt collapse of
                                                                      a building or structure, we will pay for
                4) Weight of people or person-                        direct "loss" to Covered Property
                   al property; or                                    caused by such collapse of personal
                5) Weight of rain that collects                       property only if:
                   on a roof.                                        (a) The collapse of personal proper-
      (3) This Coverage Extension does not                               ty was caused by a Cause of
          apply to:                                                      Loss listed in C.(2)(a) through
                                                                         c.(2)(d) of this Coverage Exten-
          (a) A building or structure or any                             sion;
              part of a building or structure
              that is in danger of falling down                      (b) The personal property that col-
              or caving in;                                              lapses is inside a building; and

          (b) Apart of a building or structure                       (c) The property that collapses is
              that is standing, even if it has                           not of a kind listed in Paragraph
              separated from another part of                             c.(4) above of this Coverage Ex-
              the building or structure; or                              tension, regardless of whether
                                                                         that kind of property is consid-
          (C) A building or structure that is                            ered to be personal property or
              standing or any part of a building                         real property.
              or structure that is standing,
              even if it shows evidence of                            The coverage stated in this Para-
              cracking,    bulging,    sagging,                       graph c.(5) does not apply to per-
              bending,     leaning,     settling,                     sonal property if marring and/or
              shrinkage or expansion.                                 scratching is the only damage to that
                                                                      personal property caused by the col-
      (4) With respect to the following proper-                       lapse.
          ty:
                                                                 (6) This Coverage Extension does not
          (a) Outdoor radio or television an-                        apply to personal property that has
              tennas (including satellite dish-                      not abruptly fallen down or caved in,
              es) and their lead-in wiring,                          even if the personal property shows
              masts or towers;                                       evidence of cracking, bulging, sag-
                                                                     Sing, bending, leaning, settling,
          (b) Awnings, gutters and        down-                      shrinkage or expansion.
              spouts;
                                                                 (7) This Coverage E~ension shall not
          (c) Yard fixtures;                                         increase the Limit of insurance pro-
          (d) Outdoor swimming pools;                                vided in this Coverage Part.

          (e) Fences;                                            (8) The term Covered Cause of Loss in-
                                                                     cludes Collapse as described and
          (~ Piers, wharves and docks;                               limited in Paragraphs c.(1) through
          (g) Beach or diving platforms; in-                         c.~~)-
              cluding their appurtenances;                   d. Electronic Data
          (h) Retaining walls; and                               (1) This Coverage Extension does not
                                                                     apply to your "stock" of prepackaged
          (i) Walks, roadways and          other                     software, or to "electronic data"
              paved surfaces;                                        which is integrated in and operates or
          if an abrupt collapse is caused by a                       controls the building's elevator, light-
          cause of loss listed in Paragraph                          ing, heating, ventilation, air condition-
          c.(2)(a) through c.(2)(d), we will pay                     ing or security system.
          for'7oss"to that property only if:
                                                                 (2~ We will pay for the cost to replace or
          (a) Such "loss" is a direct result of                      restore "electronic data" which has
              the abrupt collapse of a building                      been destroyed or corrupted by a
              or structure insured under this                        Covered Cause of Loss that applies
              Coverage Part; and                                     to SECTION A. COVERAGE, 1.
                                                                     Covered Property, d. Business
          (b) The property is Covered Proper-                        Personal Property. To the extent
              ty under this Coverage Part.                           that "electronic data" is not replaced
                                                                     or restored, the "loss" will be valued
      (5j If personal properly abruptly falls                        at the cost of replacement of the me-
          down or caves in and such collapse
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           dia on which the "electronic data"                  f.   Fences
           was stored with blank media of sub-
           stantially identical type.                               We will pay for direct "loss" caused by a
                                                                    Covered Cause of Loss to your outdoor
      (3) For the purposes of this Coverage                         fences that are located within 1,000 feet
          Extension only, Covered Causes of                         of the "premises" and not otherwise in-
          Loss include a virus, harmful code or                     sured as Covered Property in this Cover-
          similar instruction introduced into or                    age Part.
          enacted on a computer system (in-
          cluding "electronic data") or a net-                      The most we will pay for "loss" in any one
          work to which it is connected, that is                    occurrence under this Coverage Exten-
          designed to damage or destroy any                         sion is $5,000.
          part of the system or disrupt its nor-                g, Fungi, Wet Rot, Dry Rot, and Bacteria -
           mal operation. However, there is no                     Limited Coverage
          coverage for "loss" caused by or re-
          sulting from manipulation of a com-                       (1) The coverage described in Para-
          puter system (including "electronic                           graphs g.(2) and g.(3) of this Cover-
          data") by any employee, including a                           age Extension only apply when the
          temporary or leased employee, or by                           "fungi", wet or dry rot or bacteria is
          an entity retained by you or for you to                       the result of a Covered Cause of
          inspect, design, install, modify, main-                       Loss that occurs during the "cover-
          tain, repair or replace that system or                        age term" and only if all reasonable
          "electronic data".                                            means were used to save and pre-
                                                                        serve the property from further dam-
       ~4~ The most we will pa y for all direct                         age at the time of and after that oc-
           "loss" under this Coverage Exten-                            currence.
           sion, regardless of the number of
           "premises" or computer systems in-                       (2) We will pay for "loss" by "Fungi", wet
           volved, is $2,500. This limit is the                         or dry rot or bacteria. As used in this
           most we will pay for the total of all di-                    Coverage Extension, the term "loss"
           rect "loss" arising out of all occx.~r-                      means:
           rences that take place in the "cover-
           age term". If loss payment on the first                       (a) Direct "loss" to Covered Property
           occurrence does not exhaust this                                  caused by "fungi", wet or dry rot
           amount, then the balance is available                             or bacteria, including the cost of
           for subsequent "loss" sustained in                                removal of the "fungi", wet or dry
           the "coverage term". A balance re-                                rot or bacteria;
           maining in a "coverage term" does                             (p) The cost to tear out and replace
           not carry over to the next "coverage                              any part of the building or other
           term". With respect to an occurrence                              property as needed to gain ac-
           which begins in the "coverage term"                               cess to the "fungi", wet or dry rot
           and continues or results in additional                            or bacteria; and
           "loss" in a subsequent "coverage
           term", all "loss" is deemed to be sus-                        (c) The cost of testing performed af-
           tained in the "coverage term" in                                  ter removal, repair, replacement
           which the occurrence began.                                       or restoration of the damaged
                                                                             property is completed, provided
   e. Exhibitions, Fairs or Trade Shows                                      there is a reason to believe that
       We will pay for direct "loss" caused by a                             "fungi", wet or dry rot or bacteria
       Covered Cause of Loss to your Covered                                 are present.
       Properly, including covered property of                      (3~ For the coverage described under
       others, while it is located at exhibitions,                      Paragraph g.(2) of this Coverage Ex-
       fairs or trade shows. This Coverage Ex-                          tension, the most we will pay for
       tension does not apply while Covered                             "loss", regardless of the number of
       Property is in transit to or from the exhibi-                    claims, is $15,000. This limit is the
       tion, fair or trade show,                                        most we will pay for the total of all
       The most we will pay for "loss" in any one                       "loss" arising out of all occurrences
       occurrence is $10,000.                                           that take place in the "coverage
                                                                        term". With respect to a particular
       The Limit of Insurance provided under                            occurrence of "loss" which results in
       this Coverage Extension does not apply                           "fungi", wet or dry rot or bacteria, we
       per location.                                                    will not pay more than a total of
                                                                        $15,000 even if the "fungi", wet or dry
                                                                        rot or bacteria continues to be pre-

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           sent or active, or recurs, in a subse-                           tion of "Fungi", wet or dry rot or
           quent "coverage term".                                           bacteria prolongs the "period of
                                                                            restoration", we will pay for
      (4) The coverage provided under this                                  "loss" and/or expense sustained
          Coverage Extension does not in-                                   during the delay (regardless of
          crease the applicable Limit of Insur-                             when such a delay occurs during
          ance on any Covered Property. If a                                the "period of restoration"), but
          particular occurrence results in "loss"                           such coverage is limited to 30
          by "fungi", wet or dry rot or bacteria,                           days. The days need not be
          and other "loss", we will not pay                                 consecutive.
          more, for the total of all "loss" than
          the applicable Limit of Insurance on                    (7) This Coverage Extension does not
          the affected Covered Property.                              apply to lawns, trees, plants or
                                                                      shrubs that are part of any vegetative
           If there is covered "loss" to Covered                      roof.
           Property, not caused by "fungi", wet
           or dry rot or bacteria, loss payment                h. Glass
           will not be limited by the terms of this
           Coverage Extension, except to the                      (1) if a Covered Cause of Loss occurs to
           extent that "fungi", wet or dry rot or                     building glass that is Covered Prop-
           bacteria causes an increase in the                         erty, we will also pay necessary ex-
           "loss". Any such increase in the                           penses you incur to:
           "loss" will be subject to the terms of                      (a) Put up temporary plates or
           this Coverage Extension.                                        board up openings if repair or
       (5) The terms of this Coverage Exten-                               replacement of damaged glass
           sion do not increase or reduce the                              is delayed;
           coverage provided under:                                    (b) Repair' or     replace    encasing
          (a) SECTION A. COVERAGE, 5.                                      frames;
              Coverage Extensions, c. Col-                             (c) Remove or replace obstructions
              lapse;                                                      (except expenses to remove or
          (b) SECTION A. COVERAGE, 5.                                      replace window displays); and
              Coverage Extensions, s. Wa-                              (d) Repair or replace alarm tapes.
              ter, Other Liquids, Powder or
              Molten Material Damage                              (2) If you are a tenant at a covered
                                                                      "premises" and:
      (6) The following (6)(a) or (6)(b) apply
          only if "Business Income", "Rental                           (a) The building you occupy is not
          Value", or Extra Expense Coverage                                Covered Property; and
          applies to the "premises" and only if
          the "suspension" of "operations" sat-                        (b) You are legally liable for direct
          isfies all terms and conditions of the                           "loss" to the building glass in that
          applicable     "Business     Income",                            building;
          "Rental Value", or Extra Expense                              such building glass, for the purposes
          Coverage.                                                     of this Paragraph h.(2), is Covered
          (a) If the "loss" which resulted in                           Property. ?he most we will pay for
              "fungi", wet or dry rot or bacteria                       "loss" in any one occurrence is
              does not in itself necessitate a                          $5,000. This building glass is subject
              "suspension" of "operations", but                         to the building deductible as de-
              such "suspension" is necessary                            scribed in SECTION C. DEDUCTI-
              due to "loss" to property caused                          BLE.
              by "fungi", wet or dry rot or bac-                  (3) For the purposes of this Coverage
              teria, then our payment under                           Extension only, SECTION A. COV-
              "Business Income" and/or Extra                          ERAGE, 3. Covered Causes of
              Expense is limited to the amount                        Loss, b. Exclusions does not apply
              of "loss" and/or expense sus-                           except as follows:
              tained in a period of not more
              than 30 days. The days need not                          (a) Exclusion (1)(b) Earth Move-
               be consecutive.                                             ment;
          (b) If a covered "suspension" of                              (bj Exclusion (1)(c) Governmental
              "operations" was caused by                                    Action;
              "loss" other than "fungi", wet or
              dry rot or bacteria but remedia-
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          (c) Exclusion (1)(d) Nuclear Haz-                           (b) Paragraph a.(2j(a) of this Cov-
              ard;                                                        erage Extension does not apply
                                                                          to:
          (d) Exclusion (1)(f) War and Mili-
              tary Action;                                                  1) Any    business  personal
                                                                               property covered    under
          (e) Exclusion (2)(d)1) Wear and                                      BUILDING AND PERSON-
              tear; and                                                        AL PROPERTY COVER-
          (~ As listed in Exclusion (2)(d)2):                                  AGE FORM, SECTION A.
             Rust or other corrosion, hidden                                   COVERAGE, 5. Coverage
             or latent defect or any quality in                                Extensions, e. Exhibi-
             property that causes it to dam-                                   tions, Fairs, or Trade
             age or destroy itself.                                            Shows or m. Property Off
                                                                               Premises;
       Newly Purchased, Leased or Con-
       structed ProgertV                                                    2) Any     business    personal
                                                                               property that is covered un-
       (1) Buildings                                                           der BUILDING AND PER-
                                                                               SONAL PROPERTY COV-
           If buildings are Covered Property in                                ERAGE FORM, SECTION
           this Coverage Part, we will pay for di-                             A. COVERAGE, 5. Cover-
           rect "loss" caused by a Covered                                     age Extensions, ~. Trans-
           Cause of Loss to:                                                   portation or is otherwise
          (a) Your new buildings or additions                                  considered to be in-transit
              while being built on the "premis-                                to or from a "premises".
              es';                                                          3) Business personal property
          (b) Buildings you newly purchase or                                  of others that is temporarily
              become newly required to insure                                  in your possession in the
              by written contract that are:                                    course of installing or per-
                                                                               forming work on such prop-
               1) Intended for use by you as                                   eriy, or temporarily in your
                  a warehouse; or                                              possession in the course of
                                                                               your     manufacturing     or
               2) Similarly used by you as                                     wholesaling activities.
                  buildings insured under this
                  Coverage Part.                                       The most we will pay for "loss" in any
                                                                       one occurrence to your Business
           The most we will pay for "loss" in any                      Personal Property under this Cover-
           one occurrence to a building under                          age Extension is $500,000 at each
           this Coverage Extension is 1,000,000                        building.
           for each building.
                                                                  (3) Period of Coverage
      (2) Business Personal Property
                                                                       Coverage provided under this Cover-
          (a) If business personal property is                         age Extension will end when any of
              Covered Property in this Cover-                          the following first occurs:
              age Part, we will pay for direct
              "loss" caused by a Covered                               (a) This policy expires,
              Cause of Loss to business per-
              sonal property you newly pur-                            (b) For buildings described in Para-
              chase or are required to insure                              graph (1)(a) of this Coverage
              by written contract:                                         Extension, 90 days pass from
                                                                           the date you begin construction
               1) While located at buildings                               on that part of the building that
                  described in     Paragraph                               would qualify as Covered Prop-
                  a.(1) of this Coverage Ex-                               erty;
                  tension; or
                                                                       (cj For business property described
               2) While located in a leased                                in Paragraph (1)(b) and Para-
                  building or space therein                                graph (2)(a)1), 90 days after
                  that you are not required to                             your purchase or lease;
                  insure. Such lease must be
                  for a period of 12 consecu-                          (d) For business personal property
                  tive months or longer.                                   described in Paragraph (2)(a)2),
                                                                           90 days from the effective date


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                  of the lease of the building                        but only if caused by or resulting from any
                  space in the building; or                           of the following causes of loss if they are
                                                                      i ncluded as Covered Causes of Loss un-
            (e) You report values to us.                              der this Coverage Part:
        We will charge you additional premium for                     (1) Fire;
        values reported from the date you lease
        or purchase the property, or begin con-                       (2) Lightning;
        struction on that part of the building that
        would qualify as Covered Property.                            (3) Explosion;

   j.    Nonowned Building Damage                                     (4) Riot or Civil Commotion;

        If ~rou are a tenant at a covered "premis-                    (5) Aircraft; or
        es" and:                                                      (6) Falling ohjects.
        (1) The building you occupy is not Cov-                       We will pay for the debris removal ex-
            ered Property; and                                        penses of the above type property that
        (2) You are legally liable for direct "loss"                  are not your Covered Property if such de-
            to that building;                                         bris is on your "premises" due to the Cov-
                                                                      ered Causes of Loss described in this
         We will pay for direct "loss" to that build-                 Coverage Extension. If you are a tenant,
         ing caused by b~~rglary, robbery, theft or                   we do not pay debris removal expenses
         attempted theft.                                             for trees, plants or shrubs owned by the
                                                                      landlord or owner of the building you oc-
         This Coverage Extension does not apply                       cupy.
         to:
                                                                       No other coverage for debris removal ex-
        (1) Glass, inGuding lettering and orna-                        penses provided in this Coverage Part
            mentation, and also necessary:                             applies to this Outdoor Property Cover-
            (a) Repair or replacement of encas-                        age Extension.
                ing frames or alarm tapes; and                        The most we will pay for "loss" in any one
            (b) Expenses incurred to board up                         occurrence under this Coverage Exten-
                openings or remove or replace                         sion is $5,000, but not more than $1,000
                obstruction.                                          for any one tree, shrub or plant.

        (2) Building materials and equipment                     I.    Personal Effects
            removed from the "premises".                               If business personal property is Covered
         This Coverage Extension does not apply                        Property in this Coverage Part, we will
         if you have purchased other insurance in                      pay for direct "loss" caused by a Covered
         your name on the building you occupy as                       Cause of Loss to personal effects owned
         required by the lease.                                        by:

         The most we will pay for "loss" in any one                   (1) You, your officers, or your partners,
         occurrence under this Coverage Exten-                            or if you are a limited liability compa-
         sion is $25,000.                                                 ny, your members or your managers;
                                                                          or
   k. Outdoor Property
                                                                      (2) Your employees (including temporary
         We will pay for direct "loss" caused by a                        and leased employees), including
         Covered Cause of Loss to the following                           tools owned by your employees that
         types of your Covered Property:                                  are used in your business. However,
                                                                          employee tools are not covered for
        (1) Radio antennas, television antennas                           theft.
            or satellite dishes (including their
            lead-in wiring, masts and towers);                         This Coverage Extension does not apply
                                                                       to "money'or "securities".
        (2) Trees, shrubs or plants (other than
            trees, shrubs or plants which are                          If theft is included as a Covered Cause of
            "stock" or part of a vegetative roofl,                     Loss under this Coverage Part, then this
            including debris removal ;and                              Coverage E~ension has a $500 per oc-
                                                                       currence limitation for direct "loss" by
        (3) If you are a tenant, to your awnings                       theft.
            that are attached to a building you
            occupy;


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       The most we will pay for "loss" in any one                       (a) While the trailer is attached to
       occurrence under this Coverage E~en-                                 any motor vehicle or motorized
       sion is $10,000.                                                     conveyance, whether ~r not the
                                                                            motor vehicle or motorized con-
   m. Property Off Premises                                                 veyance is in motion;
      (1) We will pay for direct 'loss" caused                          (b) During hitching or unhitching
          by a Covered Cause of Loss to your                                operations, or when a trailer be-
          Covered Property, induding covered                                comes acadentally unhitched
          personal property of others, while it is                          from a motor vehicle or motor-
          away from the "premises", if it is:                               ized conveyance.
           (a) Temporarily at a location you do                    (3) This insurance is excess over the
               not own, lease or operate; or                           amount due, whether you can collect
           (b) In storage at a location you                            on it or not, from any other insurance
               lease, provided the lease was                           covering such property.
               executed for the first time after                   (4) This Coverage Extension does not
               the beginning of the current                            apply to any property inside or on the
               "coverage term".                                        trailer.
      (2) This Coverage E~ension does not                           The most we will pay for "loss" in any one
          apply to Covered Property at exhibi-                      occurrence under this Coverage E~en-
          tions, fairs, trade show, or in transit.                  sion is $5,000.
       The most we will pay for "loss" in any one              p. Transportation
       occurrence under this Coverage Exten-
       sion is $10,000.                                             We will pay for direct "loss" caused by a
                                                                    Covered Cause of Loss to your Covered
       The Limit of Insurance provided by this                      Property, including covered personal
       Coverage Extension does not apply per                        property of others while it is in or on a ve-
       location.                                                    hicle, induding loading and unloading of
   n. Signs                                                         the property.

       We will pay for direct "loss" caused by a                    The most we will pay for "loss" in any one
       Covered Cause of Loss, including debris                      occurrence is $10,000.
       removal expense, to signs not otherwise                      The Limit of Insurance provided by this
       insured by this Coverage Part.                               Coverage Extension does not apply per
       The most we will pay for "loss" in any one                   location.
       occurrence under this Coverage Exten-
                                                               q. Utility Services
       sion is $5,000.
                                                                    We will pay for:
       The Limit of Insurance provided by this
       Coverage Extension does not apply per                       (1) Direct "loss" to Covered Property at
       location.                                                       your "premises" except for direct
                                                                       "loss" resulting from the partial or
   o. Trailers(Nonowned Detached                                       complete failure of Wastewater Re-
       (1) If business personal property is Cov-                       moval Services; and
           ered Property in this Coverage Part,                    (2) Loss of "Business Income" you sus-
           we will payfor direct "loss" caused by                      tain and Extra Expenses you incur as
           a Covered Cause of Loss to trailers                         provided in SECTION A. COVER-
           that you do not own, provided that:                         AGE, 5. Coverage Extensions, b.
           (a) The trailer is used in your busi-                       Business Income and Extra Ex-
               ness;                                                   pense;

           (b) The trailer is temporarily in your                   caused by or resulting from the partial or
               care, custody or control at the                      complete failure of utility services to the
               "premises"; and                                      "premises".

           (c) You have a contractual respon-                       The partial or complete failure of the utility
               sibility to pay for "loss" to the                    services listed below must be caused by
               trailer.                                             direct "loss" caused by a Covered Cause
                                                                    of Loss to the following property:
      (2) We will not pay for any direct "loss"
          that occurs:                                              (1) Power Supply Property, meaning the
                                                                        following types of property supplying

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           electricity, steam or natural gas to the             r.   Valuable Papers and Records
           "premises":
                                                                     SECTION G. DEDUCTIBLE does not ap-
          (a) Utility generating plants;                             ply to this Coverage Extension.
          (b) Switching stations;                                    (1) Subject to Paragraph r.(3) of this
                                                                         Coverage Extension, we will pay
           ~c~ Substations;                                              necessary costs you incur to re-
           (d) Transformers; and                                         search, replace or restore lost or
                                                                         damaged information on "valuable
          (e) Transmission, distribution, ser-                           papers and records" that are your
              vice, or similar lines, excluding                          property or the property of others in
              all such overhead lines of any                             your care, custody or control; result-
              type.                                                      ing from direct "loss" caused by a
                                                                         Covered Cause of Loss.
      (2) Water Supply Property, meaning the
          following types of property supplying                      (2) Coverage does not apply to:
          water to the "premises":
                                                                         (a) Property that cannot be replaced
          (a) Pumping stations; and                                          with other property of like kind
                                                                             and quality;
          (b) Water mains.
                                                                         (b) Property held as samples or for
      (3) Wastewater        Removal     Property,                            delivery after sale;
          meaning a utility system for removing
          wastewater and sewage from the                                 (c) Property in storage away from
          "premises", other than a system de-                                the "premises", except as pro-
          signed primarily for draining storm                                vided in Paragraph r.(4)(b) of
          water. The utility property includes                               this Coverage Extension;
          sewer mains, pumping stations and
          similar equipment for moving the ef-                           (d) Contraband, or property in the
          fluent to a holding, treatment or dis-                             course of illegal transportation or
          posal facility, and includes such facili-                          trade;
          ties. Coverage under this Coverage                             (e) "Valuable papers and records" in
          Extension does not apply to interrup-                              the form of "electronic data", in-
          tion in service caused by or resulting                             cluding the materials on which
          from a discharge of water or sewage                                the "electronic data" is recorded.
          due to heavy rainfall or flooding.
                                                                     (3) The most we will pay for "loss" is the
      (4) Communication Supply Property,                                 least of the following amounts:
          meaning property supplying commu-
          nication services, including service                           (a) The cost of reasonably restoring
          relating to Internet access or access                              the damaged property to its
          to any electronic, cellular or satellite                           condition immediately before the
          network; telephone, radio, microwave                               "loss";
          or television services to the "premis-
          es", such as:                                                  (b) The cost of replacing the dam-
                                                                             aged property with substantially
          (a) Communication        transmission,                             identical property; or
              distribution, service or similar
              lines, including fiber optic lines,                        (c) The actual cash value of the
              excluding alt such overhead                                    damaged property at the time of
              lines of any type;                                             "loss".

          (b) Coaxial cables; and                                         However, we will not pay for "loss"
                                                                          unless or until the damaged property
          (C) Microwave radio relays, exclud-                             is actually replaced or restored; and
              ing satellites.                                             then only if such replacement or res-
                                                                          toration occurs within 36 months from
       This Coverage Extension does not apply                             the date of direct "loss".
       to "loss" to "electronic data", including de-
       struction or corruption of"electronic data".                  (4) We will extend coverage to include:
       The most we will pay for III direct "loss"                        (a) Removal
       and loss of "Business Income" and Extra
       Expense in any one occurrence is                                       If you give us written notice with-
       $25,000.                                                               in 30 days of removal of your
                                                                              "valuable papers and records"

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                because of imminent danger of                                This Paragraph r.(6)(a) applies
                direct "loss" from a Covered                                 whether or not such persons are
                Cause of Loss, we will pay for                               acting alone or in collusion with
                direct "loss" while they are:                                other persons or such act occurs
                                                                             during the hours of employment.
                1) At a safe place away from
                   your'"premises"; or                                       However, this Paragraph r.(6)(a)
                                                                             does not apply to dishonest acts
                2) Being taken to and returned                               of a carrier for hire or to acts of
                   from that place.                                          destruction by your employees.
                This Removal coverage is in-                                 However, theft by employees is
                cluded within the Limits of Insur-                           still not covered.
                ante applicable to this Coverage                       (b) Errors or omissions in pro-
                Extension.                                                 cessing or copying. However,
           (b) Away From Your Premises                                     we will pay for that portion of di-
                                                                           rect "loss" caused by resulting
                We will pay up to $5,000 in any                            fire or explosion if these causes
                one occurrence, regardless of                              of loss would be covered by this
                the number of locations, for di-                           Coverage Part.
                rect "loss" caused by a Covered
                Cause of Loss to "valuable pa-                         (c) Electrical or magnetic injury, dis-
                pers and records" while they are                           turbance or erasure of electronic
                away from your "premises".                                 recordings. But we will pay for
                                                                           direct "loss" caused by lightning.
                This Away From Premises limit
                is in addition to the Limit of In-                     (d) Voluntary parting with any prop-
                surance applicable to this Cov-                            eriy by you or anyone entrusted
                erage Extension.                                           with the property if induced to do
                                                                           so by any fraudulent scheme,
      (5) SECTION A. COVERAGE, 3. Cov-                                     trick, device or false pretense.
          ered Causes of Loss, b. Exclu-
          sions does not apply to this Cover-                      The most we will pay for "loss" in any one
          age Extension except as follows:                         occurrence is $25,000.

           (a) Exclusion (1)(c) Governmental                  s.   Water Damage, Other Liquids, Powder
               Action;                                             or Molten Material Damage

           (bj Exclusion (1)(d) Nuclear Haz-                       If a covered direzt "loss" to which this in-
               ard; and                                            surance applies was caused by or result-
                                                                   ed from water or other liquid, powder or
           (c) Exclusion (1)(~ War and Mili-                       molten material damage, we will also pay
               tary Action.                                        the cost to tear out and replace any oth-
                                                                   erwise undamaged part of the building or
       (6) In addition to Paragraph r.(5) of this                  structure to repair damage to the system
           Coverage Extension, we will not pay                     or appliance from which the water or oth-
           for direct "loss" resulting from any of                 er substance escapes.
           the following:
                                                          SEC710N B. LIMITS OF INSURANCE
           (a) Dishonest or criminal acts by:
                                                          The most we will pay for "loss" in any one occur-
                1y   You, your partners, employ-          rence is the applicable Limit of Insurance shown in
                     ees, directors, trustees or          the Declarations, except as amended in SECTION
                     authorized representatives;          A. COVERAGE, 3. Covered Causes of Loss, c.
                2) A manager or a member if               Limitations, 4. Additional Coverages, and 5.
                   you are a limited liability            Coverage Extensions.
                   company;                               SECTION C. DEDUCTIBLE
                3) Anyone else with an interest           Except as otherwise provided; in any one occur-
                   in the records of accounts             rence of direct "loss" we will first reduce the
                   receivable, or their employ-           amount of "loss" if required by SECTION E. ADDI-
                   ees or authorized repre-               TIONAL CONDITIONS, 1. Coinsurance or SEC-
                   sentatives; or                         TION F. OPTIONAL COVERAGES, 1. Agreed
                4) Anyone else entrusted with             Value. If the adjusted amount of direct "loss" is
                   the records of accounts re-            less than or equal to the Deductible, we will not
                   ceivable for any purpose,              pay for that direct 'loss". If the adjusted amount of
                                                          direct "loss" exceeds the Deductible, we will then
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subtract the Deductible from the adjusted amount             2.   Glass Deductible
of direct "loss", and will pay the resulting amount or
the Limit of Insurance, whichever is less.                        When direct "loss" to the building you occupy
                                                                  only involves building glass, the Deductible for
W hen the occurrence involves direct "loss" to more               that "loss" will be the lesser of:
than one item of Covered Property and separate
Limits of Insurance apply, the losses will not be                 a. $500; or
combined in determining application of the Deduct-                b. The Deductible shown in the Declarations
ible. But the Deductible will be applied only once                   for that Covered Property.
per occurrence.
                                                             SECTION D. LOSS CONDITIONS
1. Deductible Examples
                                                             The following conditions apply in addition to the
    Example No. 1:                                           COMMON POLICY CONDITIONS and the COM-
    (This example assumes there is no coinsur-               MERCIAL PROPERTY CONDITIONS.
    ance penalty as outlined in SECTION E. AD-
                                                             1. Abandonment
     DITIONAL CONDITIONS,1. Coinsurance).
    Deductible:                           $250                    There can be no abandonment of any property
                                                                  to us.
    Limit of Insurance - Bldg. 1:      $60,000
    Limit of Insurance -Bldg. 2:       $80,000               2. Appraisal

    "Loss" to Bldg. 1:                 $60,100                    If we and you disagree on the value of the
    "Loss" to Bldg. 2:                 $90,000                    property, the amount of Net Income and oper-
                                                                  ating expense, or the amount of "loss", either
    The amount of "loss" to Bldg. 1 ($60,100) is                  may make written demand for an appraisal of
    less than the sum ($60,250) of the Limit of In-               the '9oss". In this event, each party will select
    surance applicable to Bldg. 1 plus the Deduct-                a competent and impartial appraiser. The two
    ible.                                                         appraisers will select an umpire_ If they cannot
                                                                  agree, either may request that selection be
    The Deductible will be subtracted from the                    made by a judge of a court having jurisdiction.
    amount of 'loss" in calculating the "loss" pay~-              The appraisers will state separately the value
    able for Bidg. 1:                                             of the property, the amount of Net Income and
     $60,100 - $250 = $59,850 "Loss" Payable -                    operating expense, and amount of "loss". If
     Bldg. 1                                                      they fail to agree, they will submit their differ-
                                                                  ences to the umpire. A decision agreed to by
    The Deductible applies once per occurrence                    any two will be binding. Each party will:
    and therefore is not subtracted in determining
    the amount of 'loss" payable for Bidg. 2.                     a. Pay its chosen appraiser; and
    "Loss" payable for Bidg. 2 is the Limit of In-
                                                                  b. Bear the other expenses of the appraisal
    surance of $80,000.                                              and umpire equally.
    Total amount of "loss" payable: $59,850 +                     if there is an appraisal, we still retain our right
    80,000 = $139,850.                                            to deny the claim.
    Example No. 2:                                           3. Duties in the Event of Loss or Damaae
    (This example also assumes there is no coin-
                                                                  a. In the event of 'loss" to Covered Property,
    surance penalty).                                                you must see that the following are done
    The Deductible and Limits of Insurance are                       in order for coverage to apply:
    the same as those in Example No. 1:                               (1) Notify the police if a law may have
    "Loss" to Bldg. 1: $70,000 (Exceeds Limit of                          been broken.
    Insurance plus Deductible)                                        (2) Give us prompt notice of the '9oss"_
    "Loss" to Bldg. 2: $90,000 (Exceeds Limit of                          Include a description of the property
    Insurance plus Deductible)                                            involved.

    "Loss" Payable - Bldg. 1: $60,000 (Limit of                       (3) As soon as possible, give us a de-
    Insurance)                                                            scription of how, when and where the
                                                                          "loss" occurred.
    "Loss" Payable -Bldg. 2: $80,000 (Limit of
    Insurance)                                                         ~4) Take all reasonable stePs to P rotect
                                                                           the Covered Property from further
    Total amount of "loss" payable: $140,000.                              damage. If feasible, set the damaged
                                                                           property aside and in the best possi-
                                                                           ble order for examination. Keep a

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               record of your expenses necessary                        We will determine the value of lost or
               to protect the Covered Property for                      damaged property, or the cost of its repair
               consideration in the settlement of the                   or rep{acement, in accordance with the
               claim. This will not increase your limit                 applicable terms of SECTION D. LOSS
               of insurance. However, in no event                       CONpITIONS, 7. Valuation or any appii-
               will we pay for any subsequent "loss"                    cable provision that amends or super-
               resulting from a cause of loss that is                   cedes this valuation condition.
               not a Covered Cause of Loss.
                                                                   b. The cost of repair or replacement does
          (5) At our request, give us complete in-                    not indude the increased Est attributable
              ventories of the damaged and un-                        to enforcement of or compliance with any
              damaged property. Include quanti-                       ordinance or law regulating the construc-
              ties, costs, values and amount of                       tion, use or repair of any property, except
              "loss" claimed.                                         as provided in SECTION A. COVERAGE,
                                                                      4. Additional Coverages, g. Ordinance
          (6) As often as may be reasonably re-                       or Law.
              quired, permit us to inspect the prop-
              erty proving the "loss" and examine                  C.   We will give notice of our intentions within
              your books and records.                                   30 days after we receive the sworn proof
                                                                        of loss.
               Also permit us to take samples of
               damaged and undamaged property                      d. We will not pay you more than your finan-
               for inspection, testing and analysis                   cial interest in the Covered Property.
               and permit us to make copies from
               your books anti records.                            e.   We may adjust "losses" with the owners
                                                                        of lost or damaged property if other than
          (7) Submit a signed sworn proof of loss                       you. If we pay the owners, such payments
              containing the information we request                     will satisfy your claims against us for the
              to investigate the daim. You must do                      owners' property. We will not pay the
              this within 60 days after our request.                    owners more than their financial interest
              We will supply you with the neces-                        in the Covered Property.
              sary forms.
                                                                  f.    Our payment for "loss" to personal prop-
          (8) Cooperate with us in the investigation                    erty of others and personal effects will on-
              or settlement ofi the claim.                              ly be for the account of the owner of the
                                                                        property.
          (9) If you intend to continue your busi-
              ness, you must resume all or part of                 g. We may elect to defend you against suits
              your "operatior~s" as quickly as pos-                   arising from claims of owners of property.
              sible.                                                  We will do this at our expense.
     b. We may examine any insured under oath,                     h. We will pay for insured "loss" within 30
        while not in the presence of any other in-                    days after we receive the sworn proof of
        sured and at such times as may be rea-                        loss if you have complied with all of the
        sonably required about any matter relat-                      terms of this Coverage Part; and
        ing to this insurance or the claim, includ-
        ing an insured's hooks and records_ In the                      (1) We have reached agreement with
        event of an examination, an insured's an-                           you on the amount of'9oss"; or
        swers must be signed.
                                                                        (2) An appraisal award has been made.
4    Loss Payment                                                  i.   Loss Payment -Ordinance or Law.
     a.   In the event of "loss" insured by this Cov-                   With respect to SECTION A. COVER-
          erage Part, at our option, we will either:
                                                                        AGE, 4. Additional Coverages, g. Ordi-
          (1) Pay the value of lost or damaged                          nance or Law:
              property;
                                                                        (1) Loss of Use of Undamaged Parts
          (2) Pay the cost of repairing or replacing                        of Building
              the lost or damaged property;                                 When there is a loss in value of an
          (3) Take all or any part of the property at                       undamaged portion of a building or
              an agreed or appraised value; or                              structure to which this coverage ap-
                                                                            plies, the loss payment for that build-
          (4) Repair, rebuild or replace the proper-                        ing, including damaged and undam-
              ty with other property of like kind and                       aged portions, will be determined as
              quality.                                                      follows:


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          (a) If BUILDING AND PERSONAL                                (b) The limit of insurance indicated
              PROPERTY            COVERAGE                                in SECTION A. COVERAGE, 4.
              FORM,SECTION F. OPTIONAL                                    Additional Coverages, g. Or-
              COVERAGES, 3. Replacement                                   dinance or Law for Demolition
              Cost applies and the property is                            CustS for the building that has
              repaired or replaced, on the                                suffered "loss".
              same "premises" or another
              "premises"; we will not pay more                    (3) Increased Costs of Construction
              than the lesser of:                                      Loss payment for Increased Costs
               1) The amount you actually                              of Construction will be determined
                  spend to repair, rebuild or                          as follows:
                  reconstruct the building, but                        (a~ WE will not pay for the increased
                  not for more than the                                    cost of construction until the
                  amount it would cost to re-                              property is actually repaired or
                  store the building on the                                replaced, at the same "premis-
                  same "premises" and to the                               es" or another location and un-
                  same height, floor area,                                 less the repairs or replacement
                  style and comparable quali-                              are made as soon as reasonably
                  ty of the original property in-                          po~ible after the direct "loss",
                  sured; or                                                not to exceed two years. We
               2) The limit of insurance indi-                             may extend this period in writing
                  Gated in SECTION A.                                      during the two years.
                  COVERAGE, 4. Additional                              (b) If the building is repaired or re-
                  Coverages g. Ordinance                                   placed at the same "premises",
                  or Law for Loss of Use of                                or if you elect to rebuild at an-
                  Undamaged        Parts    of                             other "premises", the most we
                  Building for the building                                Wi~~ pay for the Increased cost
                  that has suffered "loss".                                of construction is the lesser of:
          (b) If BUILDING AND PERSONAL                                      1) The increased cost of con-
              PROPERTY            COVERAGE                                     struction at the same "prem-
              FORM,SECTION F. OPTIONAL                                         ises"; or
              COVERAGES, 3. Replacement
              Cost applies and the property is                              2) The limit of insurance indi-
              not repaired or replaced, or if the                              Gated in SECTION A.
              Replacement Cost Coverage                                        COVERAGE, 4. Additional
              Option does not apply, we will                                   Coverages, g. Ordinance
              not pay more than the lesser of:                                 or Law for Increased
                                                                               Costs of Construction for
               1) The "actual cash value" of                                   the building that has suf-
                   the building at the time of                                 fered "loss".
                  '9oss"; or
                                                                       (c) If the ordinance or law requires
               2) The limit of insurance indi-                             relocation to another location the
                  Gated in SECTION A.                                      most we will pay for the in-
                  COVERAGE, 4. Additional                                  creased cost of construction is
                  Coverages, g. Ordinance                                  the lesser of:
                  or Law for Loss of Use of
                  Undamaged        Parts    of                              1) The increased cost of con-
                  Building for the building                                    struction at the new loca-
                  that has suffered "loss".                                    tion; or
      (2) Demolition Costs                                                  2) The limit of insurance indi-
                                                                               cated in SECTION A.
           Loss payment for Demolition Costs                                   OVERAGE, 4. Additional
           will be determined as follows:                                      coverages, g. Ordinance
           We will not pay more than the lesser                                or Law for Increased
           of the following:                                                   Costs of Construction for
                                                                               the building that has suf-
           (a) The amount you actually spend                                   fered "loss".
               to demolish and dear the site of
               the "premises"; or                                 (4) Proportional Payments
                                                                       If the building or structure sustains
                                                                       both direct "loss" that is covered un-
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            der this Coverage Part and direct                                 had occurred. We will deduct
            "loss" that is not covered under this                             from the total of such expenses:
            Coverage Part; and as a result of the
            direct "loss" in its entirety you are re-                          1) The salvage value that re-
            quired to comply with the ordinance                                   mains of any property
            or law, we will not pay the full amount                               bought for temporary use
            of direct "loss" otherwise payable un-                                during the "period of resto-
            der the terms of SECTION A. COV-                                      ration", once "operations"
            ERAGE, 4. Additional Coverages,                                       are resumed; and
            g. Ordinance or Law. Instead, we                                  2) Any Extra Expense that is
            will pay a proportion of such direct                                 paid for by other insurance,
            "loss"; meaning the proportion that                                  except for insurance that is
            the covered direct "loss" bears to the                               written subject to the same
            total direct "loss".                                                 plan, terms, conditions and
        Loss Determination -Business Income                                      provisions as this insurance;
   1•
        and Extra Expense                                                        and

        With respect to SECTION A COVER-                                 (b) Necessary expenses that reduce
        AGE, 5. Coverage Extensions, b. Busi-                                the "Business Income" and
        ness Income and Extra Expense,                                       "Rental Value" "loss" that other-
                                                                             wise would have been incurred.
        (1) The amount of "Business Income"
            and "Rental Value" '9oss" will be de-                   (3) Resumption of Operations
            termined based on:                                            We will reduce the amount of your:
            (a) The Net Income of the business                           (a) "Business Income" and "Rental
                before the direct "loss" occurred;                           Value" "loss", other than Extra
            (b) The likely Net Income of the                                 Expense, to the extent you can
                business if no direct "loss" had                              resume your "operations", in
                occurred, but not including any                              whole or in part, by using dam-
                Net Income that would likely                                 aged or undamaged property
                have been earned as a result of                              (induding    merchandise     or
                an increase in the volume of                                 "stock") at the "premises" or
                business due to favorable busi-                              elsewhere.
                ness conditions caused by the                            (b) Extra Expense "loss" to the ex-
                i mpact of the Covered Cause of                              tent you can return "operations"
                Loss on customers or on other                                to normal and discontinue such
                businesses;                                                  Extra Expense.
            (c) The operating expenses, indud-                      (4) If you do not resume "operations", or
                ing payroll expenses, necessary                         do not resume "operations" as quick-
                to resume "operations" with the                         ly as possible, we will pay based on
                same quality of service that ex-                        the length of time it would have taken
                isted just before the direct "loss";                    to resume "operations" as quickly as
                and                                                     possible.
            (d) Other relevant sources of infor-                 k. Party Walls
                mation, induding;
                                                                     A party wall is a wall that separates and is
                 1) Your financial records and                       common to adjoining buildings that are
                    accounting procedures;                           owned by different parties. In settling
                 2) Bills, invoices and other                        covered losses involving a party wall, we
                    vouchers; and                                    will pay a proportion of the "loss" to the
                                                                     party wall based on your interest in the
                 3) Deeds, liens or contracts                        wall in proportion to the interest of the
                                                                     owner of the adjoining building. However,
        (2) The amount of Extra Expense will be                      if you elect to repair or replace your build-
            determined based on:                                     ing and the owner of the adjoining build-
            (a) All expenses that exceed the                         ing elects not to repair or replace that
                normal operating expenses that                       building, we will pay you the full value of
                would have been incurred by                          the "loss" to the party wall, subject to all
                "operations" during the "period                      applicable policy provisions all other pro-
                of restoration" if no direct "loss"                  visions of this SECTION D. LOSS CON-
                                                                     DITIO~IS, 4. Loss Payment including:

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        (1) Limit of Insurance shown in the Dec-                   (2) Buildings under construction or reno-
            larations;                                                 vation are not considered vacant.
        (2) SECTION D. LOSS CONDITIONS,                         b. Vacancy Provisions
            7. Valuation; and
                                                                    If the building where direct "loss" occurs
        (3) SECTION E. ADDITII~NAL CONDI-                           has been vacant for more than 60 con-
            TIONS, 1. Coinsurance.                                  secutive days before that "loss", we will:
        Our payment under the provisions of this                   (1) Not pay for any "loss" caused by any
         paragraph does not alter any right of sub-                    of the following, even if they are
        rogation we may have against any entity,                       Covered Causes of Loss:
        including the owner or insurer of the ad-
        joining building, and does not alter the                        (a) Vandalism;
        terms of COMMERCIAL PROPERTY                                    (b) Sprinkler leakage, unless you
        CONDITIONS, I. Transfer Of Rights Of                                have protected the system
        Recovery Against Others To Us in this                               against freezing;
        Coverage Part.
                                                                        (c) Building glass breakage;
5. Recovered Property
                                                                        (d) Water damage;
   If either you or we recover any property after
   loss settlement, that party must give the other                      (e) Theft; or
   prompt notice. At your option, the property will
   be returned to you. You must then return to us                       (fl Attempted theft.
   the amount we paid to you for the property.                     (2) Reduce the amount we would other-
   We will pay recovery expenses and the ex-                           wise pay for the "loss" by 15% with
   penses to repair the recovered property, sub-                       respect to Covered Causes of Loss
   ject to the Limit of Insurance.                                     other than those listed in b.(1)(a)
6. Vacancy                                                             through b.(1)(fl of this Loss Condi-
                                                                       tion.
   a.   Description of Terms
                                                           7. Valuation
        (1) As used in this Vacancy Condition,
            the term building and the term vacant               ~Ne will determine the value of Covered Prop-
            have the meanings set forth in (1)(a)               erry in the event of direct "loss" as follows:
            and (1)(b) below:                                   a. At "Actual Cash Value" as of the time of
            (a) When this Coverage Part is is-                     direct 'loss", except as provided in b., c.,
                sued to a tenant, and with re-                     d., and e. below.
                spect to that tenants interest in               b. If the Limit of Insurance for Building satis-
                Covered     Property,    building                  fies SECTION E. ADDITIONAL CONDI-
                meansthe unit or suite rented or                   TIONS, 1. Coinsurance, and the cost to
                leased to the tenant. Such build-                  repair or replace the damaged building
                ing is vacant when it does not                     property is $2,500 or less, we will pay the
                contain enough business per-                       cast of building repairs or replacement.
                sonal property to conduct cus-
                tomaryoperations.                                   The cost of building repairs or replace-
                                                                    ment does not include the increased cost
            (b) When this Coverage Part is is-                      attributable to enforcement of or compli-
                sued to the owner or general                        ante with any ordinance or law regulating
                lessee of a building, building                      the construction, use or repair of any
                means the entire building. Such                     property. However, the followin    ro e
                building is vacant unless at least                                                  g p even
                                                                    will be valued at actual cash value  p ~
                31% of its total square footage                     when attached to the building:
                is:
                                                                    (1) Awningsorfloorcoverings;
                 1) Rented to a lessee or sub-
                    lessee and used by them to                      (2) Appliances for refrigerating, ventilat-
                    conduct their customary op-                         ing, cooking, dishwashing or launder-
                    erations; or                                        ing; or
                 2) Used by the building owner                      (3) Outdoor equipment or furniture.
                    to conduct customary oper-
                    ations.                                     c. "Stock" you have sold but not delivered at
                                                                   the selling price less discounts and ex-
                                                                   pensesyou otherwise would have had.

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    d. Glass at the cost of replacement with                          (3) Multiply to the total amount of "loss",
       safety glazing material if required by law.                        before the application of any deducti-
                                                                          ble, by the figure determined in step
    e.   Tenant's Improvements and Betterments                           (2); and
         at:
                                                                      (4) Subtract the deductible from the fig-
         (1) Replacement Cost of the lost or                              ure determined in step (3).
             damaged property if you make re-
             pairs promptly.                                          We will pay the amount determined in
                                                                      step (4) or the Limit of Insurance, which-
         (2) A proportion of your original cost if                    ever is less. For the remainder, you will
             you do not make repairs promptly.                        either have to rely on other insurance or
             We will determine the proportionate                      absorb the "loss" yourself.
             value as follows:
                                                                      Example No. 1 (Underinsurance):
             (a) Multiply the original cost by the
                 number of days from the "loss"                       The value of the property is:  $250,000
                 or damage to the expiration of                       The coinsurance percentage is:     80%
                 the lease; and                                       The Limit of Insurance is:     $100,000
                                                                      The Deductible is:                 $250
             (b) Divide the amount determined in                      The amount of"loss" is:         $40,000
                (a) above by the number of days
                 from the installation of improve-                    Step (1):
                 ments to the expiration of the
                 lease.                                                     $250,000 X 80% _ $200,000 (the
                                                                            minimum amount of insurance to
              If your lease contains a renewal op-                          meet your Coinsurance require-
              tion, the expiration of the renewal op-                       ments)
              tion period will replace the expiration
              of the lease in this procedure.                         Step (2):

         (3) Nothing if others pay for repairs or                           $100,000 divided by $200,000 = .50
             replacement.                                             Step (3):
         (4) For the purposes of valuation, ten-                            $40,000 X .50 - $20,000
             ants' improvements and betterments
             are not considered to be the personal                    Step (4):
             property of others.
                                                                            $20,000 - $250 = $19,750.
SECTION E. ADDITIONAL CONDITIONS                                      We will pay no more than $19,750. The
The following conditions apply in addition to the                     remaining $20,250 is not covered.
COMMON POLICY CONDITIONS and the COM-                                 Example No. 2(Adequate Insurance):
MERCIAL PROPERTY CONDITIONS.
                                                                      The value of the property is:  $250,000
1. Coinsurance                                                        The coinsurance percentage is:     80%
    If a Coinsurance percentage is shown in the                       The Limit of Insurance is:     $200,000
    Declarations, the following condition applies.                    The Deductible is:                 $250
                                                                      The amount of"loss" is:         $40,000
    a.   We will not pay ttie full amount of any
                                                                      Ste
         "loss" if the value of Covered Property at                         p ~ 1 ~'
         the time of direct "loss" times the Coin-                           $250,000 X 80% - $200,000 (the
         surance percentage shown for it in the                              minimum amount of insurance to
         Declarations is greater than the Limit of                           meet your Coinsurance require-
         insurance for the property.                                         ments)
         Instead, we will determine the most we                       Step (2):
         will pay using the following steps:
                                                                            $200,000: $200,000 = 1.00
         (1) Multiply the value of Covered Proper-
             ty at the time of direct "loss" by the                   Step (3):
             Coinsurance percentage;
                                                                            $40,000 X 1.00 = $40,000
         (2) Divide the Limit of Insurance of the                     Step (4):
             property by the figure determined in
             step (1);                                                      $40,000 - $250 = $39,750.



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         We will pay no more than $39,750 "loss"                      with the terms of this Coverage Part, the
         in excess of the Deductible. No penalty                      mortgage holder will still have the right to
         applies.                                                     receive loss payment if the mortgage
                                                                      holder:
     b. If one Limit of Insurance applies to two or
        more separate items, this condition will                      (1) Pays any premium due under this
        apply to the total of all property to which                       Coverage Part at our request if you
        the limit applies.                                                have failed to do so;
         Example No.3:                                                (2) Submits a signed, sworn statement
                                                                          of loss within 60 days after receiving
         The values of the property are:
                                                                          notice from us of your failure to do
             Bldg. at Location No. 1:       $75,000                       so; and
             Bldg. at Location No. 2:      $100,000
                                                                      (3) Has notified us of any change in
             Personal Property at                                         ownership, occupancy or substantial
             Location No.2:                  75 000                       change in risk known to the mortgage
                                                                          holder.
                                            250,000
                                                                      All of the terms of this Coverage Part will
         The coinsurance percentage is:        90%                    then apply directly to the mortgage holc!-
         The Limit of Insurance for                                   er.
             Buildings and Personal
                                                                 e.   If we pay the mortgage holder for any
             Property at Location                                     "loss" and deny payment to you because
             Nos. 1 and 2 is:              $180,000                   of your acts or because you have failed to
         The Deductible is:                  $1,000                   comply with the terms of this Coverage
         The amount of"loss" is:                                      Part:
             Bldg. at Location No. 2:       $30,000
             Personal Property at                                     (1) The mortgage holder's rights under
             Location No. 2:                20 000                        the mortgage will be transferred to us
                                           $50,000                        to the extent of the amount we pay;
         Step (1):                                                        and
             $250,000 X 90% _ $225,000                                (2) The mortgage holder's right to recov-
             (the minimum amount of insurance to                          er the full amount of the mortgage
              meet your Coinsurance requirements                          holder's claim will not be impaired.
              and to avoid the penalty shown be-
              low)                                                    At our option, we may pay to the mort-
                                                                      gage holder the whole principal on the
         Step (2):                                                    mortgage plus any accrued interest. in
             $180,000: $225,000 = .80                                 this event, your mortgage and note will be
                                                                      transferred to us and you will pay your
         Step (3):
                                                                      remaining mortgage debt to us.
             $50,000 X .80 = $40,000
         Step (4):                                               f.   If we cancel this policy, we will give writ-
                                                                      ten notice to the mortgage holder at least:
             $40,000 - $1,000 = $39,000.
                                                                      (1) 10 days before the effective date of
         We will pay no more than $39,000. The                            cancellation if we cancel for your
         remaining $11,000 is not covered.                                nonpayment of premium; or
2.   Mortgage Holders                                                 (2) 30 days before the effective date of
                                                                          cancellation if we cancel for any oth-
     a. The term "mortgage holder" includes trus-                         er reason.
        tee.
                                                                 g. If we elect not to renew this policy, we will
     b. We will pay for covered "loss" to buildings                 give written notice to the mortgage holder
        or structures to each mortgage holder                       at least ten days before the expiration
        shown in the Declarations in their order of                 date of this policy.
        precedence, as interests may appear.
     c. The mortgage holder has the right to re-            SECTION F. OPTIONAL COVERAGES
        ceive loss payment even if the mortgage
                                                            if shown as applicable in the Declarations, the f~l-
        holder has started foreclosure or similar
                                                            lowing Optional Coverages apply separately to
        action on the building or structure.
                                                            each item.
     d. If we deny your claim because of your
        acts or because you have failed to comply

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1. Agreed Value                                                               The number of days since the
                                                                              beginning of the policy year (or
    a. The Additional Condition, Coinsurance,                                 last policy change)is: 146
       does not apply to Covered Property to
       which this Options! Coverage applies. We                               The amount of increase is
       will pay no more for direct "loss" to that                             $100,000 X .08 X (146/365) _
       property than the proportion that the Limit                            $3,200
       of Insurance under this Coverage Part for
       the property bears to the Limit of Insur-           3.   Replacement Cost
       ante indicated in the most current State-                a,   Replacement Cost (without deduction for
       ment of Values that applies to this Cover-                    depreciation) replaces "Actual Cash Val-
       age Part.                                                     ue" in SECTION D. LOSS CONDITIONS,
    b. If the Agreed Value Optional Coverage is                      7. Valuation of this BUILDING AND
       deleted from the policy, the Additional                       PERSONAL PROPERTY COVERAGE
       Condition, Coinsurance, is reinstated and                     FORM.
       this Optional Coverage does not apply.                   p, This Optional Coverage does not apply
   c. The terms of this Optional Coverage ap-                      to:
      ply only to "loss" that occurs:                                (~~ Personal Property of others, except
       (1) On or after the effective date of this                        leased personal property as de-
           Optional Coverage; and                                        scribed in SECTION A COVERAGE,
                                                                         1. Covered Property, d.(7). The val-
        (2) Before the pol+cy expiration date.                           uation of such leased personal prop-
                                                                         erry will be based on the amount for
    d. This Agreed Value Optional Coverage                               which you are liable under the lease,
       does not apply to SECTION A. COVER-                               but not to exceed the replacement
       AGE, 5. Coverage Extensions, b. Busi-                             cost of the leased item.
       Hess Income and Extra Expense.
                                                                     (2) Personal effects;
2. Inflation Guard
                                                                     (3) Contents of a residence;
    a. The Limit of Insurance for property to
       which this Optional Coverage applies will                     (4) Manuscripts;
       automatically increase by the annual per-
       centage shown in the Declarations.                            (5) Works of art, antiques or rare arti-
                                                                         cles, including etchings, pictures,
    b. The amount of increase will be:                                   statuary, marbles, bronzes, porce-
                                                                         lairs and brit-a-brat;
        (1) The Limit of Insurance that applied
            on the beginning of the current "cov-                    (6) "Stock" unless the Replacement Cost
            erage term" or any other Coverage                            including "Stock" option is shown in
            Part change amending the Limit of                            the Declarations; or
            Insurance, multiplied by
                                                                     (7) Property, that at the time of "loss":
       (2) The percentage of annual increase
           shown in the Dedarations, expressed                           (a) Is outdated, or obsolete and is
           as a decimal (example: 8% is .08),                                stored or not being used; or
           multiplied by
                                                                         (b) Has no practical value to you.
       (3) The number of days since the begin-                  ~, You may make a claim for "loss" covered
           ring of the current "coverage term" or                  by this insurance on an "Actual Cash Val-
           the effective date of the most recent                   ue" basis instead of on a replacement
           policy change amending the Limit of                     cost basis. In the event you elect to have
           Insurance, divided by 365. In the                       "loss" settled on an "Actual Cash Value"
           event of "loss", this number of days                    basis, you may still make a claim for the
           ends at the original date of "loss".                    additional coverage this Optional Cover-
             Example:                                              age provides if you notify us of your intent
                                                                   to do so within 180 days after the "loss".
             if:   The applicable Limit of Insur-
                   ance is: $100,000                            d. We will not pay on a replacement cost
                                                                   basis for any "loss":
                   The Annual percentage increase
                   ~S: goo                                           (1) Until the lost or damaged property is
                                                                         actually repaired or replaced with
                                                                         other property of generally the same
                                                                         construction and used for the same

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              purpose as the lost or damaged                          any period is for a period of less than 12
              property; and                                           months, constitute individual "coverage
                                                                      terms". The last "coverage term" ends at
         (2) Unless the repairs or replacement                        12:00 A.M. standard time at your mailing
             have been completed or at least un-                      address shown in the Declarations on the
             derway within 2 years following the                      earlier of:
             date of "loss".
                                                                      (1) The day the policy period shown in
    e. We will not pay more far "foss" on a re-                           the Declarations ends; or
       placement cost basis than the least of:
                                                                      (2) The day the policy to which this Cov-
         (1) The Limit of Insurance applicable to                         erage Part is attached is terminated
             the lost or damaged property;                                or cancelled.
         (2) The cost to replace, on the same                    b,   However, if after the issuance of this
             "premises", the lost or damaged                          Coverage Part, any "coverage term" is
             property with other property:                            extended for an additional period of less
             (a) Of comparable       material and                     than 12 months, that additional period of
                 q uality; and                                        time will be deemed to be part of the last
                                                                      preceding "coverage term".
             (b) Used for the same purpose; or
                                                            5. "Electronic data" means information, facts or
         (3) The amount you actually spend that                "computer programs" stored as or on, created
             is necessary to repair or replace the             or used on, or transmitted to or from computer
             lost or damaged properly.                         software (including systems and applications
                                                               software), on hard or floppy disks, CD-ROMs,
    f.   The cost of repair or replacement does                tapes, drives, cells, data processing devices
         not include the increased cost attributable           or any other repositories of computer software
         to enforcement of or compliance with any              which are used with electronically controlled
         ordinance or law regulating the construc-             equipment.
         tion, use, or repair of any building or
         structure except as provided in SECTION            6. "Finished stock" means stock you have manu-
         A. COVERAGE, 4. Additional Coverag-                   factured, except "stock" you have manufac-
         es, g. Ordinance or Law.                              tured that is held for sale on the "premises" of
                                                               any retail outlet insured under this Coverage
SECTION G. DEFINITIONS                                         Part.
1. "Actual cash value" means replacement cost               7, "Fungi" means anytype or form of fungus, and
   less a deduction that reflects depreciation,                includes, but is not limited to, any form or type
   age, condition and obsolescence.                            of mold, mushroom or mildew and any myco-
2. "Business income" means the:                                toxins, spores, scents or byproducts produced
                                                               or released by fungi.
    a.   Net Income (net profit or loss before in-
         come taxes) that would have been earned            $• "Loss" means accidental physical loss or acci-
         or incurred; and                                      dental physical damage.

    b. Continuing normal operating expenses                 9. "Money' means:
       sustained, including payroll.                             a,   Currency, coins and bank notes whether
3. "Computer programs" means a set of related                         or not in curreni use; and
   electronic instructions which direct the opera-               b, Travelers checks, registered checks and
   tions and functions of a computer or device                      money orders held for sale to the public.
   connected to it, which enable the computer or
   device to receive, process, store, retrieve or           10. "Operations" means:
   send data.
                                                                 a.   Your business activities occurring at the
4. "Coverage term" means the following individ-                       "premises"; and
   ual increment, or if a multi-year policy period,
   increments, of time, which comprise the policy                b. The tenantability of the "premises", if cov-
   period of this Coverage Part:                                    erage for "Business Income" including
                                                                    "Rental Value" or "Rental Value" applies.
    a. The year commencing on the Effective
       Date of this Coverage Part at 12:01 A.M.             11. "Period of restoration" means the period of
       standard time at your mailing address                    time that:
       shown in the Declarations, and if a multi-                     Begins at the time of direct "loss".
                                                                 a.
       year policy period, each consecutive an-
       nual period thereafter, or portion thereof if             b.   Ends on the earlier of:

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         (1) The date when the property at the                        (2) The amount of charges, which are
             "premises" should be repaired, rebuilt                       the legal obligation of the tenants)
             or replaced with reasonable speed                            but would otherwise be your obliga-
             and similar quality; or                                      tions.
         (2) The date when business is resumed              15. "Securities" means negotiable and non-
             at anew permanent location.                        negotiable instruments or contracts represent-
                                                                ing either "money' or other properly and in-
    c. "Period of restoration" does not include                 eludes:
       any increased period required due to the
       enforcement of or compliance with any                     a.   Tokens, tickets, revenue and other
       ordinance or law that:                                         stamps whether or not in current use; and
         (1) Regulates the construction, use or                  b.   Evidences of debt issued in connection
             repair, or requires the tearing down                     with credit or charge cards, which are not
             of any property; or                                      of your own issue; but does not indude
                                                                      "mone~l'. Lottery tickets held for sale are
         ~2~ Rep uires any insured or others to                       not "securities" or evidences of debt.
             test for, monitor, dean up, remove,
             contain, treat, detoxify or neutralize,        16. "Sinkhole collapse" means the sudden settle-
             or in any way respond to or assess                 ment or collapse of earth supporting the Cov-
             the effects of "pollutants".                       ered Property into subterranean voids created
                                                                by the action of water on a limestone or similar
    d. The expiration date of the policy will not               rock formation. This does not include:
       cut short the "period of restoration".
                                                                 a•   The cost of filling sinkholes;
12. "Pollutants" means any solid, liquid, gaseous
    or thermal irritant or contaminant, including                b.   Sinking or collapse of land into man-made
    smoke, vapor, soot, fumes, acids, alkalis, as-                    subterranean cavities; or
    bestos, chemicals, petroleum, petroleum
    products and petroleum by-products, and                      C.   The value of the land.
    waste. Waste includes materials to be recy-
                                                            17. "Specified causes of loss" means fire; light-
    cled, reconditioned or reclaimed. "Pollutants"              Wing; explosion; windstorm or hail; smoke; air-
    include but are not limited to substances                   craft or vehicles; riot or civil commotion; van-
    which are generally recognized in industry or               dalism; leakage from fire extinguishing equip-
    government to be harmful or toxic to persons,               ment; "sinkhole collapse'; volcanic action; fall-
    property, or the environment regardless of                  ing objects; weight of snow, ice or sleet; and
    whether injury or damage is caused directly or              water damage.
    indirectly by the "pollutants" and whether:
                                                                 a•   Falling abjects does not include "loss" to:
    a.   You are regularly or otherwise engaged in
         activities which taint or degrade the envi-                  (1) Personal property in the open; or
         ronment; or
                                                                      (2) The interior of a building or structure,
    b. You use, generate ar produce the "poilu-                           or property inside a building or struc-
       tant".                                                             ture, unless the roof or an outside
                                                                          Wall of the building or structure is first
13. "Premises" means the Locations and Build-
                                                                          damaged by a falling object.
    ings described in the Declarations.
                                                                 b.   Water damage means:
14. "Rental Value" means "Business Income" that
    consists of :                                                     (1) Accidental discharge or leakage of
                                                                          water or steam as the direct result of
    a.   Net Income (Net Profit or Loss before in-                        the breaking apart or cracking of any
         come taxes) that would have been earned
                                                                          Part of a system or appliance (other
         or incurred as rental income from tenant                         than a sump system including its re-
         occupancy of the "premises" described in                         lated equipment and parts) contain-
         the Declarations as furnished and
                                                                          ing water or steam; and
         equipped by you, including fair rental val-
         ue of any portion of the "premises" which                    (2) Accidental discharge or leakage of
         is occupied by you; and                                          water or waterborne material as the
                                                                          direct result of the breaking apart or
    b. Continuing normal operating expenses                               cracking of a water or sewer pipe that
       incurred in connection with that "premis-
                                                                          is located off the "premises' and is
       es", including:
                                                                          part of a municipal potable water
         (1) Payroll; and                                                 supply system or municipal sanitary
                                                                          sewer system, if the breakage or
                                                                          cracking is caused by wear and tear.
                                    Includes copyrighted material of Insurance
FM 101 05 16                         Services Office, Inc., with its permission.                   Page 39 of 40
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       But water damage does not include "loss"                      water is not subject to the provisions of
       otherwise excluded under the terms of                         Exdusion (g) V4~ater.
       BUILDING AND BUSINESS PERSONAL
       PROPERTY, SECTION A. COVERAGE,                       18. "Stock" means merchandise held in storage or
       3. Covered Causes of Lass,(g) Water.                     for sale, raw materials and in-process or fin-
       Therefore, for example, there is no cover-               ished goods, including supplies used in their
       age under this Coverage Part in the situa-               packing or shipping.
       tion in which discharge or leakage of wa-            19. "Suspension" means:
       ter results from the breaking apart or
       cracking of a pipe which was caused by                   a. The slowdown or cessation of your busi-
       or related to weather-induced flooding,                     ness activities; and
       even if wear and tear contributed to the
       breakage or cracking. As another exam-                    b. That a part or all of the "premises" is ren-
       ple, and also in accordance with the                         dered untenantable.
       terms of the Exclusion (g) Water, there is           20. "Valuable papers and records" means in-
       no coverage for "loss" caused by or relat-               scribed, printed or written documents, manu-
       ed to weather-induced flooding which fol-                scripts or records, including abstracts, books,
       lows or is exacerbated by pipe breakage                  card index systems, deeds, drawings, films,
       or cracking attributable to wear and tear.               maps, mortgages, or proprietary information.
       To the event that accidental discharge or                But "valuable papers and records" does not
       leakage of water falls within the criteria               mean "money' or "securities" or "electronic
       set forth in 18.b.(1) or 18.b.(2) of this def-           data", induding the materials on which the
       inition of "Specified causes of loss", such              "electronic data" is recorded.




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                           NOTICE TO POLICYHOLDERS
                          ~inciPakT"' PACKAGE PROGRAM
                           DESCRIPTION OF REVISIONS
                                   EDITION 05 16
This is a summary of the major changes in your CinciPakT"" Package Program. NO COVERAGE IS PROVID-
ED BY THIS SUMMARY nor can it be construed to replace any provisions of your policy. YOU SHOULD
READ YOUR POLICY AND REVIEW YOUR DECLARATIONS page for complete information on the coverag-
es you are provided. If there is any conflict between the policy and this summary, THE PROVISIONS OF THE
POLICY SHALL PREVAIL.
The areas within the policy that broaden, reduce or clarify coverage are indicated below. The material is orga-
nized by individual coverage forms; however, not all coverage forms are induded in a particular policy.


CinciPakT"" Commercial Property Amendatory                 income coverage isn't rated for in the CinciPak
Endorsement - FCP 201                                      program.(Clarification)
•    Fire Protection Equipment Recharge - Ac-              CinciPlus CinciPakT"' Property XC+(Expanded
     tual Expenses Incurred                                Coveraae Plusl Endorsement - FCP 204
Clarifying the limit of insurance to state "the most       •    Accounts Receivable
we will pay in any one occurrence under this Addi-
tional Coverage is the reasonable and necessary            Clarrfied that the Accounts Receivable Away From
expenses you incur to recharge your automatic fire         Your Premises limit of insurance is not included
suppression system or portable fire extinguishers."        within the Blanket Basket Endorsement and is a
- (Clarification)                                          separate limit of insurance. (Clarification)

     Fine Arts                                             •    Electronic Data Processing Property

V. SECTION A, COVERAGE, B., 2. Fine Arts -                 Newly Acquired Electronic Data Processing Prop-
previous Item b. is deleted.                               erty is renamed Newly Purchased Electronic Data
                                                           Processing Property.(Clarification)
This item deleted the exclusion in the COMMER-
CIAL PROPERTY COVERAGE PART for Earth                           Ordinance or Law
Movement and Water. Coverage for Earth Move-               This item is rewritten for clarification due to refor-
ment and Water may be available for a premium              matting of the ~M 101 Ordinance or Law Cover-
on the COMMERCIAL PROPERTY COVERAGE
                                                           age. (Clarification)
PART.(Reduction)
                                                           •    Valuable Papers and Records
CinciPakT"" Business Income (And Extra Ex-
pense) Amendatory Endorsement - FCP 202                    Clarified that the Valuable Papers and Records
                                                           Away From Your Premises limit of insurance is not
     Utility Services                                      included within the Blanket Basket Endorsement
Communication Supply Property indudes service              and is a separate limit of insurance.(Clarification)
relating to Internet access or access to electronic,
                                                           •    Water Backup Discharged from Sewers,
cellular, or satellite networks.(Broadening)                    Drains, Septic or Sump Pump Systems
The overhead transmission and distribution lines           Clarified that the limit of insurance includes any
reference has been clarified to apply to overhead          applicable "Business Income", "Rental Value" and
lines of any type.(Clarification)                          Extra Expense.(Clarification)
Wastewater/Sewage treatment facilities are being
                                                           •    Temperature Change
added as a utility service for Business Income only.
However, coverage does not apply if the                    Clarified that the limit of insurance includes any
wastewater removal facility is overwhelmed itself          applicable "Business Income", "Rental Value" and
with heavy rainfall or flooding. That falls under any      Extra Expense.(Clarification)
Flood coverage, not Utility Services.(Broadening)
CinciPakT"" Actual Loss Sustained Business
Income Endorsement -FCP 203
Clause stating that business income coverage is
subject to annual rerating is deleted, as business


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 CinciPakT"' Manufacturers Business Income              CinciPakT"" Medical or Dental Office Commer-
(And Extra Expense) Amendatory Endorsement              cial Property Coverage Enhancement -With
 - FCP 205                                              utilit~Services Enhancement - FCP 212
    Utility Services                                        Utility Services
Communication Supply Property includes service          Communication Supply Property includes service
relating to Internet access or access to electronic,    relating to Internet access or access to electronic,
cellular, or satellite networks.(Broadening)            cellular, or satellite networks.(Broadening)
The overhead transmission and distribution lines        The overhead transrnission and distribution lines
reference has been clarified to apply to overhead       reference has been clarified to apply to overhead
lines of any type. (Clarification)                      lines of any type.(Clarification)
Wastewater/Sewage treatment facilities are being        •   Water Backup Discharged from Sewers,
added as a utility service for Business Income only.        Drains, Septic or Sump Pump Systems
However, coverage does not apply if the
wastewater removal facility is overwhelmed itself       Clarified that the limit of insurance includes any
with heavy rainfall or flooding. That falls under any   applicable "Business Income", "Rental Value" and
Flood coverage, not Utility Services. (Broadening)      Extra Expense.(Clarification)

CinciPakT"" Medical and Dental Office Actual            CinciPakT"' MedicaVDental Office Business In-
Loss Sustained Business Income Endorsement              come (And Extra Expense) Amendatory En-
- FCP 206                                               dorsement With Utility Services Enhancement -
                                                        FCP 213
Clause stating that business income coverage is
subject to annual rerating is deleted, as business          Utility Services
income coverage isn't rated for in the CinciPak         Communication Supply Property includes service
program.(Clarification)                                 relating to Internet access or access to electronic,
CinciPakT"' Condominium Association Propertx            cellular, or satellite networks.(Broadening)
Coverage Enhancement - FCP 208                          The overhead transmission and distribution lines
Added FM 101 business personal property chang-          reference has been clarified to apply to overhead
es to cover business personal property in a porta-      lines of any type.(Clarification)
ble storage unit.                                       Wastewater/Sewage treatment facilities are being
CinciPakT"^ Condominium Commercial Unit-                added as a utility service for Business Income only.
Owners Property Coverage Enhancement - FCP              However, coverage does not apply if the
209                                                     wastewater removal facility is overwhelmed itself
                                                        with heavy rainfall or flooding. That falls under any
Added FM 101 business personal property chang-          Flood coverage, not Utility Services.(Broadening)
es to cover business personal property in a porta-
ble storage unit.(Broadening)                            CinciPlusO CinciPakT"" Pro~erty Power XC+
                                                        (Expanded Overage Plus) Endorsement - FCP
CinciPakT"' Medical or Dental Office Commer-            215
cial Property Coverage Enhancement - FCP 211
                                                        •   Accounts Receivable
    Utility Services
                                                        Clarified that the Accounts Receivable Away From
Communication Supply Property includes service          Your Premises limit of insurance is not included
relating to Internet access or access to electronic,    within the Blanket Basket Endorsement and is a
cellular, or satellite networks.(Broadening)            separate limit of insurance.(Clarification)
The overhead transmission and distribution lines        •   Electronic Data Processing Property
reference has been clarified to apply to overhead
fines of any type.(Clarification)                       Newly Acquired Electronic Data Processing Prop-
                                                        erty is renamed Newly Purchased Electronic Data
•   Water Backup Discharged from Sewers,                Processing Property.(Clarification)
    Drains, Septic or Sump Pump Systems
                                                        •   Ordinance or Law
Clarified that the limit of insurance includes any
applicable "Business Income", "Rental Value" and        This item is rewritten for clarification due to refor-
Extra Expense.(Clarification)                           matting of the FM 101 Ordinance or Law Cover-
                                                        age.(Clarification)
                                                        •   Valuable Papers and Records
                                                        Clarrfied that the Valuable Papers and Records
                                                        Away From Your Premises limit of insurance is not
                                                        included within the Blanket Basket Endorsement
                                                        and is a separate limit of insurance.(Clarification)

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•     Water Backup Discharged from Sewers,               •    Temperature Change
      Drains, Septic or Sump Pump Systems
                                                         Clarified that the limit of insurance includes any
Clarified that the limit of insurance includes any       applicable "Business Income", "Rental Value" and
applicable "Business Income", "Rental Value" and         Extra Expense.(Clarification)
Extra Expense.(Clarification)
                                                         CinciPakT"" Funeral Directors Coverage En-
•     Temperature Change                                 hancement - FCP 221
Clarified that the limit of insurance includes any       •    Water Backup Discharged from Sewers,
applicable "Business Income", "Rental Value" and              Drains, Septic or Sump Pump Systems
Extra Expense.(Clarification)
                                                         Added revised language.(Broadening)
•     Utility Services
                                                         Clarified that the limit of insurance includes any
Communication Supply Property includes service           applicable "Bus?Hess Income", "Rental Value" and
relating to Internet access or access to electronic,     Extra Expense.(Clarification)
cellular, or satellite networks.(Broadening)
                                                         CinciPakT"' Manufacturers Optional Coverage -
The overhead transmission and distribution lines         FCP 222
reference has been darified to apply to overhead
lines of any type.(Clarification)                        •    Artificially Generated Electrical Current
Wastewater/Sewage treatment facilities are being         Added the expanded coverage for electrical appa-
added as a utility service for Business Income only.      ratus, which adds verbiage clarifying what is meant
However, coverage does not apply if the                   by electrical, magnetic or electromagnetic energy.
wastewater removal facility is overwhelmed itself        (Broadening)
with heavy rainfall or flooding, that falls under any
                                                         CinciPakT"' Medical or Dental Office Condomin-
Flood coverage, not Utility Services.(Broadening)
                                                         ium Commercial Unit-0wners Property Cover-
CinciPlusO CinciPakT"' Medical/Dental Office             age Enhancement -FCP 230
Property XC+ (Expanded Coverage Plus) En-                Added FM 101 business personal property chang-
dorsement - FCP 217                                      es to cover business personal property in a porta-
•     Accounts Receivable                                ble storage unit.(Broadening)

Clarified that the Accounts Receivable Away From         CinciPakT"' Veterinarian Office Actual Loss
Your Premises limit of insurance is not included         Sustained Business Income Endorsement -
within the Blanket Basket Endorsement and is a           FCP 231
separate limit of insurance.(Clarification)
                                                         Clause stating that business income coverage is
•     Electronic Data Processing Property                subject to annual rerating is deleted, as business
                                                         income coverage isn't rated for in the CinciPak
Newly Acquired Electronic Data Processing Prop-          program.(Clarification)
erty is renamed Newly Purchased Electronic Data
Processing Property.(Clarification)                      CinciPakT"' Veterinarian Office Commercial
                                                         Property Coverage Enhancement - FCP 232
•     Ordinance or Law
                                                         •    Utility Services
This item is rewritten for clarification due to refor-
matting of the FM 101 Ordinance or Law Cover-            Communication Supply Properly indudes service
age.(Clarification)                                      relating to Internet access or access to electronic,
                                                         cellular, or satellite networks.(Broadening)
•    Valuable Papers and Records
                                                         The overhead transmission and distribution lines
Clarified that the Valuable Papers and Records           reference has been clarified to apply to overhead
Away From Your Premises limit of insurance is not        lines of any type.(Clarification)
included within the Blanket Basket Endorsement
and is a separate limit of insurance.(Clarification)     •    Water Backup Discharged from Sewers,
                                                              Drains, Septic or Sump Pump Systems
•    Water Backup Discharged from Sewers,
     Drains, Septic or Sump Pump Systems                 Clarified that the limit of insurances includes any
                                                         applicable "Business Income", "Rental Value" and
Clarified that the limit of insurance includes any       Extra Expense.(Clarification)
applicable "Business Income", "Rental Value" and
Extra Expense.(Clarification)




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CinciPakT"' Veterinarian Office Commercial               included within the Blanket Basket Endorsement
Property Coverage Enhancement -With Utility              and is a separate limit of insurance.(Clarification)
Services Enhancement - FCP 233
                                                         •   Water Backup Discharged from Sewers,
     Utility Services                                        Drains, Septic or Sump Pump Systems
Communication Supply Property includes service           Clarified that the limit of insurance includes any
relating to Internet access or access to electronic,     applicable "Business Income", "Rental Value" and
cellular, or satellite networks.(Broadening)             Extra Expense.(Clarification)
The overhead transmission and distribution lines         •   Temperature Change
reference has been clarified to apply to overhead
lines of any type.(Clarification)                        Clarified that the limit of insurance includes any
                                                         applicable "Business Income", "Rental Value" and
•   Water Backup Discharged from Sewers,                 Extra Expense.(Clarification)
    Drains, Septic or Sump Pump Systems
                                                         CinciPakT"' Veterinarian Office Condominium
Clarified that the limit of insurance includes any       Commercial Unit-0wners Property Coveragg
applicable "Business Income", "Rental Value" and         Enhancement - FCP 236
Extra Expense.(Clarification)
                                                         Added FM 101 business personal property chang-
CinciPakT"' Veterinarian Office Business In-             es to cover business personal property in a porta-
come (And Extra Expense) Amendatory En-                  ble storage unit.(Broadening)
dorsement With Utility Services Enhancement —
FCP 234                                                  CinciPakT"" Veterinarian Office Business In-
                                                         come (And Extra Expense] Amendatory En-
    Utility Services                                     dorsement - FCP 237
Communication Supply Property includes service               Utility Services
relating to Internet access or access to electronic,
cellular, or satellite networks.(Broadening)             Communication Supply Property includes service
                                                         relating to Internet access or access to electronic,
The overhead transmission and distribution lines         cellular, or satellite networks.(Broadening)
reference has been clarified to apply to overhead
lines of any type.(Clarification)                        The overhead transmission and distribution lines
                                                         reference has been clarified to apply to overhead
Wastewater/Sewage treatment facilities are being         lines of any type.(Clarification)
added as a utility service for Business Income only.
However, coverage does not apply if the                  Wastewater/Sewage treatment facilities are being
wastewater removal facility is overwhelmed itself        added as a utility service for Business Income only.
with heavy rainfall or flooding. That falls under any    However, coverage does not apply if the
Flood coverage, not Utility Services.(Broadening)        wastewater removal facility is overwhelmed itself
                                                         with heavy rainfall or flooding. That falls under any
CinciPlusO CinciPakT"' CinciPak Veterinarian             Flood coverage, not Utility Services.(Broadening)
Office Property XC+(Expanded Coverage Plus
Endorsement -FCP 235                                     CinciPakT"' MedicallDental Office Business In-
                                                         come (And Extra Expense) Amendatory En-
•   Accounts Receivable                                  dorsement - FCP 402
Clarified that the Accounts Receivable Away From         •   Utility Services
Your Premises limit of insurance 9s not included
within the Blanket Basket Endorsement and is a           Communication Supply Property includes service
separate limit of insurance.(Clarification)              relating to Internet access or access to electronic,
                                                         cellular, or satellite networks.(Broadening)
•   Electronic Data Processing Property
                                                         The overhead transmission and distribution lines
Newly Acquired Electronic Data Processing Prop-          reference has been clarified to apply to overhead
eriy is renamed Newly Purchased Electronic Data          lines of any type. (Clarification)
Processing Property.(Clarification)
                                                         Wastewater/Sewage treatment facilities are being
•   Ordinance or Law                                     added as a utility service for Business Income only.
                                                         However, coverage does not apply if the
This item is rewritten for clarification due to refor-   wastewater removal facility is overwhelmed itself
matting of the FM 101 Ordinance or Law Cover-
                                                         with heavy rainfall or flooding. That falls under any
age.(Clarification)                                      Flood coverage, not Utility Services.(Broadening)
•   Valuable Papers and Records
Clarified that the Valuable Papers and Records
Away From Your Premises limit of insurance is not



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                          CinciPlus°
                           CinciPakT~
            PROPERTY XC+°(EXPANDED COVERAGE PLUS)
                        ENDORSEMENT
                                SUMMARY OF COVERAGE LIMITS

This is a summary of the Coveragest and the Limits of Insurance provided by the CinciPlus" CinciPak'~~
Property XC+~ (Expanded Coverage Plus) Endorsement, FCP 204, in combination with the Commercial
Property Coverage Form, FM 101, which are included in this policy. No coverage is provided by this
summary. Refer to endorsement FCP 204 and the Commercial Property Coverage Form, FM 101 to
determine the scope of your insurance protection.


           Blanket Coverages:                            Blanket Coverage Limit:                       Page
                                                                                                        No.
                                                  $ 150,000          in total for all loss arising    FCP204
                                                  from all Blanket Coverages arising from a
                                                  single occurrence, except as noted otherwise
                                                  in the form.
Accounts Receivable                                                                                      1
Debris Removal                                                                                           6
Electronic Data Processing Property (EDP):                                                               2
  Duplicate and Backup Electronic Data                                                                   2
  Newly Purchased EDP                                                                                    2
  In Transit or Away From Premises                                                                       3
  Worldwide La top Covera e                                                                              3
Ordinance or Law (Increased        Construction                                                          4
Costs and Demolition)
Peak Season                                                                                              6
Personal Property of Others                                                                              6
Tenant Move Back Expenses                                                                                6
Valuable Papers and Records                                                                              4



            Other Coverages                                  Limit of Insurance:                       Page
    knot subject to Blanket Coverage Limit):                                                            No.
                                                                                                      FCP204
Brands and Labels                                 $25,000                                                9
Business Income and Extra Expense:
  Interruption of Computer Operations             $25,000 (sub-limit, subject to a 24 hour               1
                                                  deductible)




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             Other Coverages                                Limit of Insurance:                     Page
                                                                                                     No.
   (not subject to Blanket Coverage Limit):
                                                                                                   FCP204
Inflation Guard                                   4% on all Building Property referenced in the       8
                                                  Declarations
Lessor's Leasehold Interest                       Actual loss sustained u to $25,000                  9
Nonowned Buildin Damage:                                                                              8
    Loss caused by theft, burglary or robbery     Up to the Business Personal Property (BPP)          8
                                                  Limit of Insurance
    Loss by any other Covered Cause of Loss       $25,000 or the BPP Limit of Insurance               8
                                                   whichever is less
Ordinance or Law (other than          Increased   Subject to the Building Limit of Insurance          4
Construction Costs and Demolition)
Ordinance or Law - Increased         Period of    $50,000                                             10
Restoration
Outdoor Property                                  $25,000 ($1,000 for any one tree, shrub or          5
                                                  plant)
Tem erature Chan e                                $5,000                                              6
U nauthorized Business Card Use                   $5,000                                              9
Water Backup Discharged from Sewers, Drains, $10,000                                                  5
Septic or Sump Pump Systems




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CinciPakT"'
     COMMERCIAL PROPERTY AMENDATORY ENDORSEMENT
This endorsement modifies insurance provided under the following:


     COMMERCIAL PROPERTY COVERAGE PART

1.   SECTION A. COVERAGE, Paragraph 2.                          A    The following Additional Coverages are
     Property Not Covered is amended as follows;                     amended as follows:
     Subparagraphs f., g., i., j., k., m. and n. are                 1. The Limit of Insurance referenced in
     deleted in their entirety.                                         Subparagraph (4) of b. Debris Re-
                                                                        moval is amended to $25,000.
II. SECTION A. COVERAGE, Paragraph 3. Cov-
    ered Causes of Loss, b. Exclusions, (4)                          2. The Limit of Insurance referenced in
    Special Exclusions is amended as follows:                           c. Fire Department Service Charge
                                                                        is amended to $25,000.
     Special Exclusions (a) and (b) are deleted in
     their entirety.                                                 3. Fire Protection Equipment Re-
                                                                        charge - Actual Expenses Incurred
I11. SECTION A. COVERAGE, Paragraph 3. Cov-
     ered Causes of Loss, c. Limitations is                              For this endorsement only, the last
     amended as follows:                                                 paragraph in BUILDING AND PER-
                                                                         SONAL PROPERTY COVERAGE
     A   Subparagraph (1) Limitations -Various
                                                                         FORM,SECTION A. COVERAGE,4.
         Types of Property is amended as fol-
                                                                         Additional Coverages, d. Fire Pro-
         lows:
                                                                         tection Equipment Recharge is de-
         1. Limitation (c) Building Interiors is                         leted in its entirety and replaced by
            deleted in its entirety and replaced by                      the following:
            the following:                                               The most we will pay in any one oc-
             (c) Building Interiors                                      currence under this Additional Cover-
                                                                         age is the reasonable and necessary
                  The interior of any building or                        expenses you incur to recharge your
                  structure caused by or resulting                       automatic fire suppression system or
                  from rain, snow, sleet, ice, sand                      portable fire e~inguishers. This cov-
                  or dust, whether driven by wind                        erage is in addition to the Limits of
                  or not, unless:                                        Insurance shown in the Declarations.
                  1) The building or structure                       4. g. Ordinance or Law is amended as
                     first sustains damage by a                         follows:
                     Covered Cause of Loss to
                     its roof or walls through                           a. The Limit of Insurance refer-
                     which the rain, snow, sleet,                           enced in the last paragraph is
                     ice, sand or dust enters; or                           amended to $25,000; and

                  2) The "loss" is caused by or                          b. Paragraph (1) is amended to in-
                     results from thawing of                                clude the following:
                     snow, sleet or ice on the
                                                                             (d) Cost to Repair, Rebuild or
                     building or structure.
                                                                                 Reconstruct Tenants Im-
         2. Limitation (d) Theft of Building Ma-                                 provements and Better-
            terials is deleted in its entirety.                                  ments
     B. Subparagraph (3) Limitation -Personal                                     The increased cost to re-
        Property Theft, item (d) is deleted in its                                pair, rebuild or reconstruct
        entirety.                                                                 tenant's improvements and
                                                                                  betterments, as described in
IV. SECTION A. COVERAGE, Paragraph 4. Ad-                                         SECTION A COVERAGE;
    ditional Coverages is amended as follows:                                     1. Covered Property, d.

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                    Business Personal Prop-                           of direct physical damage caused by
                    erty, Subparagraph (6),                           or resulting from a Covered Cause of
                    caused by enforcement of                          Loss to building property you occupy
                    building, zoning or land use                      as agreed to in your written lease
                    ordinance or law.                                 agreement.
       5. The Limit of Insurance referenced in                        The most we will pay for "loss" in any
          h.Pollutant Clean Up and Removal                            one occurrence under this Additional
          is amended to $25,000.                                      Coverage is $2,500.
       6. The number of days referenced in                        4. Temporary Relocation of Property
          Subparagraph (2) of i. Preservation
          of Property is amended to 90.                               (1) If Covered Property is removed
                                                                          from the "premises" and stored
   B. The following Additional Coverages are                              temporarily at a location you
      added:                                                              own, lease or operate while the
                                                                          "premises" is being renovated or
       1. Peak Season Limit Increase                                      remodeled, we will pay for direct
           a. The Limit of Insurance for Busi-                            "loss" of that stored property:
              ness Personal Property will au-
                                                                          (a) Caused by or resulting from
              tomatically increase by 25% to
                                                                              a Covered Cause of Loss;
              provide for seasonal variations.
                                                                          (b) Up to $50,000 at each tem-
           b. This increase will apply only if                                porary location in any one
              the Limit of Insurance shown for
                                                                              occurrence; and
              Business Personal Property in
              the Declarations is at least 100%                           (C) During the storage period of
              of your average monthly values                                  up to 90 consecutive days
              during the lesser of:                                           but not beyond the expira-
                                                                              tion of this policy.
                (1) The 12 months immediately
                    preceding the date the                           (2) This Additional Coverage does
                   'loss" occurs; or                                     not apply if the stored property is
                                                                         more specifically insured.
                (2) The period of time you have
                    been in business as of the           V. SECTION A. COVERAGE, Paragraph 5. Cov-
                    date the "loss" occurs.                 erage Extensions is amended as follows:
       2. Leasehold Improvements                             A. The following Coverage Extensions are
                                                                amended as follows:
           If your lease is cancelled in accord-
           ance with a valid lease provision as                   1. Coverage Extension a. Accounts
           the direct result of a Covered Cause                      Receivable is amended as follows:
           of Loss to property at the location in
           which you are a tenant, and you can-                       a. The Limit of Insurance refer-
           not legally remove Tenant Improve-                            enced in Subparagraph (3)(b)
           ments and Betterments, as described                           Away From Your Premises is
           in SECTION A. COVERAGE; 1.                                    amended to $25,000; and
           Covered Property, d. Business
                                                                      b. The last Paragraph is deleted in
          Personal Property, Subparagraph                                its entirety and replaced by the
          (6)> we will extend Business Personal                          following:
           Property coverage to apply to the
           unamortized value of Tenant Im-                                 The most we will pay for "loss" in
           provement and Betterment that re-                               any one occurrence under this
           main and that you were forced to                                Coverage E~ension is $50,000.
           abandon.
                                                                  2. Coverage Extension b. Business In-
           The most we will pay for "loss" in any                    come and Extra Expense is
           one occurrence under this Additional                      amended to include the following:
           Coverage is $25,000.
                                                                      (9) Business Income From Depend-
       3. Lease Assessment                                                ent Properties
           Your Business Personal Property is                             (a) We will pay for the actual
           extended to apply to your share of                                 loss of "Business Income"
           any assessment charged to all ten-                                 you sustain due to the nec-
           ants by the building owner as a result                             essary "suspension" of your

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                     "operations" during the "pe-                                1) Deliver materials or
                     rind of restoration". The                                      services to you, or to
                     "suspension"     must     be                                   others for your account
                     caused by direct "loss" to                                     (Contributing      Loca-
                     "dependent         property"                                   tions). But, any property
                     caused by or resulting from                                    which delivers the foi-
                     any Covered Cause of Loss.                                     lowing services is not a
                                                                                    Contributing    Location
                     However, this Coverage Ex-
                                                                                    with respect to such
                     tension does not applywhen
                                                                                    services:
                     the only "loss" to "depend-
                     ent property' is "loss" to                                      a) Water supply ser-
                     "electronic data", including                                       vices;
                     destruction or corruption of
                    "electronic data". if the "de-                                   b) Power supply ser-
                     pendent property' sustains                                         vices;
                    '9oss" to "electronic data"
                                                                                     c) Communication
                     and other property, cover-
                                                                                        supply     services,
                     age under this Coverage
                                                                                        including services
                     Extension will not continue
                                                                                        relating to intemet
                     once the other property is                                         access or access
                     repaired, rebuilt or replaced.
                                                                                        to any electronic
                     The rr~ost we will pay for                                         network;
                    '9oss" in any one occurrence
                                                                                 2) Accept yr~ur products or
                     for each "dependent proper-
                                                                                    services;
                     ty' location is $10,000. This
                    $10,000 of coverage for                                      3) Manufacture products
                     Business Income From De-                                       for delivery to your cus-
                     pendent Properties does not                                    tourers under contract
                     increase the Limit of Insur-                                   for sale; or
                     ance provided in this Cover-
                     age Extension.                                             4) Attract customers        to
                                                                                   your business.
                (b) We will reduce the amount
                    of your "Business Income"                                    The "dependent property'
                    loss, other than Extra Ex-                                   must be located in the cov-
                    pense, to the extent yc~u can                                erage territory of this Cover-
                    resume "operations", in                                      age Part.
                    whole or in part, by using                              (e) in BUILDING AND PER-
                    any other available:
                                                                                SONAL PROPERTY COV-
                     1) Source of materials; or                                 ERAGE FORM, SECTION
                                                                                G. DEFINITIONS, the "Peri-
                     2) Outlet for your prod-                                   od of restoration" Definition,
                        ucts.                                                   with respect to "dependent
                                                                                property', is replaced by the
                (c) If you do not resume "opera-                                following:
                    tions", or do not resume
                    "operations" as quickly as                                  "Period  of   restoration"
                     possible, we will pay based                                means the period of time
                    on the length of time it                                    that:
                    would have taken to resume
                    "operations" as quickly as                                  1) Begins twenty-four (24)
                     possible.                                                     hours after the time of
                                                                                   direct "loss" caused by
                (d) BUILDING AND PERSON-                                           or resulting from any
                    AL PROPERTY COVER-                                             Covered Cause of Loss
                    AGE FORM, SECTION G,                                           at the premises of the
                    DEFINITIONS is amended                                         "dependent property';
                    to include the following deft-                                 and
                    nition:
                                                                                2) Ends on the date when
                    "Dependent         property"                                   the property at the
                     means property operated by                                    premises of the "de-
                    others whom you depend on                                      pendent       property'
                    to:                                                            should be repaired, re-
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                         built or replaced with                                (including their lead-in wir-
                         reasonable speed and                                  ing, masts and towers); and
                         similar quality.
                                                                           (2) Trees, shrubs or plants
                    "Period of restoration" does                              (other than trees, shrubs or
                    not include any increased                                  plants which are "stock" or
                    period required due to the                                 part of a vegetafive roof),
                    enforcement of any ordi-                                   including debris removal;
                    nance or law that:
                                                                           but only if caused by or resulting
                    1) Regulates the construc-                             from any of the following causes
                       tion, use or repair, or                             of loss if they are included as
                       requires the tearing                                Covered Causes of Loss under
                       down of any property;                               this Coverage Part:
                       or
                                                                               (a) Fire;
                    2) Requires any insured or
                       others to test for, moni-                               (b) Lightning;
                       tor, clean up, remove,                                  (c) Explosion;
                       contain, treat, detoxify
                       or neutralize, or in any                                (d) Riot or Civil Commo-
                       way respond to, or as-                                      tion;
                       sess the effects of "pol-
                       lutants".                                               (e) Aircraft;

                    The expiration date of this                                (f~ Falling objects;
                    Coverage Part will not cut                                 (g) Theft; or
                    short the "period of restora-
                    tion".                                                     (h) Vehicle; and
       3. The Limit of Insurance referenced in                             (3j Awnings that are attached to
          f. Fences is amended to $10,000.                                     a building that you occupy
                                                                               as a tenant.
       4. The Limit of Insurance referenced in
          h. Glass Subparagraph (2) is                                     We will pay for the debris re-
          amended to $25,000                                               moval expenses of the above
                                                                           type property that are not your
       5. In Coverage Extension, i. Newly                                  Covered Property if such debris
           Purchased, Leased, or Construct-                                is on your "premises" due to the
          ed Property, Paragraphs (3)(b),                                  Covered Causes of Loss de-
          (3)(c) and (3)(d) the number 90 is de-                           sa-ibed in this Coverage Exten-
           leted and replaced by the number                                sion. If you are a tenant, we do
           180.                                                            not pay debris removal expenses
       6. The last paragraph of j. Nonowned                                for trees, plants, or shrubs
          Building Damage is deleted in its                                owned by the landlord or owner
          entirety and replaced by the following:                          of the building you occupy.

           The most we will pay for "loss" in any                          No other coverage for debris
           one occurrence under this Coverage                              removal expenses provided in
           Extension is your Business Personal                             this Coverage Part applies to this
           Property Limit of Insurance for the                             Outdoor Property Coverage Ex-
           "premises" where the 'loss" occurs.                             tension.

       7. Coverage Extension k. Outdoor                                    The most we will pay for "loss" in
          Property is deleted in its entirety and                          any one occurrence under the
          replaced by the following:                                       Coverage Extension is $10,000,
                                                                           but not more than $1,000 for any
           k. Outdoor Property                                             one tree, shrub or plant.
                We will pay for direct "loss"                     8. SECTION A, COVERAGE 5. Cover-
                caused by a Covered Cause of                         age Extensions I. Personal Effects
                Loss to the following types of                       is deleted in its entirety and replaced
                your Covered Property:                               by the following:
               (1) Radio antennas, television                         I.   Personal Effects
                   antennas or satellite dishes
                                                                           If business personal property is
                                                                           Covered Property in this Cover-
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                age Part, we will pay for direct                              (2) Carports;
                "loss" caused by a Covered
                Cause of Loss to personal ef-                                 (3) Garages;
                fects owned by:
                                                                              (4) Pump houses; or
                (1) You, your officers, or your
                                                                              (5) Above ground tanks;
                    partners, or if you area lim-
                    ited liability company, your                               which have not been specifically
                    members or your managers;                                  described in the Dedarations.
                    or
                                                                          d. The most we will pay for "loss" in
                (2) Your employees (including                                any one occurrence under this
                    temporary and leased em-                                 Coverage Extension for any
                    ployees), inducting tools                                combination of "loss" to Building
                    owned by your employees                                  and Business Personal Property
                    that are used in your busi-                              is $50,000, regardless of the
                    ness.                                                    number of "premises" involved.
                 This Coverage Extension does                        2. Fine Arts
                 not apply to "money' or "securi-
                 ties".                                                  For the purposes of this endorsement
                                                                         only:
                 The most we will pay for "loss" in
                 any one occurrence under this                           a. You may extend the insurance
                 Coverage Extension is $25,000.                             provided by this Coverage Part
                                                                            to apply to paintings, etchings,
       9. The Limit of Insurance referenced in                              pictures, tapestries, art glass
          n, Signs is amended to $10,000.                                   windows, and other bona fide
                                                                            works of art of rarity, historical
       10. The Limit of Insurance referenced in
                                                                            value, or artistic merit. The direct
           r. Valuable Papers and Records
                                                                            "loss" must be caused by or re-
           Subparagraph (4)(b) Away From
                                                                            sult from a Covered Cause of
           Your Premises is amended to
                                                                            Loss.
           $25,000.
   B. The following Coverage Extensions are                               b. SECTION D. LOSS CONDI-
      added:                                                                 TIONS, 7. Valuation is deleted
                                                                             in its entirety and replaced by the
       1. Appurtenant Buildings and Struc-                                   following:
          tures
                                                                              We will determine the value of
           a.   When a Limit of Insurance is                                  Covered Property in the event of
                shown in the Declarations for                                 "loss" at the market value at the
                Building at the "premises", you                               time of direct "loss".
                may extend that insurance to
                                                                         c. The most we will pay for 'loss" in
                apply to direct "loss" of incidental
                                                                            any one occurrence under this
                appurtenant buildings or struc-
                                                                            Coverage Extension is $25,000.
                tures, within 1,000 feet of that
                "premises", caused by or result-                    3. Ordinance or Law -Increased Pe-
                ing from a Covered Cause of                            riod of Restoration
                Loss.
                                                                         a.   When:
           b. When a Limit of Insurance is
              shown in the Declarations for                                   (1) A Covered Cause of Loss
              Business Personal Property at                                       occurs to property at the
              the "premises", yvu may extend                                      "premises"; and
              that insurance to apply to direct
                                                                              (2) The Declarations show that
              "loss" of Business Personal
                                                                                  you have coverage for Busi-
              Property within incidental appur-
              tenant buildings or structures                                      ness Income and Extra Ex-
                                                                                  pense;
              within 1,000 feet of that "premis-
              es", caused by or resulting from                                you may extend that insurance to
              a Covered Cause of Loss.                                        apply to the amount of actual
                                                                              loss of "Business Income" you
           c. Incidental appurtenant buildings
                                                                              sustain and reasonable Ezra
              or structures include:
                                                                              Expense you incur during the in-
                (1) Storage buildings;                                        creased period of "suspension"

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                of "operations" ca~ised by or re-                         (1) Loss due to an ordinance or
                sulting from the enforcement of                               law that:
                any ordinance or law that:
                                                                               (a) You were required to
                (1) Regulates the construction,                                    comply with before the
                    repair or replacement of any                                   "loss", even if the prop-
                    property;                                                      erty was undamaged;
                                                                                   and
                (2) Requires the tearing down
                    or replacement of any parts                                (b) You failed to comply
                    of property not damaged by                                     with; or
                    a Covered Cause of Loss;
                    and                                                   (2) Costs associated with the
                                                                              enforcement of any ordi-
                (3) Is in force at the time of                                nance or law that requires
                   '9oss".                                                    any insured or others to test
                                                                              for, monitor, dean up, re-
           b. This Coverage Extension applies
                                                                              move, contain, treat, detoxi-
              only to the period that would be
                                                                              fy or neutralize, or in any
              required, with reasonable speed,
                                                                              way respond to, or assess
              to reconstruct, repair or replace
                                                                              the effects of "pollutants".
              the property to comply with the
              minimum requirements of the                             d. The most we will pay for "loss"
              ordinance or law.                                          under this Coverage Extension
                                                                         in any one occurrence is
           c. This Coverage Extension does
                                                                         $25,000 at each "premises".
              not apply to:




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 CinciPakT""
     BUSINESS INCOME(AND EXTRA EXPENSE)AMENDATORY
                     ENDORSEMENT
This endorsement modifies insurance provided under the following:


     B USINESS INCOME (AiVD EXTRA EXPENSE)COVERAGE PART


1.    For the purpose of this endorsement only,                                (e) Transmission, distribution, ser-
     SECTION A. COVERAGE, Paragraph 5. Ad-                                         vice or similar lines, excluding all
     ditional Coverages of the Business Income                                     such overhead lines of any type.
     (and Extra Expense) Coverage Part is amend-
     ed to include the following:                                         (3) Water Supply Property, meaning the
                                                                              following types of property supplying
     f.    Utility Services                                                   water to the "premises":
          We will pay for loss of"Business Income",                            (a) Pumping Stations; and
          "Rental Value" and extra Expense yr~u in-
          cur caused by or resulting from the partial                         (b) Water mains.
          or complete failure of utility services to the
                                                                          (4) Wastewater removal Property, mean-
          "premises". The partial or complete failure
                                                                              ing a utility system for removing
          of the utility services listed below must be
                                                                              wastewater and sewage from the
          caused by direct "loss" caused by a Cov-
                                                                              "premises", other than a system de-
          ered Cause of Loss to the following prop-
                                                                              signed primarily for draining storm
          erty:
                                                                              water. The utility property includes
          (1) Communications Supply Property,                                 sewer mains, pumping stations and
              meaning property supplying commu-                               similar equipment for moving the ef-
              nication services, including service                            fluent to a holding, treatment or dis-
              relating to Internet access or access                           posal facility, and includes such facili-
              to any electronic, cellular, or satellite                       ties. Coverage under this Additional
              network; telephone, radio, micro-                               Coverage does not apply to interrup-
              wave, or television services to the                             tion in service caused by or resulting
              "premises", such as:                                            from a discharge of water or sewage
                                                                              due to heavy rainfall or flooding.
              (a) Communication        transmission,
                  distribution, service, or similar                       This Additional Coverage does not apply
                  lines, including fiber optic lines,                     to "loss" to "electronic data" including de-
                  excluding all such overhead lines                       struction or corruption of "electronic data".
                  of any type;
                                                               II.   SECTION F. DEFINITIONS of the Business
              (b) Coaxial cables; and                                Income (and Extra Expense) Coverage Part is
                                                                     amended as follows:
              (c) Microwave radio relays, exclud-
                  ing satellites.                                    With respect to a "suspension" of "operafions"
                                                                     insured under SECTION A. COVERAGE, Par-
          (2) Power Supply Property, meaning the                     agraph 5. Additional Coverages, f. Utility
              following types of property supplying                  Services of the Business Income (and Extra
              electricity, steam or natural gas to the               Expense) Coverage Part, Paragraph a. of Def-
              "premises":                                            inition 9. "Period of restoration" is deleted and
                                                                     replaced by the following:
              (a) Utility generating plants;
                                                                     a.   Begins 24 hours after the time of direct
              (b) Switching stations;                                     "loss".
              (c) Substations;
              (d) Transformers; and


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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CinciPakT"'
              ACTUAIs LOSS SUSTAINED BUSINESS INCOME
                           ENDORSEMENT
This endorsement modifies irisuranoe provided under the following:


    COMMERCIAL PROPERTY COVERAGE PART

A   This endorsement applies to the following                 (iii) 12 consecutive months after the date of
    Coverage Forms:                                                 direct "loss".
    BUSINESS INCOME (AND             EXTRA     EX-        D. For the purposes of this endorsement only,
    PENSE)COVERAGE FORM                                      SECTION F. DEFINITIONS, 9,, b. is deleted in
                                                             its entirety and replaced by the following:
    BUSINESS INCOME ('WITHOUT EXTRA EX-
    PENSE)COVERAGE FORM                                        b. Ends on the earlier of:
B, For the purposes of this endorsement only,                        (1) The date when the property at the
   SECTION A. COVERAGE, 5. Additional                                    "premises" should be repaired, rebuilt
   Coverages, c. Extended Business Income,                               or replaced with reasonable speed
  (1), (b), (ii) is deleted in its entirety and re-                      and similar quality;
   placed by the following, and (iii) is added:
                                                                     (2) The date when business is resumed
    (ii) 90 consecutive days after the date deter-                       at a new permanent location; or
         mined in c.(1)(a) above; or
                                                                     (3) 12 consecutive months after the date
    (iii) 12 consecutive months after the date of                        of direct "loss".
          direct "loss".
                                                          E. When 12 months ALS (an acronym of Actual
C. For the purposes of this endorsement only,                Loss Sustained) is shown in the Declarations
   SECTION A. COVERAGE, 5. Additional                        as the Limit of Insurance for Business Income
   Coverages, c. Extended Business Income,                   for a speafic item, SECTION B. LIMITS OF
   (2), (b), (ii) is deleted in its entirety and re-         INSURANCE is deleted in its entirety for that
    placed bythe following, and (iii) is added:              item.
    (ii) 90 consecutive days after the date deter-
         mined in c.(2)(a) above; or




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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          CinciPlus°
                           CinciPakT~
            PROPERTY XC+°(EXPANDED COVERAGE PLUS)
                        ENDORSEMENT
This endorsement modifies insurance provided under the following:

    BUSINESS INCOME(AND EXTRA EXPENSE)COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART

The insurance coverage and Limits of Insurance provided by this endorsement are excess of, and ap-
ply in addition to, any similar or identical coverage provided by any other endorsement attached to the
above referenced Coverage Parts, or by any other Coverage Part fiorming a part of the policy of insur-
ance of which the above referenced Coverage Parts form a component.


                                                 SCHEDULE

                        Blanket Coverage Limit         The Limit of Insurance stated in
                                                       the Summary of Coverage Limits
                        Applicable only to those coverages subject to the Blanket Cover-
                        age Limit, as indicated in this endorsement

A. Accounts Receivable                                      B. Business Income and Extra Expense
    For the purposes of this endorsement only:                  Interruption of Computer Operations
        In BUILDING AND PERSONAL PROP-                          For the purposes of this endorsement only, in
        ERTY COVERAGE FORM, SECTION A.                          BUILDING AND PERSONAL PROPERTY
        COVERAGE, 5. Coverage Extensions,                       COVERAGE FORM, SECTION A COVER-
        a. Accounts Receivable, the second                      AGE,5. Coverage Extensions, b. Business
        paragraph in (3)(b) Away From Your                      Income and Extra Expense, is modified as
        Premises is deleted in its entirety and                 follows:
        replaced by the following:
                                                                     For Interruption of Computer Opera-
        This limit of insurance for Away From                        tions only, all references to $2,500 in b.
        Your Premises coverage is not induded                        Business Income and Extra Expense,
        within the Blanket Coverage Limit and is                     Paragraph (7)(c) are deleted and re-
        separate and in addition to the Blanket                      placed with the Limit of Insurance indi-
        Coverage Limit.                                              cated in the PROPERTY XC+° (EX-
                                                                     PANDED COVERAGE PLUS) EN-
    2. In BUILDING AND PERSONAL PROP-
                                                                     DORSEMENT SUMMARY OF COVER-
       ERTY COVERAGE FORM,SECTION A.
                                                                     AGE LIMITS for Interruption of Comput-
       COVERAGE, 5. Coverage Extensions,                             er Operations.
       a. Accounts Receivable, the last para-
       graph is deleted in its entirety and re-                 2.   BUILDING AND PERSONAL PROPER-
       placed by the following:                                      TY COVERAGE FORM, SECTION G.
       The most we will pay for "loss" in any one                    DEFINITIONS is amended as follows:
       occurrence under this Account Receiva-                        With respect to a "suspension" of "op-
       ble Coverage Extension is the Blanket                         erations" caused only by an interruption
       Coverage Limit as provided in Section S.                      in computer operations due to the de-
       of this endorsement.                                          struction or corruption of "electronic da-
                                                                     ta" as described in SECTION A. COV-
                                                                     ERAGE, 5. Coverage Extensions, d.
                                                                     Electronic Data, Paragraph a. of Defini-
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        tion 12. "Period of restoration" is deleted                   (c) Your property that you have rented
        and replaced by the following:                                    or leased to someone else and that
                                                                          property is not at your "premises".
        a. Begins 24 hours after the time of di-
           rect "loss".                                               (d) Any machine or apparatus that is
                                                                          used for research, medical, diag-
C. Electronic Data Processing Property
                                                                          nostic, surgical, dental or pathologi-
    For the purposes of this endorsement only,                            cal purposes.
    BUILDING AND PERSONAL PROPERTY
                                                                      (e) "Production equipment'.
    COVERAGE FORM, SECTION A COVER-
    AGE, 5. Coverage Extensions is amended                       (3) Exclusions
    by adding the following:
                                                                      (a) BUILDING     AND      PERSONAL
    Electronic Data Processina Propert                                    PROPERTY COVERAGE FORM,
                                                                          SECTION A. COVERAGE, 3. Cov-
   (1) Covered Property
                                                                          ered Causes of Loss, b. Exclu-
       You may extend the Coverage provided                               sions does not apply except as fol-
       by this Coverage Part to apply to direct                           lows:
       "loss" to Covered Property consisting of
                                                                            1) Exdusion (1)(c) Governmental
       your:
                                                                               Action;
       (a) Data processing equiprnent;
                                                                            2) Exdusion (1)(d) Nuclear Haz-
       (b) Air conditioning and other electrical                               ard;
           equipment, used exclusively with
                                                                            3) Exdusion (1)(fi~ War and Mili-
           your data processing equipment;
                                                                               tary Action;
       (c) Programming documentation and
                                                                            4) Exdusion (2j(b) Delay or Loss
           instruction manuals;
                                                                               of Use;
       (d) "Electronic data", but only as excess
                                                                            5) Exdusion (2)(d) Miscellane-
           over what is valid and collectible un-
           der SECTION Q COVERAGE, 5.                                          ous Causes of Loss, 1) wear
                                                                               and tear;
           Coverage Extensions, d. Elec-
           tronic Data;                                                     6) Exdusion (2)(h) Dishonest or
                                                                               Criminal Acts;
       (e) Media, meaning materials on which
           "electronic data" is recorded, such                              7) Exdusion (3)(b) Acts or Deci-
           as magnetic tapes, disc packs, pa-                                  sions; and
           per tapes and cards, floppy discs
           and compact discs used in pro-                                   8) Exclusion (3)(c) Defects, Er-
           cessing units; and                                                  rors and Omissions.
       (f) Property of others in your care, cus-                      (b) In addition to Paragraph (3)(a) of
           tody or control that is similar to                             this Coverage Extension, we will
           property described in (1)(a) through                           not payforthe following:
          (e)above_
                                                                            Hidden or latent defect, gradual de-
   (2) Property Not Covered                                                 terioration, and depreciation. How-
                                                                            ever, if direct "loss" by a Covered
       This Coverage Extension does not apply                               Cause of Loss results, we will pay
       to:                                                                  for that resulting "loss".
       (a) Accounts, records, documents and                      (4) Duplicate and Backup "Electronic Da-
           other 'Valuable papers and records"                       ta"
           unless they are programming doc-
           umentation or instruction manuals.                          We will pay for direct "loss" resulting
                                                                       from any of the Covered Causes of Loss
            However, we will cover these items                         to duplicate and backup "electronic data"
            once they are converted to "elec-                          that you store at a premises not de-
            tronicdata"form.                                           sa-ibed in the Declarations providing
                                                                       such "electronic data" is not covered by
       (b) "Electronic data" or media that can-
                                                                       another policy.
           not be replaced with similar property
           of equal quality.




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   (5) Newly Purchased Electronic           Data                 (7) Worldwide Laptop Coverage
       Processing Property
                                                                      (a) You may extend the insurance pro-
       BUILDING AND PERSONAL PROPER-                                      vided by this Coverage Extension to
       TY COVERAGE FARM, SECTION A,                                       apply to your laptops, notebooks
       COVERAGE, 5. Coverage Extensions,                                  and similar highly portable personal
       i. Newly Purchased, Leased, or Con-                                computers, including their periph-
       structed Property is deleted in its en-                            erals and accessories, while such
       tirety and replaced by the following:                              specific Covered Property is:
       (a) We will pay for direct "loss" from a                            1) In your or your employee's
           Covered Cause of Loss to newly                                     care, custody and control;
           purchased or leased Covered Prop-
           erty described in Paragraph (1) of                              2) Not located at a premises you
           this Coverage Extension while at:                                  own or lease; and

            1) Locations that are newly pur-                               3) Not located in the coverage ter-
               chased or leased;                                              ritory stated in Paragraph 2. of
                                                                              the Commercial Property Con-
            2) Your newly constructed build-                                  dition H. Policy Period, Cov-
               ings or additions at a "premis-                                erage Territory, provided that
               es"; or                                                        location is not under a United
                                                                              States Department of State
           3) Any "premises" described in the
                                                                              trade or travel restriction at the
              Declarations.
                                                                              time of "loss".
      (b) Insurance under this Coverage Ex-                           (p~ This Worldwide Laptop Coverage
          tension for such newly acquired
                                                                          does not apply per location.
          property, or Covered Property al-
          ready insured by this Coverage Ex-                     (8) Electronic Data Processing Property
          tension which is moved to a newly                          Deductible
          acquired location, will end when any
          of the following first occurs:                              SECTION C. DEDUCTIBLE is amended
                                                                      to include the following:
            1) This Coverage Part expires;
                                                                      We will not pay for direct "loss" in any
           2) 90 days pass from the date you                          one occurrence unless the amount of
              acquire your new property or                            "loss" exceeds the Deductible shown in
              move Covered Property to a                              the Declarations. We will then pay the
              newly acquired location; or                             amount of "loss" in excess of the De-
                                                                      ductible, up to the Limit of Insurance
           3j   You report values to us.
                                                                      provided by this Coverage Extension.
   (6) In Transit or Away From Premises
                                                                      However, direct "loss" caused by or re-
       SECTION A. COVERAGE,5. Coverage                                sulting from any of the following Causes
       Extensions, e. Exhibitions, Fairs or                           of Loss will have the greater of the De-
       Trade Shows, m. Property Off Prem-                             ductible shown in the Declarations or
       ises and p. Transportation are deleted                         $1, 00 as the applicable deductible:
       in their entirety and replaced by the fol-
                                                                      a. "Loss" caused by faulty construction,
       lowing:
                                                                         error in design or processing, or ser-
      (a) You may extend the insurance pro-                              vire or work upon the data pro-
          vided by this Coverage Extension to                            cessing system;
          apply to Covered Property as de-
                                                                      b. "Loss" resulting in mechanical
          scribed in Paragraph (1):
                                                                         breakdown, short circuiting, blowout,
           1) While it or on a vehicle, includ-                          or other electrical damage, unless
              ing loading and unloading; or                              caused by lightning; or

           2) While at a location that is not                         c. "Loss" caused by or resulting from
              your "premises".                                           interruption of power supply, power
                                                                         surge, blackout or brownout.
      (b) This In Transit or Away From
          Premises coverage does not apply                      (9) Electronic Data Processing Property
          per location.                                             Valu2~tion
                                                                      SECTION D. LOSS CONDITIONS, 7.
                                                                      Valuation is deleted in its entirety and
                                                                      replaced by the following:
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       7.   Valuation of Electronic Data Pro-                                        determined at the time of
            cessing Property                                                        '9oss".
             In the event of direct "loss", we will                         b. For "electronic data"
             determine the value of Covered
            Property as described in Paragraph                                  We will not pay more than the
            (1) of this Coverage Extension as                                   actual reproduction costs of
            follows:                                                            yr~ur "electronic data". If you do
                                                                                not replace or reproduce your
            F~    Except for "electronic data"                                  "electronic data" following the
                                                                                "loss", the most we will pay is
                 (1) if yvu repair or replace this                              the cost of blank media as de-
                     Electronic Data Processing
                                                                                scribed in Paragraph C.(1)(e) of
                     property within a reasona-
                                                                                this Coverage Extension.
                     ble time following the
                     "loss", the property will be                (10)Electronic Data Processing Property
                     valued at the full cost of                      Additional Definition
                     repair or replacement.
                                                                       The following definition is added to
                      However, the most we will                        SECTION G. DEFINITIONS of the
                      pay is the least of the fol-                     BUILDING AND PERSONAL PROPER-
                      lowing:                                          TY COVERAGE FORM:
                     (a) The actual cost to re-                       "Production equipment' means any
                         pair or restore the                          machinery and related components, in-
                         property with materials                      cluding any integrated or dedicated
                         of like kind and quality;                    computer system, which is used, or can
                                                                      be used, to produce or process other
                     (b) The cost of replacing                        tangible property.
                         that    property    with
                         property of similar                      The most we will pay for "loss" in any one oc-
                         quality and function;                    currence under this Electronic Data Pro-
                                                                  cessing Property Coverage Extension is the
                     (c) The amount you actu-                     Blanket Coverage Limit as provided in Sec-
                         ally and necessarily                     tion S. of this endorsement.
                         spend to repair or re-
                         place the property; or              D. Ordinance or Law
                     (d) The Limit of Insurance                   For the purpose of this endorsement only,
                         applicable to the prop-                  BUILDING AND PERSONAL PROPERTY
                         erty.                                    COVERAGE FORM, SECTION A. COVER-
                                                                  AGE, 4. Additional Coverages, g. Ordi-
                 (2) If you do nat repair or re-
                                                                  nanCe or Law, the last paragraph is deleted
                      place this property within a                in its entirety and replaced by the following:
                      reasonable time following a
                     '9oss", the most we will pay                 The most we will pay for "loss" in any one oc-
                      will be the least of the fol-               currence under Paragraph (a) Loss of Use
                      lowing:                                     of Undamaged Parts of the Building is the
                                                                  Limit of Insurance shown in the COMMER-
                     (a) "Actual cash value" of                   CIAL PROPERTY COVERAGE PART DEC-
                         the property;
                                                                  LARATIONS as applicable to the covered
                     (b) "Actual cash value" of                   building or structure incurring "loss". This
                         repairs with material of                 Coverage is included within, and not in addi-
                         like kind and quality,                   tion to, that applicable Limit of Insurance.
                         or                                       The most we will pay for all "loss" in any one
                     (c) The Limit of Insurance                   occurrence under Paragraph (b) Demolition
                         applicable to the prop-                  Costs and Paragraph (c) Increased Costs
                         erty.                                    of Construction is the Blanket Coverage
                                                                  Limit as provided in Section S. of this en-
                      We reserve the right to re-                 dorsement per building or structure suffering
                      pair or replace the property                "loss". This is an additional Limit of Insurance
                      or to pay for the property in               applicable to the building or structure suffer-
                      money.                                      ing "loss".
                      In the event of "loss", the            E. Valuable Papers and Records
                      value of property will be
                                                                  For the purposes of this endorsement only:

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    1. In the BUILDING AND PERSONAL                                         from Sewers, Drains, Septic or
       PROPERTY COVERAGE FORM, SEC-                                         Sump Pump Systems, waterborne
       TION A. COVERAGE, 5. Coverage F~c-                                   material carried or otherwise moved
       tensions, r. Valuable Papers and Rec-                                by any of the water referred to in
       ords, the second paragraph in (4)(b)                                 Paragraph 1), 3) or 4), or material
       Away From Your Premises is deleted in                                carried or otherwise moved by mud-
       its entirety and replaced by the following:                          siide or mudflow as described in
                                                                            Paragraph (g)2).
       The limit of insurance for Away From
       Your Premises is not included within the                   3. BUILDING AND PERSONAL PROPER-
       Blanket Coverage Limit and is separate                        TY COVERAGE FORM, SECTION A.
       and in addition to the Blanket Coverage                       COVERAGE, 5. Coverage Extensions,
       Limit.                                                        is amended to include the following:
   2. In the BUILDING AND PERSONAL                                    Vllater Backup Discharged from
      PROPERTY COVERAGE FORM, SEC-                                    Sewers. Drains, Septic or Sumg
      TION ACOVERAGE, 5. Coverage Ex-                                 Pump Systems
      tensions, r. Valuable Papers and Rec-
      ords, the last paragraph is deleted in its                      We will pay for'9oss" caused by or result-
      entirety and replaced by the following:                         ing from water or waterborne material
                                                                      that has entered and then backs up
       The most we will pay for '9oss" in any one                     through and is discharged from a sewer,
       occurrence under this Valuable Papers                          drain (including roof drains and related
       and Records Coverage Extension is the                          fixtures), septic system, sump pump sys-
       Blanket Coverage Limit as provided in                          tem or related equipment.
       Section S.of this endorsement.
                                                                  4. SECTION C. DEDUCTIBLE is amended
F. Water Backup Discharged from Sewers,                              by adding the following:
   Drains, Septic or Sump Pump Systems
                                                                       Water Backup Deductible
   BUILDING AND PERSONAL PROPERTY
   COVERAGE FORM, SECTION A. COVER-                                    We will not pay for "loss" in any one oc-
   AGE, 5. Coverage Extensions is amended                              currence caused by or resulting from wa-
   by adding the following:                                            ter or waterborne material which backs
                                                                       up through and is discharged from a
   Water Backup Discharged from Sewers,                                sewer, drain, septic system, sump pump
   Drains, Septic or Sump Pump Systems                                 system or related equipment, until the
    For purposes of this endorsement only,                             amount of '9oss" exceeds the Deductible
                                                                       shown in the Declarations, or $1,000,
   1. BUILDING AND PERSONAL PROPER-                                    whichever is greater. We will then pay
      TY COVERAGE FORM, SECTION A                                      the amount of "loss" in excess of that
      COVERAGE, 3. Covered Causes of                                   deductible, up to the applicable limit indi-
      Loss, b. Exclusion 1(g) Water, Para-                             cated in Paragraph 5. of this Coverage
      graph 3) is deleted in its entirety and re-                      Extension.
      placed bythe following:
                                                                      The most we will pay for 'loss" in any
       3) Except as provided in SECTION A.                            one occurrence, including any applicable
          COVERAGE, 5. Coverage Exten-                                "Business Income", "Rental Value" and
          sions, Water Backup Discharged                              Extra Expense, under this Water Backup
          from Sewers, Drains, Septic or                              Discharged from Sewers, Drains, Septic
          Sump Pump Systems, water that                               or Sump Pump Systems Coverage Ex-
          has entered and then backs up                               tension is the Limit of Insurance shown
          through and is discharged from a                            in the PROPERTY XC+° (EXPANDED
          sewer, drain, septic system, sump                           COVERAGE PLUS) ENDORSEMENT
          pump system or related equipment;                           SUMMARY OF COVERAGE LIMITS for
          or                                                          Water Backup Discharged from Sewers,
                                                                      Drains, Septic or Sump Pump Systems.
   2. BUILDING AND PERSONAL PROPER-
      TY COVERAGE FORM, SECTION A.                           G. Outdoor Property
      COVERAGE, 3. Covered Causes of
      Loss, b. Exclusion 1(g) Water, Para-                        For the purposes of this endorsement only, in
      graph 5) is deleted in its entirety and re-                 BUILDING AND PERSONAL PROPERTY
      placed by the following:                                    COVERAGE FORM, SECTION A. COVER-
                                                                  AGE, 5. Coverage Extensions, k. Outdoor
       5) Except as provided in SECTION A.                        Property, the last paragraph is deleted in its
          COVERAGE, 5. Coverage Exten-                            entirety and replaced by the following:
          sions, Water Backup Discharged
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     The most we will pay for "loss" in any one oc-            i.    Peak Season
     currence under this Outdoor Property Cover-
     age Extension is the Limit of Insurance stated                  For the purposes of this endorsement only,
      in the PROPERTY XC+°(EXPi4,NDED COV-                           BUILDING AND PERSONAL PROPERTY
      ERAGE PLUS) ENDORSEMENT SUM-                                   COVEt~AGE FORM, SECTION A. COVER-
      MARY OF COVERAGE LIMITS for Outdoor                            AGE, 5. Coverage Extensions is amended
     Property, but not more than the Limit of In-                    to include the following:
     surance stated in the PROPERTY XC+"
                                                                     Peak Season
     (EXPANDED COVERAGE PLUS) EN-
      DORSEMENT SUMMARY OF COVERAGE                                  1. In the event that the limit of insurance
      LIMITS for any one tree, shrub, or plant.                         stated in the Declarations for Business
                                                                        Personal Property is insufficient to fully
~'   Tenant Move Back Expenses                                          insure a covered "loss" due to a Peak
     For the purposes of this endorsement only,                         Season Demand for your inventory, we
     BUILDING AND PERSONAL PROPERTY                                     will pay up to the Blanket Coverage Limit
     COVERAGE FORM, SECTION A. COVER-                                   as provided in Section S. of this en-
     AGE, 5. Coverage Extensions is amended                             dorsement to that "loss".
     to include the following:
                                                                    2, Peak Season Demand means a tempo-
     Tenant Move Back Exaenses                                         rary (90 consecutive days or less) in-
                                                                       crease in your inventory to meet a sea-
     1.   We will reimburse you for expenses ynu                       sonal demand as verified by:
          pay for Covered Move Back Expenses of
          your tenants who temporarily vacate a                          a. Your previous inventory records for
          portion of the building at a "premises".                          that historical period of time; and
          The vacancy must have occurred while
                                                                          b. Custom and practice in your indus-
          the portion of the building rented by your
                                                                             try.
          tenant could not be occupied due to di-
          rect "loss" to your Covered Property                 J. Personal Property of Others
          caused by or resulting from a Covered
          Cause of Loss during the "coverage                        For the purposes of this endorsement only,
          term". The move back must be complet-                     BUILDING AND PERSONAL PROPERTY
          ed within 60 calendar days after the por-                 COVERAGE FORM, SECTION A COVER-
          tion of the building rented by your tenant                AGE, 5. Coverage Extensions is amended
          has been repaired or rebuilt and is ready                 to include the following:
          for occupancy.
                                                                    Personal Proaertv of Others
     2. Covered Move Back Expenses means                             In the event that the limit of insurance stated
        only documented, reasonable and nec-
                                                                     i n the COMMERCIAL PROPERTY COVER-
        essaryexpenses of:
                                                                     AGE DECLARATIONS for Business Person-
          a. Packing, insuring and transporting                      al Property is insufficient to fully insure a cov-
             business personal property,                             ered 'loss" to both your Covered Personal
                                                                     Property and property described in Paragraph
          b. Re-establishing electric utility and                   (8) of SECTION A. COVERAGE, 1. Covered
             communication services, less re-                        Property, d. Business Personal Property,
             funds from discontinued services;                       we will pay up to the Blanket Coverage Limit
                                                                     as provided in Section S.of this endorsement
          c. Assembling and setting up fixtures                      in any one occurrence for such property.
             and equipment; or
                                                              K. Debris Removal
          d. Unpacking and re-shelving stock
             and supplies.                                          For the purposes of this endorsement only,
                                                                    BUILDING AND PERSONAL PROPERTY
     3.   if your tenants have valid and collectible
                                                                    COVERAGE FORM, SECTION A. COVER-
          insurance for Covered Move Back Ex-
                                                                    AGE, 5. Coverage Extensions is amended
          penses, we will pay only for the amount
                                                                    to include the following:
          of Covered Move Back Expenses in ex-
          cess of the amount payable from such                       In the event that the limits of insurance stated
          other insurance.                                          i n BUILDING AND PERSONAL PROPERTY
                                                                    COVERAGE FORM, SECTION A COVER-
     4. The most we will pay for '9oss" in any                      AGE, 4. Additional Coverages, b. Debris
        one occurrence under this Tenant Move
                                                                    Removal are insufficient to fully cover a
        Back Expenses Coverage Extension is
                                                                    "loss" insured thereunder, we will pay up to
        the Blanket Coverage Limit as provided
                                                                    the Blanket Coverage Limit in any one occur-
        in Section S.of this endorsement.


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   rence as provided in Section S. of this en-                            (2) Exclusion (1)(c) Governmental
   dorsement.                                                                  Action;
L. Temperature Change                                                     (3) Exclusion (1)(d) Nuclear Haz-
                                                                              ard;
   For the purposes of this endorsement only,
   BUILDING AND PERSONAL PROPERTY                                         (4) Exclusion (1)(fl War and Mili-
   COVERAGE FORM, SECTION A. COVER-                                           tary Action;
   AGE, 5. Coverage Extensions is amended
   to include the following:                                              (5) Exclusion (1)(g) Water; or

   Temperature Change                                                     (6) Exclusion (1)(h) "Fungi", Wet
                                                                              Rot, Dry Rot, and Bacteria.
   1. Coverage
                                                                      b. In addition to Paragraph 3.a. of this
        a. BUILDING       AND      PERSONAL                              Coverage Extension, we will not pay
           PROPERTY COVERAGE FORM,                                       for direct '9oss" caused by or result-
           SECTION A. COVERAGE, 1. Cov-                                  ing from any of the following:
           ered Property is deleted in its en-
           tiretyand replaced by the following:                           (1) The disconnecting of any heat-
                                                                              ing, refrigerating, cooling or
             Covered Property means "perisha-                                 humidity control system from
             ble stock" located in a building at a                            the source of its power;
             "premises".
                                                                          (2) The deactivation of electrical
        b. BUILDING       AND     PERSONAL                                    power caused by the manipula-
           PROPERTY COVERAGE FORM,                                            tion of any switch or other de-
           SECTION Q COVERAGE,2. Prop-                                        vice (on "premises") used to
           er~y Not Covered is deleted in its                                 control the flow of electrical
           entirety and replaced by the follow-                               power or current;
           ing:
                                                                          (3) The inability of an Electrical
             Covered Property does not include:                               Utility Company or other power
                                                                              source to provide sufficient
             "Perishable Stock" Not in Build-                                 power due to:
             ings
                                                                               (a) Lack of fuel, or
             "Perishable stock" located on build-
             ings, in or on vahicles, or otherwise                             (b) Governmental order;
             in the open.
                                                                          (4) The inability of a power source
   2. Covered Causes of Loss                                                  at the "premises" to provide
                                                                              suffiaent power due to the lack
        BUILDING AND PERSONAL PROPER-                                         of generating capacity to meet
        TY COVERAGE FORM, SECTION A.                                          demand; or
        COVERAGE, 3. Covered Causes of
        Loss, a. Covered Causes of Loss is                                (5) Breaking of any glass that is a
        deleted in its entirety and replaced by the                           permanent part of any heating,
        following:                                                            refrigeration, cooling or humidi-
                                                                              ty control unit.
        a. Covered Causes of Loss
                                                                 4.   Limits of Insurance
             Covered Causes of Loss means di-
             rect '9oss" from "temperature                            BUILDING AND PERSONAL PROPER-
             change" to Covered Property unless                       TY COVERAGE FORM, SECTION B.
             "loss" is excluded or limited in this                    LIMITS OF INSURANCE is deleted in its
             Coverage Part.                                           entirety and replaced by the following:
   3.   Excluded Causes of Loss                                       SECTION B. LIMITS OF INSURANCE
        a.   BUILDING      AND      PERSONAL                          a. The most we will pay for all "loss" in
             PROPERTY COVERAGE FORM                                      any one occurrence, including any
             SECTION A. COVERAGE, 3. Cov-                                applicable   "Business      Income",
             ered Causes of Loss, b. Exclu-                              "Rental Value" and Extra Expense
             sions does not apply to this Cover-                         loss, under this Temperature
             age Extension, except as follows:                           Change Coverage Extension, is the
                                                                         Limit of Insurance indicated in the
             (1) Exclusion (1)(b) Earth Move-                            PROPERTY XC+° (EXPANDED
                 ment;                                                   COVERAGE PLUS) ENDORSE-

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            MENT SUMMARY OF COVERAGE                                       (4) The freezing of "perishable
            LIMITS for Temperature Change.                                     stock" resulting from the faulty
                                                                               operation of any stationary
        b. The Limit of Insurance for Tempera-                                 heating plant, when such "per-
           ture Change is not an additional
                                                                               ishable stock" is contained with-
           amount of insurance and will not in-
                                                                               in abuilding at the "premises".
           crease the Limit of Insurance shown
           in the Declarations 'for Business                M. Nonowned Building Damage
           Personal Property or "stock".
                                                                 For the purposes of this endorsement only,
   5. Duties in the Event of Loss                                BUILDING AND PERSONAL PROPERTY
                                                                 COVERAGE FORM, SECTION A. COVER-
       BUILDING AND PERSONAL PROPER-
                                                                 AGE, 5. Coverage              Extensions, j.
       TY COVERAGE FORM, SECTION D.
                                                                 Nonowned Building Damage is deleted in
       LOSS CONDITIONS, 3. Duties in the                         its entirety and replaced by the following:
       Event of Loss or Damage, a.(2) is de-
       leted in its entirety and replaced by the                 If you are a tenant, you may extend the in-
       following:                                                surance provided by this Coverage Part for
                                                                 Business Personal Property to direct "loss"
       (2) All claims under this Temperature                     that occurs to the building at a "premises"
           Change Coverage Extension should
                                                                 you occupy but do not own.
           be reported immediarely upon oc-
           currence. Include a description of                    This Coverage Extension applies only if ~rour
           the damaged "stock". All damaged                      lease makes yvu legally responsible for that
           "stock" must be available for inspec-                 part of the building sustaining "loss".
           tion and verification.
                                                                 1. This Coverage Extension does not apply
   6. Coinsurance                                                   to:
       BUILDING AND PERSOfVAL PROPER-                                 a.    Glass, including lettering and orna-
       TY COVERAGE FORM, SECTION E.                                         mentation, and also necessary.
       ADDITIONAL CONDITIONS, 1. Coin-
       Su1'ance does not apply to ;he coverage                             (1) Repair or replacement of en-
       provided by this endorsement.                                           casing frames or alarm tapes;
                                                                               and
   7. Definitions
                                                                           (2) Expenses incurred to board up
       BUILDING AND PERSONAL PROPER-                                           openings or remove or replace
       TY COVERAGE FORM, SECTION G.                                            obstruction.
       DEFINITIONS is amended to include the
       following definitions:                                         b. Building materials and equipment
                                                                         removed from the "premises".
       a. "Perishable stock" means personal
          property:                                              2. The most we will pay for "loss" in any
                                                                    one occurrence under this Nonowned
           (1) Preserved and maintained un-                         Building Damage Coverage Extension is:
               der controlled conditions; and
                                                                      a. The actual "loss" sustained up to the
           (2) Susceptible to '9oss" if the con-                         applicable Limit of Insurance for
               trolled conditions change.                                Business Personal Property for di-
                                                                         rect "loss" caused by theft, burglary
       b. "Temperature change" means:                                    or robbery, or the attempt of the
           (1) The fluctuation or total interrup-                        foregoing; or
               tion of electrical power, either
                                                                      b. The applicable Limit of Insurance for
               on or ofF "premises", resulting                           Business Personal Property or the
               from conditions beyond your
                                                                         Limit of Insurance stated in the
               control.
                                                                         PROPERTY XC+° (EXPANDED
           (2) Mechanical breakdown of any                               COVERAGE PLUS) ENDORSE-
               refrigerating or cooling appa-                            MENT SUMMARY OF COVERAGE
               ratus or equipment (on "prem-                             LIMITS for Nonowned Building
               ises") including the blowing of                           Damage, whichever is less, for
               any fuse, fuses, or circuit                               "loss" caused by any other Covered
               breakers.                                                 Cause of Loss, not referenced in
                                                                         2.a. above.
           (3) Contamination by refrigerant.



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N. Inflation Guard                                                     resulting from a Covered Cause of Loss
                                                                       during the "coverage term".
   For the purposes of this endorsement only,
   the COMMERCIAL PROPERTY COVER-                                2. Covered Leasehold Interest:
   AGE PART DECLARATIONS is amended to
   show the percentage (%} shown in the                                a.   Means the difference between the:
   PROPERTY XC+° (EXPANDED COVER-                                           (9) Rent you were collecting at the
   AGE PLUS) ENDORSEMENT SUMMARY                                                "premises" prior to the direct
   OF COVERAGE LIMITS for Inflation Guard                                       "loss';and
   i n the OPTIONAL COVERAGES - Inflation
   Guard column for each scheduled Building                                 (2) "Rental Value" of the "premis-
   Property. If an Inflation Guard percentage is                                es" after the direct "loss" has
   already indicated on the COMMERCIAL                                          been repaired or rebuilt; and
   PROPERTY COVERAGE PART DECLARA-
   TIONS for that Building property, this per-                         b. Does not mean refunds or rebates
   centage is excess of that Inflation Guard per-                         of:
   centage for that Building property.                                      (1) Prepaid rent;
O. Brands and Labels                                                        (2) Security or other deposits made
   For the purposes of this endorsement only,                                   by yr~ur tenants; or
   BUILDING AND PERSONAL PROPERTY                                           (3) Insurance, taxes or other paw
   COVERAGE FORM, SECTION A. COVER-                                             meats made on your behalf by
   AGE, 5. Coverage Extensions is amended                                       tenants.
   to include the following:
                                                                  3. The most we will pay for '9oss" in any
    Brands and Labels                                                one occurrence under this Lessor's
   If branded or labeled merchandise that is                         Leasehold Interest Additional Coverage
   Covered Property is damaged by a Covered                          is the .east of:
   Cause of Loss, we may take all or any part of                       a. Your Covered Leasehold Interest for
   the property at an agreed or appraised value.                          the 12 months immediately following
   If so, you may:                                                        the "period of restoration" plus the
   1. Stamp `salvage' on the merchandise or                               90 days of Emended Business In-
      its containers, if the stamp will not physi-                        come but ending with the normal
      cally damage the merchandise; or                                    expiration date of each cancelled
                                                                          lease; or
   2. Remove the brands or labels, if doing so
      will not physically damage the merchan-                          b. The Limit of Insurance stated in the
      dise. You must relabel the merchandise                              PROPERTY XC+° (EXPANDED
      or its containers to comply with the law.                           COVERAGE PLUS) ENDORSE-
                                                                          MENT SUMMARY OF COVERAGE
   The most we will pay for '9oss" in any one oc-                         LIMITS for Lessor's Leasehold In-
   currence under this Brands and Labels Cov-                             terest for all Covered Leasehold In-
   erage Extension is the Limit of Insurance                              terest of all your tenants cancelling
   stated in the PROPERTi Y XC+°(EXPANDED                                 their leases arising out of an occur-
   COVERAGE         PLUS)      ENDORSEMENT                                rence at a "premises".
   SUMMARY OF COVERAGE LIMITS for
   Brands and Labels.                                        Q. Unauthorized Business Card Use

P. Lessor's Leasehold Interest                                    1.   For the purposes of this endorsement
                                                                       only, BUILDING AND PERSONAL
    For the purposes of this endorsement only,                         PROPERTY COVERAGE FORM, SEC-
    BUILDING AND PERSONAL PROPERTY                                     TION A. COVERAGE, 4. Additional
    COVERAGE FORM, SECTION A. COVER-                                   Coverages is amended to include the
    AGE, 4. Additional Coverages is amended                            following:
    to include the following:
                                                                       Unauthorized Business Card Use
    Lessor's Leasehold Interest
                                                                       We will pay for your loss of "money' or
    1. We will pay for the cost of Covered                             charges and costs you incur that result
       Leasehold Interest you sustain due to                           directly from the unauthorized use of
       the cancellation cf lease contracts by                          credit, debit or charge cards issued in
       your tenants. The cancellation must re-                         your business name, including:
       suit from direct "loss" to your Covered
       Property at the "premises" caused by or                         a.    Fund transfer cards;
                                                                       b. Charge plates; or
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        C. Telephone cards.                                   R. Ordinance or Law - Increased Period of
                                                                 Restoration
        The most we will pay in any one occur-
        rence under this Unauthorized Business                     For the purposes of this endorsement only, in
        Card Use Additional Coverage is the                        BUILDING AND PERSONAL PROPERTY
        Limit of Insurance stated in the PROP-                     COVERAGE FORM, SECTION A. COVER-
        ERTY XC+° (EXPANDED COVERAGE                               AGE, 5. Coverage Extensions, Ordinance
        PLUS) ENDORSEMENT SUMMARY                                  or Law -Increased Period of Restoration,
        OF COVERAGE LIMITS for Unauthor-                           Paragraph d. is deleted in its entirety and re-
        ized Business Card Use.                                    placed by the following:
   2.   BUILDING AND PERSONAL PROPER-                              d. The most we will pay for loss of "Busi-
        TY COVERAGE FORM, SECTION A.                                  ness Income", "Rental Value" and Extra
        COVERAGE, 2. Property Not Covered                             Expense in any one occurrence under
        is amended by deleting Paragraph a. in                        this Ordinance or Law -Increased Period
        its entirety and replacing it with the fol-                   of Restoration Coverage Extension is the
        lowing:                                                       Limit of Insurance stated in the PROP-
                                                                      ERTY XC+° (EXPANDED COVERAGE
        Covered Property does not include:                            PLUS) ENDORSEMENT SUMMARY
        a. Accounts, Deeds, Money or Secu-                            OF COVERAGE LIMITS for Ordinance
           rities                                                     or Law -Increased Period of Restoration
                                                                      at each "premises".
            Except as provided in SECTION A.
            COVERAGE:                                         S. Blanket Coverage Limit

           (1) 4. Additional Coverages, Un-                       We will pay up to the Limit of Insurance stat-
               authorized Business Card                           ed in the Schedule of this endorsement in to-
               Use; and                                           tal in any one occurrence for the sum of all
                                                                  "loss" insured under coverages provided in
           (2) 5. Coverage Extensions, a.                         this endorsement which are subject to the
               Accounts Receivable,                               Blanket Coverage Limit. You may apportion
                                                                  this Limit among these coverages as you
            Accounts, bills, currency, deeds,                     choose.
            food stamps or other evidences of
            debt, "money', notes or "securities";




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                    COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.


A. Concealment, Misrepresentation or Fraud                  F.   No Benefit to Bailee
    This Coverage Part is void in any case of                    No person or organization, other than you,
    fraud by you as it relates to this Coverage Part             having custody of Covered Property will bene-
    at any time. It is also void if you or any other             fit from this insurance.
    insured, at any time, intentionally conceal or
    misrepresent a material fact concerning:                G. Other Insurance

    1. This Coverage Part;                                       1.   You may have other insurance subject to
                                                                      the same plan, terms, conditions and pro-
    2.   The Covered Property;                                        visions as the insurance under this Cov-
                                                                      erage Part. If you do, we will pay our
    3.   Your interest in the Covered Property; or                    share of the covered 'loss". Our share is
    4. A claim under this Coverage Part.                              the proportion that the applicable Limit of
                                                                      Insurance under this Coverage Part bears
B. Control of Property                                                to the Limits of Insurance of all insurance
                                                                      covering on the same basis.
    Any act or neglect of any person other than
    you beyond your direction or control will not                2.   If there is other insurance covering the
    affect this insurance.                                            same "loss", other than that described in
                                                                      1. above, we will pay only for the amount
    The breach of any condition of this Coverage
                                                                      of covered "loss" in excess of the amount
    Part at any one or more locations will not af-
                                                                      due from that other insurance, whether
    fect coverage at any location where, at the
                                                                      you can collect on it or not. However, we
    time of direct "loss", the breach of condition
                                                                      will not reimburse any deductible or
    does not exist.
                                                                      difference between Actual Cash Value
C. Insurance Under Two or More Coverages                              and Replacement Cost valuations. We
                                                                      will not pay more than the applicable Limit
    If two or more of this policy's coverages apply                   of Insurance.
    to the same '9oss", we will not pay more than
    the actual amount of the 'loss".                        H. Policy Period, Coverage Territory

D. Legal Action Against Us                                       Under this Coverage Part:

    No one may bring a legal action against us                   1.   We cover "loss" commencing:
    under this Coverage Part unless:                                       During the policy period shown in the
                                                                      a.
    1. There has been full compliance with all of                          Declarations; and
       the terms of this Coverage Part; and                           b, Within the coverage territory.
    2. The action is brought within 2 years after                2,   The coverage territory:
       the date on which the direct "loss" oc-
       curred.                                                        a. The United States of America (includ-
                                                                         ing its territories and possessions);
E. Liberalization
                                                                      b. Puerto Rico; and
    If, within 60 days prior to the beginning of this
    Coverage Part or during the policy period, we                     c. Canada.
    make any changes to any forms or endorse-
    ments of this Coverage Part for which there is          I.   Transfer of Rights of Recovery Against
    currently no separate premium charge, and                    Others to Us
    that change provides more coverage than this                 If any person or organization to or for whom
    Coverage Part, the change will be considered                 we make payment under this Coverage Part
    as included until the end of the current policy              has rights to recover damages from another,
    period. We will make no additional premium                   those rights are transferred to us to the extent
    charge for this additional coverage during the
                                                                 of our payment. That person or organization
    interim.                                                     must do everything necessary to secure our
                                                                 rights and must do nothing after direct "loss"
                                                                 to impair them. But you may waive your rights
                                                                 against another party in writing:

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    1. Prior to a direct "loss" to your Covered                     b. A business firm:
       Property or Covered Income.
                                                                        (1) Owned or controlled by you; or
    2. After a direct "loss" to your Covered
       Property or Covered Income only if, at                           (2) That owns or controls you; or
       time of direct '9oss", that party is one of
       the following:                                               c. Your tenant.
                                                               This will not restrict your insurance.
        a. Someone insured by this insurance;




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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             NORTH CAROLINA CHANGES
This endorsement modifies insurance provided under the following:


    COMMERCIAL PROPE~tTY COVERAGE PART
    STANDARD PROPERTY POLICY

A. When this endorsement is attached to the                              (b) Used for the same purpose; or
   STANDARD PROPERTY POLICY CP 00 99
   the term Coverage Part in this endorsement is                    (3) The amount you actually spend that
   replaced by the term Policy.                                         is necessary to repair or replace the
                                                                        lost or damaged property.
B, The Legal Action Against Us Condition is
   deleted in its entirety and replaced by the fol-            The above provisions, d. and e., do not apply
   lowing:                                                     to the Sta~xiard Property Policy CP 00 99.
    Legal Action Against Us                                D. The e4ppraisal Loss Condition is deleted in
                                                              its entirety and replaced by the following:
    No one may bring a legal action against us
    under this Coverage Part unless:                           Appraisal
    1. There has been ful! compliance with all of               If we and you disagree on the value of the
       the terms of this Coverage Part; and                     property, the amount of Net Income and oper-
                                                               ating expense, or the amount of "loss", either
    2. The action is brought within three years                 may make written demand for an appraisal of
       after the date on which the direct physical             the "loss". In this event, each party will select a
       "loss" occurred.                                        competent and impartial appraiser. You and
C. Paragraphs d, and e. of the Replacement                     we must notify the other of the appraiser se-
                                                               lected within 20 days of the written demand for
   Cost Optional Coverage are deleted in their
   entirety and replaced by the following:                     appraisal. The two appraisers will select an
                                                               umpire. If the appraisers do not agree on the
    d. We will not pay on a replacement cost                   selection of an umpire within 15 days, they
       basis for any "loss":                                   must request selection of an umpire by a judge
                                                               of a court having jurisdiction. The appraisers
        (1) Until the lost or damaged property is              will state separately the value of the property,
            actually repaired or replaced with                 the amount of Net Income and operating ex-
            other property of generally the same               pense, and the amount of "loss". If they fail to
            construction and used for the same                 agree, they will submit their differences to the
            purpose as the lost or damaged                     umpire. A decision agreed to by any two will be
            property:                                          the appraised value of the property, the
                                                               amount of Net Income and operating expense,
            (a) On the described "premises"; or
                                                               and the amount of "loss".
            (b) At some other location in the
                                                               Each pariywill:
                State of North Carolina; and
        (2) Unless the repairs or replacement                  a. Pay its chosen appraiser; and
            have been completed or at least un-                b. Bear the other expenses of the appraisal
            derway within 2 years following the                   and umpire equally.
            date of "loss".
                                                               If there is an appraisal, we still retain our right
   e.   We will not pay more for "loss" on a re-               to deny the claim.
        placement cost basis than the least of:
                                                          E. Exclusion (1)(d) Nuclear Hazard in SECTION
        (1) The Limit of Insurance applicable to             A COVERAGE,3. Covered Causes of Loss,
            the lost or damaged property;                    b. Exclusions of the BUILDING AND PER-
        (2) The cost to rEplace the lost or dam-             SONAL PROPERTY COVERAGE FORM
            aged property with other property;              (INCLUDING SPECIAL CAUSES OF LOSS)
                                                             is deleted in its entirety and replaced by the
            (a) Of comparable       material and             following:
                quality; and


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    (1)(d) Nuclear Hazard                                            age Condition or similar provision in this
                                                                     Coverage Part or in an endorsement at-
         Nuclear reaction or radiation, or radioac-
                                                                     tached to this Coverage Part) shall be ex-
         tive contamination, however caused.
         However, if nuclear reaction or radiation,                  tended by a time period not exceeding the
                                                                     earlier ofi
        or radioactive contamination, results in
        fire, we will pay for the "loss" caused by                   a. The expiration of the disaster proc-
        that fire.                                                      lamation or declaration and all re-
F. Exclusion 2.e. Nuclear Hazard in EXCLU-                              newals of the proclamation; or
   SIONS -COVERAGES A. AND B. of the                                 b. The expiration of the Insurance
   MORTGAGE INTEREST COVERAGE FORM                                      Commissioner's order declaring ac-
   is deleted in its entirety and replaced by the                       tion for the specific disaster, as de-
   following:                                                           termined by the Insurance Commis-
                                                                        sioner.
    2.e. Nuclear Hazard
                                                                2.   Except as otherwise provided in Para-
    N uclear reaction or radiation, or radioactive
                                                                     graph 1., the following applies if yc~u or we
    contamination, however caused. However, if
                                                                     reside in or are located in the geographic
    nuclear reaction or radiation, or radioactive
                                                                     area designated in the disaster dedara-
    contamination, results in fire, we will pay for
                                                                     tion or proclamation:
    the "loss" caused by that fire.
                                                                     If this Coverage Part or an endorsement
G. The following condition is added:
                                                                     attached to this Coverage Part imposes a
    Time Period for Performance of Contractu-                        time limitation on you or us fora perfor-
    al Obligations                                                   mance of:

    Whenever a state of disaster is proclaimed for                   a. A premium or debt payment; or
    the state of North Carolina or for an area with-
    in this state in accordance with state law, or                   b. Any other duty or any act (including
                                                                        transmittal of information),
    whenever a major disaster is declared for
    North Carolina or an area within this state by                   under the terms of this Coverage Part and
    the President ~f the United States under the                     such performance would be required dur-
    Stafford Act or its successors, the following                    ing the time period prior to the expiration
    provisions apply:                                                of the Insurance Commissioner's order
                                                                     declaring actin for the specific disaster,
    1. If the Covered Property that has sustained
                                                                     as determined by the Insurance Commis-
       "loss" is located within the geographic ar-
                                                                     sioner, your performance and our perFor-
       ea designated in the disaster declaration
                                                                     mance is subject to a deferral period of 30
       or proclamation, the time period for your
                                                                     days. The Commissioner of Insurance
       submission of a proof of loss(as set forth
                                                                     may extend such deferral period_
       in the Duties in the Event of Loss or Dam-




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                 BUSINESS INCOME(AND EXTRA EXPENSE)
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
and what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we","us"and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F.
                                                                                                 DEFI-
NITIONS.

SECTION A COVERAGE                                                         Gated if that area services or is used
Coverage is provided as described and limited be-                          to gain access to the described
low for one or more of the following options for                           "premises".
which a Limit of Insurance is shown in the Dedara-                    (2) Your personal property in the open
tions:                                                                   (or in a vehicle or portable storage
                                                                          unit) within 1,000 feet of the building
a. "Business Income" including "Rental Value".
                                                                          or 1,000 feet of the "premises",
b. "Business Income" other than "Rental Value".                           whichever distance is greater.

c. "Rental Value".                                          2.   Extra Expense
If option a. above is selected, the term "Business
Income" will indude "Rental Value". If option c.                 a.   Extra Expense coverage is provided at
above is selected, the term "Business Income" will                    the "premises" described in the Declara-
mean "Rental Value" only.                                             tions only if the Declarations show that
                                                                      "Business Income" coverage applies at
If Limits of Insurance are shown under more than                      that "premises".
one of the above options, the provisions of this
Coverage Part apply separately to each.                          b. Extra Expense means necessary ex-
                                                                     penses you sustain (as described in Par-
1. Business Income                                                  agraphs 2.c., d. and e.) during the "period
                                                                    of restoration" that you would not have
    a. We will pay for the actual loss of "Busi-                    sustained if there had been no direct
        ness Income" you sustain due to the nec-
                                                                    "loss" to property caused by or resulting
       essary "suspension" of your "operations"
                                                                    from a Covered Cause of Loss.
       during the "period of restoration". The
       "suspension" must be caused by direct                     c.   If these expenses reduce the otherwise
       "loss" to property at "premises" which are                     payable "Business income" "loss", we will
       described in the Declarations and for                          pay expenses (other than the expense to
       which a "Business Income" Limit of Insur-                      repair or replace property as described in
       ance is shown in the Declarations. The                         Paragraph 2.d.) to:
       "loss" must be caused by or result from a
       Covered Cause of Loss. With respect to                         (1) Avoid or minimize the "suspension"
       "loss" to personal property in the open (or                        of business and to continue "opera-
       personal property in a vehide or portable                          tions"either:
       storage unit), the "premises" include the
                                                                          (a) At the "premises"; or
       area within 1,000 feet of the building or
       1,000 feet of the "premises", whichever                            (b) At replacement "premises" or
       distance is greater.                                                   temporary locations, including
                                                                              relocation expenses and costs to
    b. With respect to the requirements set forth
                                                                              equip and operate the replace-
       in the preceding paragraph, if you are a
                                                                              ment location or temporary loca-
       tenant and occupy only part of the site at
                                                                              tion; or
       which the "premises" are located, for the
       purposes of this Coverage Part only, your                      (2) Minimize the "suspension" of busi-
       "premises" is the portion of the building                          ness if you cannot continue "opera-
       which you rent, lease or occupy, includ-                           tions".
       ing:
                                                                 d. We will also pay expenses to:
       (1) Any area within the building or on the
           site at which the "premises" are lo-                       (1) Repair or replace property; or

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         (2) Research, replace or restore the lost                   suiting from any Covered Cause of Loss
             information on damaged "valuable                        to:
             papers and records";
                                                                    (1) New buildings or structures, whether
         but only to the extent this payment reduc-                     complete or under construction;
         es the otherwise payable "Business In-
         come" "loss". If any property obtained for                 (2) Alterations or additions to existing
         temporary use during the "period of resto-                     buildings or structures; and
         ration" remains after the resumption of
                                                                    (3) Machinery, equipment, supplies or
         normal "operations", the amount we will
                                                                        building materials located on or witli-
         pay under this Coverage Form will be re-
                                                                        in 1,000 feet of the "premises" and:
         duced by the salvage value of that prop-
         erty.                                                           (a) Used in the construction, altera-
                                                                             tions or additions; or
    e.   Extra Expense as described in Para-
         graphs 2.a. thru 2.d. does not apply to                         (b) Incidental to the occupancy of
         "loss" to Covered Property as described                             new buildings.
         in the BUILDING AND PERSONAL
         PROPERTY COVERAGE FORM.                                    If such direct "loss" delays the start of
                                                                    "operations", the "period of restoration"
3. Covered Causes of Loss                                           for "Business Income" coverage will begin
                                                                    on the date "operations" would have be-
    See BUILDING AND PERSONAL PROPER-
                                                                    gun if the direct "loss" had not occurred.
    TY COVERAGE FORM, SECTION A. COV-
    ERAGE, 3. Covered Causes of Loss.                            b. Civil Authority

4. Limitation for Electronic Data                                   When a Covered Cause of Loss causes
                                                                    direct damage to property other than
    a. Coverage for "Business Income" does not                      Covered Property at the "premises", we
       apply when a "suspension" of "opera-                         will pay for the actual loss of "Business
       tions" is caused by destruction or corrup-                   Income" you sustain and necessary Extra
       tion of "electronic data", or any "loss" to                  Expense you sustain caused by action of
       "electronic data", except as provided un-                    civil authority that prohibits access to the
       der SECTIaN A. COVERAGE, 5. Addi-                            "premises", provided that both of the fol-
       tional Coverages, d. Interruption of                         lowing apply:
       Computer Operations.
                                                                    (1) Access to the area immediately sur-
    b. Coverage for Extra Expense does not ap-                          rounding the damaged property is
       ply when action is taken to avoid or mini-                       prohibited by civil authority as a re-
       mize a "suspension" of "operations"                              suit of the damage; and
       caused by destruction or corruption of
       "electronic data", or any "loss" to "elec-                   (2) The action of civil authority is taken in
       tropic data", except as provided under                           response to dangerous physical con-
       SECTION A. COVERAGE, 5. Additional                               ditions resulting from the damage or
       Coverages, d. Interruption of Comput-                            continuation of the Covered Cause of
       er Operations.                                                   Loss that caused the damage, or the
                                                                        action is taken to enable a civil au-
    c.   This Limitation does not apply when                            thority to have unimpeded access to
         "loss" to "electronic data" involves only                      the damaged property.
         "electronic data" which is integrated in
         and operates or controls a building's ele-                 Civil Authority coverage for "Business In-
         vator, lighting, heating, ventilation, air                 come" will begin immediately after the
         conditioning or security system.                           time of the first action of civil authority that
                                                                    prohibits access to the "premises" and will
5. Additional Coverages                                             apply for a period of up to 30 consecutive
                                                                    days from the date on which such cover-
   The Additional Coverages in Paragraphs 5.a.                      age began.
   through 5.e. are included within and not addi-
   tional "Business Income" and Extra Expense                       Civil Authority coverage for Extra Ex-
   Limits of Insurance.                                             pense will begin immediately after the
                                                                    time of the first action of civil authority that
                                                                    prohibits access to the "premises" and will
   a. Alterations and New Buildi_ ncL
                                                                    end 30 consecutive days after the date of
         We will pay for the actual loss of "Busi-                  that action; or when your Civil Authority
         ness Income" you sustain and necessary                     coverage for "Business income" coverage
         Extra Expense you sustain due to direct                    ends, whichever is later.
         "loss" at the "premises" caused by or re-

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    c. Extended Business Income                                                (ii) 60 consecutive days after
                                                                                    the date determined in
      (1) "Business Income"          Other    Than
          "Rental Value"                                                            c.(2)(a) above.
                                                                      However, Extended Business Income
          if the necessary "suspension" of your
                                                                      does not apply to loss of "Rental Value"
          "operations" produces a "Business
                                                                      sustained as a result of unfavorable busi-
           Income" "loss" payable under this
                                                                      ness conditions caused by the impact of
          Coverage Part, we will pay for the ac-
                                                                      the Covered Cause of Loss in the area
          tual loss of "Business Income" yr~u
                                                                      where the "premises" are located.
          sustain during the period that:
                                                                      Loss of "Rental Value" must be caused by
          (a) Begins on the date property (ex-
                                                                      direct "loss" at the described "premises"
              cept "finished stock") is actually
                                                                      caused by or resulting from any Covered
              repaired, rebuilt or replaced and
                                                                      Cause of Loss.
              "operations" are resumed; and
                                                                 d. Interruption of Computer Operations
          (b) Ends on the earlier of:
                                                                     (1) Subject to all provisions of this Addi-
                 (i) The date you could restore
                                                                         tional Coverage - Interruption of
                     your "operations", with rea-
                                                                         Computer Operations, you may ex-
                     sonable speed, to the level
                                                                         tend the insurance that applies to
                     which would generate the
                                                                         "Business Income" and Extra Ex-
                     "Business Income" amount
                                                                         pense to apply to a "suspension" of
                     that would have existed if no
                                                                         "operations" caused by an interrup-
                     direct "loss" had occurred; or
                                                                         tion in computer operations due to
                 (ii) 60 consecutive days after                          destruction or corruption of "electron-
                      the date determined in                             ic data" due to a Covered Cause of
                      c.(1)(a) above.                                    Loss. This Additional Coverage - In-
                                                                         terruption of Computer Operations
          However, Extended Business Income                              dces not apply when "loss" to "elec-
          does not apply to loss of "Business                            tronic data" only involves "loss" to
          Income" sustained as a result of un-                          "electronic data" which is integrated
          favorable business conditions caused                           in and operates or controls a build-
          by the impact of the Covered Cause                             ing's elevator, lighting, heating, venti-
          of Loss in the area where the "prem-                           lation, air conditioning or security
          ises"are located.                                              system.
              Loss of "Business Income" must be                      (2) The Covered Causes of Loss include
              caused by direct "loss" at the "prem-                      a virus, harmful code or similar in-
              ises" caused by or resulting from any                      struction introduced into or enacted
              Covered Cause of Loss.                                     on a computer system (including
                                                                         "electronic data") or a network to
      (2) "Rental Value"
                                                                         which it is connected, designed to
           If the necessary "suspension" of your                         damage or destroy any part of the
          "operations" produces a "Rental Val-                           system or disrupt its norrnal opera-
          ue" loss payable under this Coverage                           tion. But there is no coverage for an
          Part, we will pay for the actual loss of                       interruption related to manipulation of
          "Rental Value" you sustain during the                          a computer system (inducting "elec-
          period that:                                                   tronic data") by any employee, in-
                                                                         cluding atemporary or leased em-
          (a) Begins on the date property is                             ployee, or by an entity retained by
              actually repaired, rebuilt or re-                          you or for you to inspect, design, in-
              placed and tenantability is re-                            stall, maintain, repair or replace that
              stored; and                                                system.
          (b) Ends on the earlier of:                               (3) The most we will pay under this Addi-
                                                                        tional Coverage - Interruption of
                 (i) The date you could restore
                                                                        Computer Operations is $2,500 for
                      tenant occupancy, with rea-
                                                                        all "loss" sustained and expense sus-
                      sonable speed, to the level
                                                                        tained in any "coverage term", re-
                      which would generate the
                                                                        gardless of the number of interrup-
                     "Rental Value" that would
                                                                        tions or the number of "premises", lo-
                      have existed if no direct
                                                                        cations or computer systems in-
                     '9oss" had occurred; or
                                                                        volved. If loss payment relating to the
                                                                        first interruption does not exhaust this

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              amount, then the balance is available                  (2) Buildings you newly purchase or be-
              for "loss" or expense sustained as a                       come required to insure by written
              result of subsequent interruptions in                      contract; or
              that "coverage term". A balance re-
              maining at the end of a "coverage                      (3) Leased buildings or space therein
              term" does not increase the amount                         that you are not required to insure.
              of insurance in the new "coverage                          Such lease must be for a period of 12
              term". With respect to any interrup-                       consecutive months or longer.
              tion which begins in one "coverage
                                                                      This does not apply to property situated at
              term" and continues or results in ad-
                                                                      trade shows, fairs or exhibitions.
              ditional "loss" or expense in that sub-
              sequent "coverage term", all "loss"                b. The most we will pay in total for "Business
              and expense is deemed to be sus-                      Income" and Extra Expense '9oss" under
              tained in the "coverage term" in                      this Coverage Extension is $100,000 at
              which the interruption began.                         each location described in Paragraph 6.a.
        (4) This Additional Coverage - Internap-                C.   Insurance under this Coverage Extension
            tion in Computer Operations does                         will end when any of the following first oc-
            not apply to "loss" sustained or ex-                     curs:
            pense sustained after the end of the
            "period of restoration", even if the                     (1) This policy expires;
            amount of insurance stated in Para-
            graph d.(3) of this Additional Cover-                    (2) 90 days pass from the date you
                                                                         begin construction on that part of the
            age has not been exhausted.
                                                                         building that would qualify as Cov-
   e. Ingress and Egress                                                 ered Property;
        We will pay for the actual loss of "Busi-                    (3) 90 days pass from the date you pur-
        ness Income" you sustain and necessary                           chase, lease, or become contractual-
        Extra Expense you sustain caused by the                          ly required to insure property de-
        prevention of existing ingress or egress at                      scribed in Paragraphs 6.a.(2) and (3);
        a "premises" shown in the Declarations                           or
        due to direct "loss" by a Covered Cause
        of Loss at a location contiguous to such                     (4) You report values to us when you
        "premises". However, coverage does not                           acquire your new building or busi-
        apply if ingress or egress from the "prem-                       ness personal property.
        ises" is prohibited by civil al.ithority.               We will charge you addifional premium for
                                                                values reported from the date you purchase or
        Ingress and egress coverage for "Busi-
                                                                lease the property or begin construction on
        ness Income" will begin immediately after
                                                                that part of the building that would qualify as
        the time of the direct "loss" and will con-
                                                                Covered Property.
        tinue for a period up to 30 consecutive
        days.                                              SECTION B. LIMITS OF INSURANCE
         Ingress and egress coverage for Extra             The most we will pay for "loss" in any one occur-
        Expense will begin at time of the direct           rence is the applicable Limit of Insurance shown in
        "loss" and will continue for 30 consecutive        the Declarations.
        days or whenever your Ingress and
        Egress "business income" coverage                  SECTION C. LOSS CONDITIONS
        ends, whichever occurs first.
                                                           The following conditions apply in addition to the
6. Coverage Extension                                      COMMON POLICY CONDITIONS and the COM-
                                                           MERCIAL PROPERTY CONDITIONS.
   The limit applicable to the Coverage Extension
   is in addition to the Limit of Insurance. SEC-          1. Appraisal
   TION D. ADDITIONAL CONDITION, 1. Coin-
                                                               If we and you disagree on the amount of
   surance does not apply to this Coverage Ex-
                                                               "Business Income" or Extra Expense "loss",
   tension.
                                                               either may make written demand for an ap-
   Newly Purchased or Leased Locations                         praisal of the '9oss". In this event, each party
                                                               will select a competent and impartial apprais-
   a.   You may extend your "Business Inwme"                   er.
        and Extra Expense coverages to apply to
        property located at:                                   The two appraisers will select an umpire. If
                                                               they cannot agree, either may request that se-
        (1) New buildings or additions while be-               lection be made by a judge of a court having
            ing built on a "premises";                         jurisdiction. The appraisers will state separate-

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     ly the amount of "Business Income" or Extra                            your "operations" as quickly as pos-
     Expense "loss". If they fail to agree, they will                       sible.
     submit their differences to the umpire. A deci-
     sion agreed to by any iwo will be binding.                   b. We may examine any insured under oath,
     Each party will:                                                while not in the presence of any other in-
                                                                     sured and at such times as may be rea-
     a.    Pay its chosen appraiser; and                             sonably required, about any matter relat-
                                                                     ing to this insurance or the claim, includ-
     b. Bear the other expenses of the appraisal
                                                                     ing an insured's books and records. In the
        and umpire equally.
                                                                     event of an examination, an insured's an-
     If there is an appraisal, we will still retain our              swers rnust be signed.
     right to deny the claim.
                                                             3.   Loss Determination
F%   Duties in the Event of Loss
                                                                  a. The amount of "Business Income" "loss"
     a. You must see that the following are done                     will be determined based on:
        in the event you have a "Business In-
                                                                      (1) The Net Income of the business be-
        come" or Extra Expense '9oss":
                                                                          fore the direct "loss" occurred;
          (1) Notify the police if a law may have
              been broken.                                            (2) The likely Net Income of the business
                                                                          if no direct "loss" had occurred, but
          (2) Give us prompt notice of the direct                         not induding any Net Income that
              "loss". Include a description of the                        would likely have been earned as a
              property involved.                                          result of an increase in the volume of
                                                                          business due to favorable business
          (3) As soon as possible, give us a de-                          conditions caused by the impact of
              scription of how, when, and where                           the Covered Cause of Loss on cus-
              the direct "loss" occurred.                                 tomers or on other businesses;
          (4) Take all reasonable steps to protect                    (3) The operating expenses, including
              the Covered Property from further                           payroll expenses, necessary to re-
              damage, and keep a record of your                           sume "operations" with the same
              expenses necessary to protect the                           quality of service that existed just be-
              Covered Property, for consideration                         fore the direct "loss'; and
              in the settlement of the daim. This
              will not increase the Limit of Insur-                   (4) Other relevant sources of infor-
              ance. However, we will not pay for                          mation, including:
              any subsequent "loss" resulting from
                                                                           (a) Your financial records and ac-
              a cause of loss that is not a Covered
                                                                               counting procedures;
              Cause of Loss. Also, if feasible, set
              the damaged property aside and in                           (b) Bills, invoices and other vouch-
              the best possible order for examina-                            ers; and
              tion.
                                                                           (c) Deeds, liens or contracts.
          (5) As often as may be reasonably re-
              quired, permit us to inspect the prop-              b. The amount of Extra Expense will be de-
              erty proving the "loss" and examine                    termined based on:
              your books and records.
                                                                      (1) All expenses that exceed the normal
               Also permit us to take samples of                          operating expenses that would have
               damaged and undamaged property                             been sustained by "operations" dur-
               for inspection, testing and analysis,                      ing the "period of restoration" if no di-
               and permit us to make copies from                          rect '9oss" had occurred. We will de-
               your books and records.                                    ductfrom the total of such expenses:

          (6) Send us a signed, sworn proof of                            (a) The salvage value that remains
              loss containing the information we                              of any property bought for tem-
              request to investigate the claim. You                           porary use during the "period of
              m ust do this within 60 days after our                          restoration", once "operations"
              request. We will supply you with the                            are resumed; and
              necessary forms.
                                                                          (b) Any Extra Expense that is paid
          (7) Cooperate with us in the investigation                          for by other insurance, except
              or settlement of the claim.                                     for insurance that is written sub-
                                                                              ject to the same plan, terms,
          (8) If you intend to continue your busi-                            conditions and provisions as this
              ness, you must resume all or part of                            insurance; and
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         (2) Necessary expenses that reduce the                 Instead, we will determine the most we will
             "Business Income" "loss" that other-               pay using the following steps:
             wise would have been incurred.
                                                                1.   Multiply the Net Income and operating
    c.    Resumption of Operations                                   expense for the 12 months following the
                                                                     inception, or last previous anniversary
          We will reduce the amount of your:
                                                                     date, of this Coverage Part by the Coin-
         (1) "Business Income" "loss", other than                    surance percentage;
             Extra Expense to the extent you can
                                                                2,   Divide the Limit of insurance for the de-
             resume your "operations", in whole or
                                                                     scribed "premises" by the figure deter-
             in part, by using damaged or undam-
                                                                     mined in Step 1.; and
             aged property (including merchan-
             dise or stock) at the "premises" or                3.   Multiply the total amount of "loss" by the
             elsewhere.                                              figure determined in Step 2.
         (2) Extra Expense "loss" to the extent                 We will pay the amount determined in Step 3.
             you can return "operations" to normal              or the limit of insurance, whichever is less. For
             and discontinue such Extra Expense.                the remainder, you will either have to rely on
                                                                other insurance or absorb the loss yourself.
    d. If you do not resume "operations", or do
        not resume "operations" as quickly as                   In determining operating expenses for the
        possible, we will pay based on the length               purpose of applying the Coinsurance condi-
       of time it would have taken to resume                    tion, the following expenses, if applicable,
       "operations" as quickly as possible.                     shall be deducted from the total of all operat-
                                                                ing expenses:
4. Loss Payment
                                                                1. Prepaid freight -outgoing;
    We will pay for insured "loss" within 30 days
    after we receive the sworn proof of loss, if you            2.   Returns and allowances;
    have complied with all of the terms of this
    Coverage Part and:                                          3.   Discounts;

    a.   We have reached agreement with you on                  4.   Bad debts;
         the amount of "loss';or
                                                                5.   Collection expenses;
    b. An appraisal award has been made.
                                                                6. Cost of raw stock and factory supplies
SECTION D. ADDITIONAL CONDITaON                                    consumed    (including   transportation
                                                                   charges);
1. Coinsurance
                                                                7. Cost of merchandise sold (including
    If a Coinsurance percentage is shown in the                    transportation charges);
    Declarations, the following condition applies in
    addition to the COMMON POLICY CONDI-                        8.   Cost of other supplies consumed (includ-
    TIONS and the COMMERCIAL PROPERTY                                ing transportation charges);
    CONDITIONS.
                                                                9. Cost of services purchased from outsid-
   We will not pay the full amount of any "Busi-                   ers (not employees) to resell, that do not
   ness Income" "loss" if the Limit of Insurance                   continue under contract;
   for "Business Income" is less than:
                                                                10. Power, heat and refrigeration expenses
   a. The Coinsurance percentage shown for                          that do not continue under contract (if
      "Business Income" in the Declarations;                        Form CP 15 11 is attached);
      times
                                                                11. All payroll expenses or the amount of
    b. The sum of:                                                  payroll expense exduded (if Form FA 465
                                                                    is attached); and
         (1) The Net Income (Net Profit or Loss
             before income taxes), and                          12. Special deductions for mining properties
                                                                   (royalties unless specifically included in
         (2) Operating expenses, including pay-                     coverage; actual depletion commonly
             roll expenses,                                         known as unit ~r cost depletion -not per-
                                                                    centage depletion; welfare and retirement
         that would have been earned or incurred
                                                                    fund charges based on tonnage; hired
         (had no direct "loss" occurred) by your
                                                                    trucks).
         "operations" at the "premises" for the 12
          months following the inception, or last               Example No. 1 (Underinsurance):
         previous anniversary date, of this Cover-              W hen:      The Net income and operating
         age Part (whichever is later).                                     expenses for the 12 months foilow-

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                 ing the inception, or last previous                   (2) The Limit of Insurance shown in the
                 anniversary date of this Coverage                         Declarations.
                 Part at "premises" would have
                 been $400,000.                              2.    Monthly Limit of Indemnity
      The Coinsurance percentage is             50%                a. SECTION D. ADDITIONAL CONDI-
                                                                      TIONS, 1. Coinsurance does not apply
      The Limit of Insurance is             $150,000                  to this Coverage Part at the "premises' to
      "Business Income" "loss" is           $80,000                   which this Optional Coverage applies.
      Step 1:    $400,000 X 50% _ $200,000                         b. The most we will pay for "Business In-
                 (the minimum amount of insurance                     come""loss" in each period of 30 consec-
                 to meet your Coinsurance re-                         utive days after the beginning of the "pe-
                 quirements)                                          riod of restoration" is:
      Step 2:    $150,000 = $200,000 = .75                             (1) The Limit of Insurance; multiplied by
      Step 3:    $ 80,000 X .75 = $60,000                              (2) The fraction shown in the DeGara-
     We will pay no more than $60,000. The re-                             tions for this Optional Coverage.
     maining $20,000 is not covered.                              Example:
      Example No.2(Adequate Insurance):                           When:     The "Business income" Limit of in-
      When: The Net Income and operating ex-                                surance is $120,000
            penses for the 12 months following                              The fraction shown in the Declara-
            the inception, or last previous anni-                           tions for this Optional Coverage is
            versary date of this Coverage Part at                           1/4
            the "premises" would have been
            $400,000.                                                       The most we will pay for "loss" in
                                                                            each period of 30 consecutive days
      The Coinsurance percentage is            50%                          is: $120,000 X 1/4 = $30,000.
      The Limit of Insurance Is           $200,000                If, in this example, the actual amount of "Busi-
     "Business Income" "loss" is                                  ness Income""loss" is:
                                            $80,000
                                                                  Days              1-30                  $40,000
      The minimum amouni of insurance to meet
                                                                  Days             31-60                   20,000
      your Coinsurance requirement is $200,000
                                                                  Days             61-90                   30,000
     ($400,000 x 50%). Therefore, the Limit of In-
     surance in this example is adequate and no                                                           $90,000
      penalty applies. We will pay no more than                   We will pay:
     $80,000(amount of"loss").
                                                                  Days              1-30                  $30,000
     This condition does not apply to Extra Ex-                   Days             31-60                   20,000
     pence.                                                       Days             61-90                   30.000
                                                                                                          $80,000
SECTION E. OPTIONAL COVERAGES
                                                                  The remaining $10,000 is not covered.
If shown as applicable in the Declarations, the fol-
lowing Optional Coverages apply separately to               3.    Business Income Agreed Value
each item.
                                                                  a.   To activate this Optional Coverage:
1.   Maximum Period of Indemnity
                                                                       (1) A Business Income Report/Work
     a. SECTION D. Q,DDITIONAL CONDI-                                      Sheet must be on file with the Com-
        TIONS, 1. Coinsurance does not apply                               pany and must show financial data
        to this Coverage Part at the "premises" to                         for your"operations":
        which this Optional Coverage applies.
                                                                           (a) During the 12 months prior to
     b. The most we will pay in total for "Business                            the date of the Work Sheet; and
        Income" and Extra Expense "loss" is the                            (p) Estimated for the 12 months
        lesser of:
                                                                               immediately following the incep-
         (1) The amount of "Business Income"                                   tion of this Optional Coverage.
             and Extra Expense 'loss" sustained                        (2) The Dedarations must indicate that
             d uring the 12~ days immediately fol-
                                                                           the Business Income Agreed Value
             lowing the beginning of the "period of
                                                                           Optional Coverage applies. The
             restoration'; or                                              "Business Income" Limit of Insurance
                                                                           indicated on the Declarations should

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                be at least equal to the Agreed Val-                b. Confinuing normal operating expenses
                ue, which is determined by:                            sustained, induding payroll.
               (a) The Coinsurance percentage
                   shown in the Declarations; mul-            2. "Computer programs" means a set of related
                   tiplied by                                    electronic instructions which direct the opera-
                                                                 tions and functions of a computer or device
               (b) The amount of Net Income and                  connected to it, which enable the computer or
                   Operating Expenses for the fol-               device to receive, process, store, retrieve or
                   lowing 12 months you report on                send data.
                   the Work Sheet.
                                                             3. "Coverage term" means the following individ-
      b. Except as noted in c. below, the AUDI-                 uai increment, or if a multi-year policy period,
         TIONAL CONDITION Coinsurance is                        increments, of time, which comprise the policy
         suspended until the expiration date of this            period of this Coverage Part:
         Coverage Part.
                                                                  a. The year commencing on the Effective
      c. We will reinstate the ADDITIONAL CON-                       Date of this Coverage Part at 12:01 A.M.
         DITION Coinsurance automatically if you                     standard time at your mailing address
         do not submit a new Work Sheet and                          shown in the Declarations, and if a multi-
         Agreed Value:                                               year policy period, each consecutive an-
           (1) When you request a change in your                     nual period thereafter, or portion thereof if
               "Business Income" Limit of Insur-                     any period is for a period of less than 12
               ance; or                                              months, constitute individual "coverage
                                                                     terms". The last "coverage term" ends at
           (2) When you request the coinsurance                      12:00 A.M. standard time at your mailing
               percentage be changed on the Work                     address shown in the Declarations on the
               Sheet.                                                earlier of:
      d. If the "Business Income" Limit of Insur-                     (1) The day the policy period shown in
         ance is less than the Agreed Value, we                           the Declarations ends; or
         will not pay more of any loss than the
         amount of loss multiplied by:                                (2) The day the policy to which this Cov-
                                                                          erage Part is attached is terminated
           (1) The "Business Income" Limit of In-                         or cancelled.
               surance; divided by
                                                                  b. However, if after the issuance of this
           (2) The Agreed Value.                                     Coverage Part, any "coverage term" is
                                                                     extended for an additional period of less
      Example:
                                                                     than 12 months, that additional period of
      When: The Limit of Insurance is $100,000                       time will be deemed to be part of the last
                                                                     preceding "coverage term".
                The Agreed Value is $200,000
                                                             4. "Electronic data" means information, facts or
               "Business Income" "loss" is $80,000
                                                                "computer programs" stored as or on, created
      Step (a): $100,000 = $200,000 = .50                       or used on, or transmitted to or from computer
                                                                software (including systems and applications
      Step (b): .50 X $80,000 = $40,000                         software), on hard or floppy disks, CD-ROMs,
      We will pay $40,000. The remaining $40,000                tapes, drives, cells, data processing devices
      is not o~vered.                                           or any other repositories of computer software
                                                                which are used with electronically controlled
4.   Extended Period of Indemnity                               equipment.

      In SECTION A. COVERAGE, 5. Additional                   5. "Finished stock" means stock you have
      Coverages, c. Extended Business Income,                    manufactured.
      the number "60" in Subparagraphs (1)(b) and
     (2)(b) is replaced by the number shown in the               "Finished stock" also includes whiskey and al-
      Declarations for this Optional Coverage.                   coholic products being aged, unless there is a
                                                                 coinsurance percentage shown for "Business
SECTION F. DEFINITIONS                                           Income" in the Dedarations.
1. "Business Income" means the:                                   "Finished stock" does not include stock you
                                                                  have manufactured that is held for sale on the
      a.    Net income (Net Profit or Loss before in-
                                                                  "premises" of any retail outlet insured under
            come taxes) that would have been
            earned or incurred; and                               this Coverage Part.



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6   "Loss" means accidental physical loss or acci-                 properly, or the environment regardless of
    dental physical damage.                                        whether injury or damage is caused directly or
                                                                   indirectly by the "pollutants" and whether:
7. "Operations" means:
                                                                  a. You are regularly or otherwise engaged in
    a. Your business activities occurring at the
       "premises"; and                                               activities which taint or degrade the envi-
                                                                     ronment; or
     b. The tenantability of the "premises", if cov-
        erage for "Business Income" including                      b. You use, generate or produce the "pollu-
                                                                      tant".
        "Rental Value" or "Rental Value" applies.
                                                              10. "Premises" means the Locations and Build-
8. "Period of restoration" means the period of
                                                                  ingsdescribed in the Declarations.
   time that:
                                                              11. "Rental Value" means "Business Income" that
    a.    Begins at the time of direct "loss".
                                                                  consists of:
    b. Ends on the earlier of:
                                                                  a.   Net income (Net Profit or Loss before in-
         (1) The date when the property at the                         come taxes) that would have been earned
             "premises" should be repaired, rebuilt                    or incurred as rental income from tenant
             or replaced with reasonable speed                         occupancy of the "premises" described in
             and similar quality; or                                   the Declarations as furnished and
                                                                       equipped by you, including fair rental val-
         (2) The date when business is resumed                         ue of any portion of the "premises" which
             at a new permanent location.                              is occupied by you; and
    c. "Period of restoration" does not include                   b. Continuing normal operating expenses
       any increased period required due to the                      incurred in connection with that "premis-
       enforcement of or compliance with any                         es", including:
       ordinance or law that:
                                                                       (1) Payroll; and
         (1) Regulates the construction, use or
             repair, or requires the tearing down                      (2) The amount of charges, which are
             of any property; or                                           the legal obligation of the tenants)
                                                                           but would otherwise be your obliga-
         (2) Requires any insured or others to                             tions.
             test for, monitor, dean up, remove,
             contain, treat, detoxify or neutralize,         12. "Suspension" means:
             or in any way respond to or assess
                                                                  a. The slowdown or cessation of your busi-
             the effects of "pollutants".
                                                                     ness activities; and
    d. The expiration date of the Coverage Part
       will not cut short the "period of restora-                 b. That a part or all of the "premises" is ren-
       tion".                                                        dered untenantable if coverage for "Busi-
                                                                     ness Income" including "Rental Value" or
9. "Pollutants" means any solid, liquid, gaseous                     "Rental Value" applies.
   or thermal irritant or contaminant, including
   smoke, vapor, soot, fumes, acids, alkalis, as-            13. "Valuable papers and records" means in-
   bestos, chemicals, petroleum, petroleum                       scribed, printed or written documents, manu-
   products and petroleum by-products, and                       scripts or records, including abstracts, books,
   waste. Waste includes materials to be recy-                   card index systems, deeds, drawings, films,
                                                                 maps, mortgages, or proprietary information.
   cled, reconditioned or reclaimed. "Pollutants"
                                                                 But "valuable papers and records" does not
   include but are not limited to substances
   which are generally recognized in industry or
                                                                  mean "money' or "securities" or "electronic
   government to be harmful or toxic to persons,                 data", including the materials on which the
                                                                 "electronic data" is recorded.




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